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       Attorneys for Plaintiffs
  6    BKK WORKING GROUP, an unincorporated
       association, and individual members identified
  7    below
  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11    BKK WORKING GROUP;                         Case No. 2:18-cv-05836-MWF-PLA
       ANADARKO E&P ONSHORE
 12    LLC; ATLANTIC RICHFIELD                    [FILED PURSUANT TO 8/19/24
       COMPANY; ASHLAND INC.;                     MINUTE ORDER [DKT. 126]]
 13
       BAYER CROPSCIENCE INC.;                    TENTH AMENDED
 14    BIG HEART PET BRANDS; THE                  COMPLAINT FOR:
       BOEING COMPANY;
 15    CALIFORNIA RESOURCES                       1. CERCLA: CONTRIBUTION [42
       CORPORATION; CHEVRON                          U.S.C. § 9613(f)]
 16
       ENVIRONMENTAL                              2. CERCLA: COST RECOVERY
 17    MANAGEMENT COMPANY;                           [42 U.S.C. § 9607(a)]
       CHEVRON MARINE PRODUCTS                    3. CERCLA: SUBROGATION
 18    LLC; CONOCOPHILLIPS                           [42 U.S.C. § 9612(c)(2)]
       COMPANY; CROSBY &                          4. CERCLA: DECLARATORY
 19    OVERTON, INC.; THE DOW                        RELIEF
 20    CHEMICAL COMPANY;                             [42 U.S.C. § 9613(g)]
       DUCOMMUN                                   5. HSAA: CONTRIBUTION
 21    AEROSTRUCTURES, INC.;                         [HEALTH AND SAFETY CODE
       ESSEX CHEMICAL                                §§ 78000, ET SEQ.]
 22    CORPORATION; EXXON MOBIL                   6. EQUITABLE
 23    CORPORATION; GEMINI                           INDEMNIFICATION
       INDUSTRIES, INC.; GENERAL                  7. EQUITABLE CONTRIBUTION
 24    DYNAMICS CORPORATION;
       GENERAL LATEX AND                          8. COMMON LAW
 25    CHEMICAL CORPORATION;                         SUBROGATION
       HEWLETT-PACKARD                            9. DECLARATORY RELIEF
 26    COMPANY; AMERICAN                             [CAL. CIV. PROC. CODE §1060]
 27    HONDA MOTOR CO., INC.;
       HUNTINGTON BEACH
 28    COMPANY; LOCKHEED
                                                             TENTH AMENDED COMPLAINT
                                                                 (2:18-CV-05836-MWF-PLA)
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  1    MARTIN CORPORATION;
       MARS, INC. (FORMERLY
  2    KNOWN AS KAL KAN FOODS
  3    INC.); MONTROSE CHEMICAL
       CORP. OF CALIFORNIA;
  4    MORTELL COMPANY;
       MORTON INTERNATIONAL,
  5    INC.; NATIONAL STEEL AND
  6    SHIPBUILDING COMPANY;
       NORTHROP GRUMMAN
  7    SYSTEMS CORPORATION; OXY
       USA INC.; QUEMETCO, INC.;
  8    ROCKWELL AUTOMATION,
       INC.; ROHM & HAAS
  9    COMPANY; ROHR, INC.; SAN
 10    DIEGO GAS & ELECTRIC
       COMPANY; SMITH
 11    INTERNATIONAL, INC.;
       SOUTHERN CALIFORNIA
 12    EDISON COMPANY;
 13    SOUTHERN CALIFORNIA GAS
       COMPANY; STAUFFER
 14    MANAGEMENT COMPANY
       LLC; THE PROCTER &
 15    GAMBLE MANUFACTURING
       COMPANY; THUMS LONG
 16    BEACH COMPANY; UNION
 17    CARBIDE CORPORATION;
       UNION PACIFIC RAILROAD
 18    (FORMERLY KNOWN AS
       SOUTHERN PACIFIC
 19    TRANSPORTATION
 20    COMPANY); UNITED STATES
       STEEL CORPORATION; RTX
 21    CORPORATION; UNIVAR
       SOLUTIONS USA LLC;
 22    AMERON INTERNATIONAL
       CORPORATION; AND XEROX
 23    CORPORATION,
 24
                        Plaintiffs,
 25
                  vs.
 26
       ALBERTSONS COMPANIES, INC.;
 27    AAMCO TRANSMISSIONS; AAR
       CORP.; A.B. DICK CO.; ABBOTT
 28    POWER CORP.; ACE INDUSTRIES;
                                                            TENTH AMENDED COMPLAINT
                                           2                    (2:18-CV-05836-MWF-PLA)
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  1    ACH FOOD COMPANIES, INC.;
       ADVANCED COATINGS INC.;
  2    AEROSOL SERVICES CO. INC.; AIR
  3    INDUSTRIES CORP.; AIR LIQUIDE
       AMERICA LP; AIRPORT CONSULT
  4    GROUP LLC; ALCO CAD NICKEL
       PLATING CORP.; ALCO PLATING
  5    CORPORATION LIQUIDATING
  6    TRUST; ALCO WELL SERVICE
       INC.; ALKID CORPORATION;
  7    ALPHA TECHNOLOGIES GROUP,
       INC.; AMERICAN APPLIANCE
  8    MANUFACTURING CORP.;
       AMERICAN CAN COMPANY;
  9    AMERICAN CHEMICAL &
 10    REFINING; AMERICAN PACIFIC
       INTERNATIONAL INC.;
 11    AMERICAN PROMOTIONAL
       EVENTS, INC. -WEST; AMERICAN
 12    SCIENTIFIC PRODUCTS;
 13    AMERICAN TOOL &
       ENGINEERING CORP.;
 14    AMERIPRIDE SERVICES, LLC;
       AMF TUBESCOPE INC.; ANCHOR
 15    POST PRODUCTS INC.; ANCO
       METAL IMPROVEMENT CO.;
 16    ANDREW CALIFORNIA CORP.;
 17    ANGELICA TEXTILE SERVICES
       INC.; ANODYNE INC.; APEX
 18    INTERNATIONAL ALLOYS;
       APOLLO MANUFACTURING CO.;
 19    APPLIED MAGNETICS CORP.;
 20    ARAKELIAN ENTERPRISES, INC.;
       ARDAGH GROUP S.A.; ARGO
 21    PETROLEUM CORP.;
       ARROWHEAD MOUNTAIN SPRING
 22    WATER COMPANY; ARNOLD
       CIRCUITS, INC.; ARNOLD
 23    ELECTRONICS INC.; ARNOLD
 24    ENGINEERING CO.; ATLAS
       FABRICATORS; ATOMICA CORP.;
 25    AXEL JOHNSON, INC.; AZON
       CORPORATION; B. JADOW AND
 26    SONS, INC.; B.P. JOHN FURNITURE
 27    CO.; BAE SYSTEMS SAN DIEGO
       SHIP REPAIR INC.; BALSER
 28    TRUCKING; BAUSCH HEALTH

                                                           TENTH AMENDED COMPLAINT
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  1    AMERICAS, INC.; BAXTER
       INTERNATIONAL INC.; BEATRICE
  2    HUNT WESSON INC.; BEAZER
  3    EAST, INC.; BECKMAN COULTER
       INC.; BECTON, DICKINSON AND
  4    COMPANY; BERNARD EPPS & CO.;
       BETHLEHEM STEEL CORP.;
  5    BEVERLY HILLS OIL COMPANY;
  6    BFI XV REALTY FUND LTD.; BI
       TECHNOLOGIES CORPORATION;
  7    BIG THREE INDUSTRIES INC.;
       BINGO TRUCK STOP; BIRTCHER
  8    PACIFIC; BLUE SEAL LINEN
       SUPPLY; BOSTIK, INC.; BPJ
  9    INTERNATIONAL, INC.;
 10    BRIDGESTONE AMERICAS, INC.;
       BROOKS & PERKINS BROWNLINE
 11    DIVISION; BUNGE GLOBAL
       MARKETS, INC.; BYRON JACKSON
 12    PUMPS; CADET UNIFORM &
 13    LINEN SUPPLY CO.; CAL-AURUM
       INDUSTRIES; CAL-CHEM
 14    CLEANING CO., INC.; CAL NEV
       PIPELINE CO.; CAL STYLE
 15    FURNITURE MANUFACTURING
       CO.; CALI-BLOK; CALBIOCHEM-
 16    BEHRING CORP.; CALIFORNIA
 17    CARPET CO.; CALGON CARBON
       CORPORATION; CALPROTECH
 18    INC.; CAPITAL PARADE USA, INC.;
       CARGILL INC.; CASTLE & COOKE,
 19    INC.; CELANESE CORPORATION;
 20    CERRO CORPORATION;
       CERTIFIED GROCERS OF CAL.;
 21    CHB FOODS; CHEMWARE; CIA
       MINERA DE CANANEA SA;
 22    CIRCUIT ONE DIV. OF LH
       RESEARCH INC.; CLEVELAND
 23    WRECKING CO.; COAST PLATING,
 24    INC.; COGNIS CORP.; COLUMBIA
       PICTURES; CONAGRA BRANDS,
 25    INC.; CONTROL COMPONENTS
       INC.; COSCOL PETROLEUM
 26    CORPORATION; CRAGAR
 27    INDUSTRIES; CRAIN INDUSTRIES,
       INC.; CRAIN WESTERN, INC.; CRE
 28    LIQUIDATION LLC; CRESCENT

                                                           TENTH AMENDED COMPLAINT
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  1    TRANSPORTATION; CRITON
       CORPORATION; CROCKETT
  2    CONTAINER CORP.; CROWLEY
  3    INC.; CROWN CENTRAL LLC;
       CROWN CENTRAL PETROLEUM
  4    CORPORATION; CROWN
       DISPOSAL INC.; CROWN
  5    ZELLERBACH CO.; CS&M, INC.;
  6    CUMMINS SERVICE & SALES INC.;
       CYCLO CHEMICAL CO.; CYTEC
  7    INDUSTRIES INC.; DAIWA CORP.;
       DARNELL CORP..; DARNELL-
  8    ROSE; DATA DEVICE CORP.;
       DATA PRODUCTS CORP.; DAVIS
  9    INVESTMENT CO.; DECRATREND
 10    CORP.; DELAWARE
       OUTSOURCING SERVICES GROUP,
 11    INC.; DENSO PRODUCTS AND
       SERVICES AMERICAS, INC.;
 12    DESOTO INC.; DEVON ENERGY
 13    CORP.; DIAMOND
       INTERNATIONAL CORP.;
 14    DIAMOND PLASTICS; DISPOSAL
       CONTROL SERVICE, INC.;
 15    DIVERSIFIED COATING SYSTEMS,
       INC.; DON KOTT FORD; DOUGLAS
 16    FURNITURE OF CALIFORNIA;
 17    DRACKETT CO.; DRESSER
       INDUSTRIES, INC.; DUREX INC.;
 18    E.T.C. CARPET MILLS, LTD.; EAST
       COAST OCEANVIEW, LLC; ELFAB
 19    CORP.; ELECTROFILM INC.;
 20    ELECTRONIC MATERIALS CORP.;
       ELECTRONIC RECLAMATION
 21    SERVICE; ELECTRO-ETCH
       CIRCUITS INC.; ELEVATE
 22    TEXTILES, INC.; EME CORP.;
       EMERALD EQUITIES; EMERY
 23    INDUSTRIES INC.; EMERY
 24    OLEOCHEMICALS LLC;
       EMPLOYBRIDGE LLC; EMRISE
 25    ELECTRONICS CORP.; ENERGY
       DEVELOPMENT CO. INC.;
 26    ENLIVEN MARKETING
 27    TECHNOLOGIES CORPORATION;
       ENVIRONMENTAL CONTROL
 28    SYSTEMS INC.; EPEC OIL CO.

                                                           TENTH AMENDED COMPLAINT
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  1    LIQUIDATING
       TRUST;EVERGREEN PACIFIC
  2    PARTNERS; FAIRCHILD HOLDING
  3    CORP.; FAIRCHILD INDUSTRIES;
       FAIRCHILD SEMICONDUCTOR
  4    INTERNATIONAL, INC.; FEDERAL
       EXPRESS CORPORATION;
  5    FEDERAL RESERVE BANK;
  6    FIBERITE WEST COAST CORP.;
       FIRESTONE TIRE & RUBBER CO.;
  7    FLETCHER OIL & REFINING CO.;
       FLIGHT ACCESORY SERVICE;
  8    FLOWSERVE CORPORATION;
       FOTOMAT LABS INC.; FLYING
  9    TIGERS LINE; FORCO
 10    LIQUIDATION TRUST;
       FRANCISCAN CERAMICS INC.;
 11    FRAZEE INDUSTRIES; FREEPORT-
       MCMORAN INC.; FRICTION INC.;
 12    FRICTION MATERIALS CORP.;
 13    FMC CORPORATION; FORD
       AEROSPACE AND
 14    COMMUNICATIONS CORP.; FORT
       JAMES LLC; FOSTER-FORBES
 15    GLASS CO.; FRONTIER
       CALIFORNIA, INC.; G.W.A. INC.;
 16    GATES ADMIRAL; GATX; GATX
 17    CORP.; GATX TERMINALS CORP.;
       GE BETZ, INC.; GENERAL
 18    BATTERY CORP.; GENERAL
       MILLS, INC.; GENERAL
 19    TELEPHONE CO.; GENSTAR
 20    BUILDING MATERIALS CO.;
       GENSTAR ROOFING PRODUCTS
 21    COMPANY, INC.; GEORGIA-
       PACIFIC LLC; GERALD
 22    CALIFORNIA LLC; GERALD
       METALS, INC.; GLASS
 23    CONTAINERS CORP.; GLOBAL
 24    TUBE CORPORATION; GOLD
       PACK MEAT CO.; GRAY TRUCK
 25    LINES; GREER HYDRAULICS INC.;
       GRUPO MEXICO SAB DE CV;
 26    GUARANTEED PRODUCTS INC.;
 27    HALLMARK CIRCUITS INC.;
       HALSTEAD ENTERPRISES;
 28    HANDY & HARMAN; HARSCO

                                                           TENTH AMENDED COMPLAINT
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  1    CORPORATION; HAWKER-
       PACIFIC AEROSPACE; HEINZ
  2    FOODS; HEIDELBERG MATERIALS
  3    US, INC.; HEIST MAINTENANCE
       SERVICES INC.; HENRY
  4    COMPANY LLC; HENRY SOSS &
       CO. INC.; HERCO TECHNOLOGY
  5    CORP.; HERU INDUSTRIES, INC.;
  6    HESS CORPORATION; HEXCEL
       CORPORATION; HILL BROTHERS
  7    CHEMICAL CO.; HILLCREST
       BEVERLY OIL CORP.; HI-SHEAR
  8    CORP.; HOFFMAN ELECTRONICS;
       HOLLYTEX CARPET MILLS, INC.;
  9    HOWMET AEROSPACE INC.;
 10    HOYA CORPORATION USA; HR
       TEXTRON INC.; HTW INDUSTRIES
 11    INC.; HUMKO PRODUCTS;
       HUNTINGTON/PACIFIC
 12    CERAMICS, INC.; HUSQVARNA
 13    CONSTRUCTION PRODUCTS
       NORTH AMERICA, INC.;
 14    HUTCHINSON AEROSPACE &
       INDUSTRY, INC.; ICN
 15    PHARMACEUTICALS; ICX
       INDUSTRIES, INC.; ICX
 16    NATIONAL, INC.; IMCO SERVICES;
 17    IMI CRITICAL ENGINEERING LLC;
       INDUSTRIAL CIRCUITS;
 18    INDUSTRIAL INSULATIONS
       INCORPORATED; INDUSTRIAL
 19    TECTONICS BEARINGS
 20    CORPORATION; INLAND
       CONTAINER CORP.; INLAND
 21    PAPERBOARD AND PACKAGING,
       INC.; INTERNATIONAL POLYMER
 22    CORP.; I.T. CORP.; ITT LLC; J.C.
       INC.; JCI ENVIRONMENTAL
 23    SERVICES; JCX; JELD-WEN, INC.;
 24    JERSEY MAID MILK PRODUCTS
       INC.; JOHNSON CONTROLS INC.;
 25    JOHNSTON PUMP CO.; JONATHAN
       MANUFACTURING CORP.;
 26    JOSLYN MANUFACTURING &
 27    SUPPLY CO.; JOSLYN
       MANUFACTURING COMPANY,
 28    LLC; KAISER ROLLMET INC.;

                                                           TENTH AMENDED COMPLAINT
                                          7                    (2:18-CV-05836-MWF-PLA)
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  1    KAYNAR MANUFACTURING CO.;
       KELLY SERVICES, INC.; KERR-
  2    MCGEE CHEMICAL WORLWIDE
  3    LLC; KEUFFEL & ESSER CO.;
       KINDER MORGAN ENERGY
  4    PARTNERS, L.P.; KNUDSEN CORP.;
       KOCH ASPHALT CO. OIL; KONICA
  5    PHOTO SERVICE U.S.A., INC.;
  6    KORBEL CAPITAL LLC; KRAFT
       HEINZ FOODS COMPANY; KRAZY
  7    GLUE INC.; LANXESS
       CORPORATION; LIQUID WASTE
  8    MANAGEMENT; LISI AEROSPACE
       NORTH AMERICA, INC.;
  9    LOCKHART INDUSTRIES; LONG
 10    BEACH FABRICATORS INC.;
       LONZA INC.; LOS ANGLES GAUGE
 11    CO.; LOS ANGLES PLATING CO.;
       LUCKY STORES INC.; LUMIDOR
 12    MANUFACTURING CO.; M-I L.L.C.
 13    AKA AND/OR DBA M-I SWACO;
       MACDERMID PRINTING
 14    SOLUTIONS; MACK TRUCKS INC.;
       MAERSK LINE, LIMITED (MLL);
 15    MANHATTAN BEACH HOLDING
       CORP.; MARCO CHEMICAL CO.;
 16    MARTEN MANAGEMENT CO.;
 17    MASCO CORPORATION;MAZDA
       MOTOR OF AMERICA, INC.;
 18    MAZDA NORTH AMERICA; MCA
       LABORATORIES; MCCULLOCH
 19    CORP.; MCKAY CHEMICAL CO.;
 20    MEAD JOHNSON & COMPANY;
       MERCHANTS METALS LLC;
 21    MERCURY AEROSPACE INC.;
       MERCURY AEROSPACE
 22    FASTENERS; MEREL CO. INC.;
       METAL BOX CAN; MGF
 23    INDUSTRIES; MISSION SYSTEMS
 24    DAVENPORT INC.;
       MONOGRAM/PEACOCK
 25    MANUFACTURING; MR. GASKET
       COMPANY; MRC HOLDINGS, INC.;
 26    NARCO CHEMICAL; NARCO
 27    CORPORATION; NARMCO
       MATERIALS INC.; NAVCOM
 28    DEFENSE ELECTRONICS, INC.;

                                                           TENTH AMENDED COMPLAINT
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  1    NEC LIQUIDATION CORP.; NEW
       BRISTOL FARMS, INC.; NEWELL
  2    BRANDS INC.; NEW FASHION
  3    CLEANERS; NIPPONDENSO OF
       LOS ANGELES; NORTH
  4    AMERICAN CAR CORP.; NORTH
       AMERICAN ENVIRONMENTAL;
  5    NORTHROP PACIFIC; NORWEST
  6    EQUITY PARTNERS; NOVARTIS
       CORP.; OLD QUAKER PAINT CO.;
  7    ORANGE COUNTY SANITATION
       DISTRICT; ORYX ENERGY
  8    COMPANY; PACIFIC ANCHOR
       CHEMICAL CORP.; PACIFIC
  9    INTERMOUNTAIN EXPRESS;
 10    PACIFIC SOUTHWEST AIRLINES;
       PACKAING CORP. OF AMERICA;
 11    PACTIV LLC; PAINT & COATINGS
       CORP.; PANEL AIR CORP.;
 12    PARSONS CORPORATION;
 13    PAULEY PETROLEUM CO.; PCC
       ROLLMET, INC.; PEAIRS
 14    ENGINEERS; PEAT
       MANUFACUTURING CO.; PENSKE
 15    LOGISTICS CORP.; PER-OLOF
       LOOF FAMILY FOUNDATION,
 16    INC.; PERVO INTERNATIONAL,
 17    INC.; PERVO PAINT COMPANY;
       PETRO LEWIS CORP.; PGP
 18    INDUSTRIES INC.; PIONEER
       ELECTRONICS (USA) INC.;
 19    PILLSBURY CO.; PRC–DESOTO
 20    INTERNATIONAL INC.; PRE
       DELIVERY SERVICE; PRECISION
 21    CASTPARTS CORP.; PRESSTEK,
       LLC; PRICE PFISTER NKA PFISTER;
 22    PRINTED CIRCUITS, INC.;
       PRODUCTS RESEARCH &
 23    CHEMICAL CORP.; PROTO TOOL;
 24    PURE SOURCE LLC; PUREX
       CORP.; PUREX INDUSTRIES, INC.;
 25    QARBON AEROSPACE INC.;
       RALPH M. PARSONS CO.; RB&W
 26    CORP.; REDKEN LABORATORIES
 27    INC.; REGISTER PROPERTIES INC.;
       REISNER METALS;
 28    REPLACEMENT PARTS

                                                           TENTH AMENDED COMPLAINT
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   1   MANUFACTURING; REXAM
       BEVERAGE CAN COMPANY;
   2   RICHARDSON & HOLLAND;
   3   RICOH ELECTRONICS, INC.;
       RICOH PRINTING SYSTEMS
   4   AMERICA INC.; RIO TINTO ALCAN
       INC.; RIVERSIDE CEMENT CO.;
   5   ROBERTS MANUFACTURING CO.;
   6   ROLLER BEARING COMPANY OF
       AMERICA, INC.; ROYAL
   7   ALUMINUM CO.; RUSSELL
       BURDSALL & WARD INC.; RYDER
   8   SYSTEM, INC.; S.J. JOHNSON &
       SON, INC.; SAFEWAY STORES
   9   INC.; SAFRAN SEATS USA LLC;
  10   SAN DIEGO PIPE LINE CO.; SAN
       FERNANDO LABORATORIES;
  11   SANDIA METAL PROCESS, INC.;
       SARGENT FLETCHER INC.;
  12   SARGENT INDUSTRIES;
  13   SCHLUMBERGER, LTD.;
       SCHLUMBERGER N.V.; SEA LAND
  14   SERVICE INC.; SEMGROUP
       CORPORATION; SERVICE
  15   CHEMICAL CO.; SHUWA
       INVESTMENTS CORP.; SIERRA
  16   PACIFIC CONTAINER CORP.;
  17   SMITH & CO.; SOMACIS INC.;
       SONY PICTURES
  18   ENTERTAINMENT INC.; SOUTH
       WEST FOREST PRODUCTS;
  19   SOUTHERN CALIFORNIA
  20   CHEMICAL; SOUTHERN PACIFIC
       PIPE LINES, INC.; SOUTHWEST
  21   PETRO CHEMICAL; SOUTHWEST
       STEEL ROLLING MILLS;
  22   SOUTHWESTERN ENGINEERING;
       STANDARD BRANDS PAINT CO.
  23   INC.; STANDARD INDUSTRIAL
  24   TOWEL & UNIFORM; STANDARD
       INDUSTRIES HOLDINGS, INC.;
  25   STANDARD MOTOR PRODUCTS,
       INC.; STANLEY BLACK &
  26   DECKER, INC.; STRUCTURAL
  27   COMPOSITE INDUSTRIES; SUN
       EXPLORATION; SUN CAPITAL
  28   PARTNERS, INC.; SWECO, INC.;

                                                           TENTH AMENDED COMPLAINT
                                          10                   (2:18-CV-05836-MWF-PLA)
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   1   T.P. INDUSTRIAL INC.; TDY
       INDUSTRIES, LLC; TECH-ETCH,
   2   INC.; TELAIR US LLC; TENNECO
   3   INC.; TENNECO OIL CO.; TFI
       INTERNATIONAL INC.; THE
   4   MARMON GROUP LLC; THE SAVE
       MART COMPANIES, LLC; THE
   5   SHAW GROUP; THE TERMO
   6   COMPANY; THOMPSON
       INDUSTRIES; THOMPSON
   7   DRILLING; THORPE INSULATION
       CO.; TIMES MIRROR PRESS;
   8   TOOLEY & CO. INC.; TOPPAN
       PRINTING COMPANY (AMERICA),
   9   INC.; TOYOTA MOTOR
  10   MANUFACTURING USA; TRABON
       REALTY CORP.; TRAMMEL CROW
  11   COMPANY; TRANSEQUIP PACIFIC
       INC.; TRE CORP.; TRIBUNE
  12   PUBLISHING COMPANY; TRIMAS
  13   CORPORATION; TRIUMPH GROUP
       OPERATIONS; TRIUMPH
  14   THERMAL SYSTEMS, LLC; TRIZEC
       PROPERTIES; TROJAN BATTERY
  15   CO; TRUCK TRANSPORT; TRZ
       HOLDINGS IV LLC; U.S. BORAX &
  16   CHEMICAL CORP.; U.S. BORAX,
  17   INC.; U.S. BRASS DIVISION; U.S.
       FILTERS; U.S. REDUCTION CO.;
  18   ULTRAMAR INC.; UNFI GROCERS
       DISTRIBUTION, INC.; UNITED
  19   COATINGS INC.; USG
  20   CORPORATION; VALCO; VALCO
       AUTOMOTIVE PRODUCTS;
  21   VALENTEC INTERNATIONAL
       CORP.; VALERO ENERGY
  22   CORPORATION; VAN DE KAMP;
       VARCO INTERNATIONAL;
  23   VEOLIA ENVIRONMENTAL
  24   SERVICES NORTH AMERICA, LLC;
       VERIZON NEW YORK INC.; VEST,
  25   INC. VF CORPORATION; VOI
       SHAN; VONS COMPANIES INC.;
  26   VOUGHT AIRCRAFT INDUSTRIES
  27   INC.; W. SMITH CO.; W. SMITH CO.
       CONTAINER RECONDITIONING;
  28   W.L. CHAPMAN CO.; WEBER

                                                           TENTH AMENDED COMPLAINT
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   1   AIRCRAFT; WELLS FARGO RAIL
       CORPORATION; WELLS MARINE
   2   INC.; WESLOCK CORP.; WEST
   3   VALLEY TOYOTA; WESTERN
       KRAFT CORP.; WESTERN
   4   LITHOGRAPH; WESTERN
       SYNTHETIC FELT CO.;
   5   WESTMINSTER CERAMICS INC.;
   6   WHICO MACHINE, INC.;
       WHITTAKER CORP.; WIRETECH,
   7   INC.; WINDOWMASTER
       PRODUCTS; WITCO
   8   CORPORATION; WOODWARD
       HRT, INC.; WYMAN-GORDON
   9   COMPANY; XTRA ENERGY;
  10   YOPLAIT USA; ZIMMERS TRUCK
       STOP; and DOES 1-10,
  11
                        Defendants.
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                                                           TENTH AMENDED COMPLAINT
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   1        Plaintiffs BKK WORKING GROUP; ANADARKO E&P ONSHORE
   2   LLC; ATLANTIC RICHFIELD COMPANY; ASHLAND INC.; BAYER
   3   CROPSCIENCE INC.; BIG HEART PET BRANDS; THE BOEING
   4   COMPANY; CALIFORNIA RESOURCES CORPORATION; CHEVRON
   5   ENVIRONMENTAL MANAGEMENT COMPANY; CHEVRON MARINE
   6   PRODUCTS LLC; CONOCOPHILLIPS COMPANY; CROSBY &
   7   OVERTON, INC.; THE DOW CHEMICAL COMPANY; DUCOMMUN
   8   AEROSTRUCTURES, INC.; ESSEX CHEMICAL CORPORATION; EXXON
   9   MOBIL CORPORATION; GEMINI INDUSTRIES, INC.; GENERAL
  10   DYNAMICS CORPORATION; GENERAL LATEX AND CHEMICAL
  11   CORPORATION; HEWLETT-PACKARD COMPANY; AMERICAN
  12   HONDA MOTOR CO., INC.; HUNTINGTON BEACH COMPANY;
  13   LOCKHEED MARTIN CORPORATION; MARS, INC. (FORMERLY
  14   KNOWN AS KAL KAN FOODS INC.); MONTROSE CHEMICAL CORP.
  15   OF CALIFORNIA; MORTELL COMPANY; MORTON INTERNATIONAL,
  16   INC.; NATIONAL STEEL AND SHIPBUILDING COMPANY; NORTHROP
  17   GRUMMAN SYSTEMS CORPORATION; OXY USA INC.; QUEMETCO,
  18   INC.; ROCKWELL AUTOMATION, INC.; ROHM & HAAS COMPANY;
  19   ROHR, INC.; SAN DIEGO GAS & ELECTRIC COMPANY; SMITH
  20   INTERNATIONAL, INC.; SOUTHERN CALIFORNIA EDISON
  21   COMPANY; SOUTHERN CALIFORNIA GAS COMPANY; STAUFFER
  22   MANAGEMENT COMPANY LLC; THE PROCTER & GAMBLE
  23   MANUFACTURING COMPANY; THUMS LONG BEACH COMPANY;
  24   UNION CARBIDE CORPORATION; UNION PACIFIC RAILROAD
  25   (FORMERLY KNOWN AS SOUTHERN PACIFIC TRANSPORTATION
  26   COMPANY); UNITED STATES STEEL CORPORATION; RTX
  27   CORPORATION; UNIVAR SOLUTIONS USA LLC; AMERON
  28   INTERNATIONAL CORPORATION; AND XEROX CORPORATION
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   1   (collectively referred to herein as “Plaintiffs” or individually as “Plaintiff”)
   2   allege as follows:
   3                             STATEMENT OF THE CASE
   4         1.     This is a civil action for cost recovery and contribution under Sections
   5   107(a) and 113 of the Comprehensive Environmental Response, Compensation and
   6   Liability Act of 1980, as amended, 42 U.S.C. § 9601 et. seq. (“CERCLA”) and for
   7   contribution under The Carpenter-Presley-Tanner Hazardous Substance Account
   8   Act (“HSAA”), California Health and Safety Code section 78000 et seq., 1 relating
   9   to the release and/or threatened release of hazardous substances, as that term is
  10   defined in Section 101(14) of CERCLA, 42 U.S.C. § 9601 (“Hazardous
  11   Substances”), from a facility known as the BKK Class I Landfill.
  12         2.     The BKK Class I Landfill is located on a portion of a much larger 583-
  13   acre property located at 2210 South Azusa Avenue, West Covina, Los Angeles
  14   County, California. Other facilities located on this property include a closed Class
  15   III municipal landfill, a Leachate Treatment Plant (“LTP”), service roads, and
  16   related pollution control equipment. The BKK Class I Landfill and the LTP,
  17   service roads, and related pollution control equipment which serve it, are
  18   collectively referred to hereinafter as the “BKK Class I Facility” 2 and are the
  19   subject of this lawsuit. The closed Class III municipal landfill is not the subject of
  20   this lawsuit. True and correct copies of the parcel maps describing the property are
  21   attached hereto as Exhibit A.
  22
  23
  24   1
         Effective January 1, 2024, the California Legislature recodified and reorganized
  25   the HSAA without substantive changes. (2022 Cal. Legis. Serv. Ch. 257 (Assem.
  26   Bill No. 2293).
       2
         “BKK Class I Facility,” as used herein, is equivalent to the term “Subject
  27   Property” as that term is used in the First, Second Third Partial and Amended Third
       Partial Consent Decrees. The First, Second Third Partial and Amended Third
  28   Partial Consent Decrees are defined infra at Paragraphs 820, 825, 830 and 835,
       respectively.
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   1         3.     The State of California has alleged in a series of three complaints filed
   2   against some or all of the Plaintiffs 3 that it has incurred response costs in
   3   connection with actions taken in response to releases or threatened releases of
   4   Hazardous Substances at the BKK Class I Facility. Each of the parties named as a
   5   defendant herein at paragraphs 64 - 541 and Does 1-10 (collectively referred to
   6   herein as “Defendants” or individually as “Defendant”) generated, transported
   7   and/or arranged for disposal of materials containing Hazardous Substances to the
   8   BKK Facility.
   9         4.     Plaintiffs seek to recover from each Defendant pursuant to Section
  10   107(a) of CERCLA, 42 U.S.C. § 9607(a), past and future necessary response costs
  11   incurred and to be incurred by Plaintiffs in a manner consistent with the National
  12   Contingency Plan, 40 C.F.R. Part 300 et. seq. (“NCP”), for response activities
  13   undertaken and to be undertaken at and in relation to the BKK Class I Facility that
  14   were caused by the release or threatened release of Hazardous Substances at and
  15   from the BKK Class I Facility.
  16         5.     Plaintiffs also seek contribution from each Defendant pursuant to
  17   Section 113(f) of CERCLA, 42 U.S.C. § 9613(f), for past and future necessary
  18   response costs incurred and to be incurred by Plaintiffs pursuant to the First,
  19   Second, Third Partial and Amended Third Partial Consent Decrees in a manner
  20   consistent with the NCP for response activities undertaken and to be undertaken at
  21   and in relation to the BKK Class I Facility that were caused by the release or
  22   threatened release of Hazardous Substances at and from the BKK Class I Facility.
  23         6.     Plaintiffs further seek a declaration as to each Defendant’s liability and
  24   associated allocation of past and future response costs in accordance with Section
  25   113(g)(2)(B) of CERCLA, 42 U.S.C. § 9613(g)(2)(B), and Boeing Co. v. Cascade
  26   Corp., 207 F.3d 1177, 1191 (9th Cir. 2000), that will be binding in any subsequent
  27
       3
  28     The three complaints are described in more detail in paragraphs 819, 824 and 829,
       infra.
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   1   action or actions brought by Plaintiffs against the Defendants to recover further
   2   response costs.
   3         7.     Plaintiffs additionally seek contribution from each Defendant pursuant
   4   to the Hazardous Substance Account Act (“HSAA”), Cal. Health and Safety Code
   5   §§ 78000 et seq., and Cal. Health and Safety Code § 79670 for past and future
   6   necessary response costs incurred and to be incurred by Plaintiffs in a manner
   7   consistent with the NCP to address releases or threatened releases of Hazardous
   8   Substances at and from the BKK Class I Facility.
   9         8.     Plaintiffs are also entitled to complete or partial indemnity from
  10   Defendants for all costs incurred or to be incurred at the BKK Class I Facility,
  11   pursuant to the doctrine of equitable indemnification.
  12         9.     A sub-set of Plaintiffs who allege they have reimbursed entities or
  13   directly paid for and participated in directing response actions on behalf of other
  14   entities (including other Plaintiffs) that have incurred past, necessary response
  15   costs, including pursuant to the First, Second, Third Partial and Amended Third
  16   Partial Consent Decrees in a manner consistent with the NCP, for response
  17   activities undertaken at and in relation to the BKK Class I Facility, assert
  18   subrogated cost recovery and contribution claims against each Defendant pursuant
  19   to Section 112(c)(3) of CERCLA, 42 U.S.C. § 9612(c)(3), and pursuant to common
  20   law equitable subrogation.
  21         10.    Plaintiffs also seek a declaratory judgment pursuant to the Declaratory
  22   Judgment Act, 28 U.S.C. § 2201, et seq., and California Code of Civil Procedure
  23   §1060 setting forth the parties’ rights and obligations toward one another for future
  24   costs incurred to address contamination at or from the BKK Class I Facility.
  25         11.    The BKK Working Group has incurred or is committed to incur not
  26   less than approximately $250 million in costs associated with the BKK Class I
  27   Facility, and the total cost of necessary response actions to fully remediate the BKK
  28   Class I Facility was estimated by the State of California Department of Toxic

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   1   Substances Control (“DTSC”) in 2020 to be $869,286.436. Each Defendant has
   2   declined or not responded to Plaintiffs’ request(s) to enter into, or has otherwise not
   3   entered into, a tolling agreement to facilitate settlement discussions, necessitating
   4   this lawsuit to resolve Defendants’ liabilities.
   5                                     JURISDICTION
   6         12.    This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331
   7   and Section 113(b) of CERCLA, 42 U.S.C. § 9613(b). This Court has jurisdiction
   8   over the subject matter of the claims made under state law in this action under 28
   9   U.S.C. § 1367(a) because the claims under state law arise out of the same common
  10   nucleus of facts as the federal question jurisdiction claims set forth in this Tenth
  11   Amended Complaint, and they are so closely related to the actions brought under
  12   federal law that they form part of the same case or controversy.
  13                                           VENUE
  14         13.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
  15   because a substantial part of the events giving rise to this action occurred within
  16   this District and because the BKK Class I Facility is located within this District.
  17         14.    Venue is also proper in this District pursuant to Section 113(b) of
  18   CERCLA, 42 U.S.C. § 9613(b), because both the releases occurred and the
  19   response costs were occurred in this District.
  20                                       PLAINTIFFS
  21         15.    The BKK Working Group, also known as the BKK Joint Defense
  22   Group, is an unincorporated association of entities of the type described in Federal
  23   Rule of Civil Procedure 17(b)(3)(A) and Cal. Code of Civil Procedure § 369.5. The
  24   BKK Working Group currently includes the Plaintiffs identified in paragraphs 16-
  25   63 below as members, which assert the claims in this Tenth Amended Complaint on
  26   their own behalf and as assignees of the claims at the BKK Class I Facility of the
  27   following entities that are also BKK Working Group members: Baker Petrolite
  28   LLC; Honeywell International Inc., Hugo Neu Proler, Shell Oil Company, Vigor

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   1   Shipyards, Inc., formerly known as Todd Pacific Shipyard Corp., Unisys
   2   Corporation, and Wyeth Holdings, formerly known as American Cyanamid
   3   (collectively referred to as the “Member Assignors”). The BKK Working Group is
   4   also a Plaintiff as assignee of CERCLA claims relating to the BKK Class I Facility
   5   of the Member Assignors. Plaintiffs are working together towards the common
   6   objective of addressing conditions at the BKK Class I Facility in cooperation with
   7   state and federal agencies. Each Plaintiff has incurred costs, including response
   8   costs consistent with the NCP, at the BKK Class I Facility. The BKK Working
   9   Group, and each of its individual members, is a “person” within the meaning of
  10   CERCLA § 101(21), 42 U.S.C. § 9601(21).
  11         16.    Plaintiff Anadarko E&P Onshore LLC is a corporation organized
  12   under the laws of the State of Delaware. At all times referred to herein, Anadarko
  13   E&P Onshore LLC, or its corporate predecessor(s), was and is authorized to do
  14   business, and was and is doing business, in California. The State of California has
  15   alleged that Plaintiff Anadarko E&P Onshore LLC arranged for the disposal of a
  16   Hazardous Substance at the BKK Class I Facility, as those terms are described in
  17   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Anadarko E&P Onshore
  18   LLC is a member of the BKK Working Group and as a member of the BKK
  19   Working Group has incurred costs, including response costs in a manner consistent
  20   with the NCP, at the BKK Class I Facility. Anadarko E&P Onshore LLC asserts no
  21   allegations against the following Defendants: Sun Exploration, Kerr-McGee
  22   Chemical Worldwide LLC (on the basis of it being the successor to or otherwise
  23   being liable for manifested waste from Sun Exploration).
  24         17.    Plaintiff Ashland Inc. is a corporation organized under the laws of the
  25   State of Kentucky and authorized to do business in the State of California. Ashland
  26   Inc. is the corporate successor of Ashland Chemical Company and, for the matters
  27   set forth herein, the assignee of Filtrol’s claims in the litigation. The State of
  28   California has alleged that Ashland Chemical Company and Filtrol Corporation are

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   1   Covered Persons, as described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a),
   2   who arranged for the disposal of Hazardous Substances at the BKK Class I Facility.
   3   Ashland Inc. and Filtrol Corporation are members of the BKK Working Group and
   4   as members of the BKK Working Group have incurred costs, including response
   5   costs consistent with the NCP, at the BKK Class I Facility. Filtrol has assigned all
   6   of its rights, claims and interests relevant hereto to Ashland Inc.
   7         18.    Plaintiff Atlantic Richfield Company is a corporation organized under
   8   the laws of the State of Delaware. At all times referred to herein, Atlantic Richfield
   9   Company, or its corporate predecessor(s), was and is authorized to do business, and
  10   was and is doing business, in California. The State of California has alleged that
  11   Plaintiff Atlantic Richfield Company arranged for the disposal of a Hazardous
  12   Substance at the BKK Class I Facility, as those terms are described in section
  13   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Atlantic Richfield Company is a
  14   member of the BKK Working Group and as a member of the BKK Working Group
  15   has incurred costs, including response costs consistent with the NCP, at the BKK
  16   Class I Facility.
  17         19.    Plaintiff Bayer CropScience, Inc. is a corporation organized under the
  18   laws of the State of Delaware. At all times referred to herein, Bayer CropScience
  19   Inc., or its corporate predecessor(s), was and is authorized to do business, and was
  20   and is doing business, in California. The State of California has alleged that
  21   Plaintiff Bayer CropScience Inc. arranged for the disposal of a Hazardous
  22   Substance at the BKK Class I Facility, as those terms are described in section
  23   107(a) of CERCLA, 42 U.S.C. § 9607(a). Bayer CropScience Inc., as a member of
  24   the BKK Working Group, has incurred costs, including response costs consistent
  25   with the NCP, at the BKK Class I Facility.
  26         20.    Plaintiff Big Heart Pet Brands is a corporation organized under the
  27   laws of the State of Delaware. At all times referred to herein, Big Heart Pet Brands,
  28   or its corporate predecessor(s), was and is authorized to do business, and was and is

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   1   doing business, in California. The State of California has alleged that the assignee
   2   to the successor in interest to certain liability of H.J. Heinz Company, arranged for
   3   the disposal of a Hazardous Substance at the BKK Class I Facility, as those terms
   4   are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Big
   5   Heart Pet Brands is a member of the BKK Working Group and as a member of the
   6   BKK Working Group has incurred costs, including response costs consistent with
   7   the NCP, at the BKK Class I Facility.
   8         21.    Plaintiff The Boeing Company is a corporation organized under the
   9   laws of the State of Delaware. At all times referred to herein, The Boeing
  10   Company, or its corporate predecessor(s) or affiliates, was and is authorized to do
  11   business, and was and is doing business, in California. The State of California has
  12   alleged that Plaintiff The Boeing Company, or its corporate predecessor(s) in
  13   interest or affiliate(s), arranged for the disposal of a Hazardous Substance at the
  14   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
  15   42 U.S.C. § 9607(a). Plaintiff The Boeing Company is a member of the BKK
  16   Working Group. As a member of the BKK Working Group, and also prior to
  17   becoming a member, The Boeing Company has incurred costs, including response
  18   costs consistent with the NCP, at the BKK Class I Facility.
  19         22.    Plaintiff California Resources Corporation is a corporation organized
  20   under the laws of the State of Pennsylvania. At all times referred to herein,
  21   California Resources Corporation, or its corporate predecessor(s), was and is
  22   authorized to do business, and was and is doing business, in California. The State
  23   of California has alleged that Plaintiff California Resources Corporation arranged
  24   for the disposal of a Hazardous Substance at the BKK Class I Facility, as those
  25   terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
  26   California Resources Corporation is a member of the BKK Working Group and as a
  27   member of the BKK Working Group has incurred costs, including response costs
  28   consistent with the NCP, at the BKK Class I Facility

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   1         23.    Plaintiff Chevron Environmental Management Company is a
   2   corporation organized under the laws of the State of California. At all times referred
   3   to herein, Chevron Environmental Management Company, or its corporate
   4   affiliate(s), was and is authorized to do business, and was and is doing business, in
   5   California. The State of California has alleged that certain corporate affiliates of
   6   Plaintiff Chevron Environmental Management Company arranged for the disposal
   7   of a Hazardous Substance at the BKK Class I Facility, as those terms are described
   8   in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Chevron
   9   Environmental Management Company is a member of the BKK Working Group
  10   and as a member of the BKK Working Group has incurred costs, including
  11   response costs consistent with the NCP, at the BKK Class I Facility.
  12         24.    Plaintiff Chevron Marine Products LLC is a limited liability company
  13   organized under the laws of the State of Delaware. At all times referred to herein,
  14   Chevron Marine Products LLC, or its corporate predecessor(s), was and is
  15   authorized to do business, and was and is doing business, in California. The State
  16   of California has alleged that Plaintiff Chevron Marine Products LLC arranged for
  17   the disposal of a Hazardous Substance at the BKK Class I Facility, as those terms
  18   are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
  19   Chevron Marine Products LLC is a member of the BKK Working Group and as a
  20   member of the BKK Working Group has incurred costs, including response costs
  21   consistent with the NCP, at the BKK Class I Facility.
  22         25.    Reserved.
  23         26.    Plaintiff ConocoPhillips Company is a corporation organized under the
  24   laws of the State of Delaware. At all times referred to herein, ConocoPhillips
  25   Company, or its corporate predecessor(s), was and is authorized to do business, and
  26   was and is doing business, in California. The State of California has alleged that
  27   Plaintiff ConocoPhillips Company arranged for the disposal of a Hazardous
  28   Substance at the BKK Class I Facility, as those terms are described in section

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   1   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff ConocoPhillips Company is a
   2   member of the BKK Working Group and as a member of the BKK Working Group
   3   has incurred costs, including response costs consistent with the NCP, at the BKK
   4   Class I Facility.
   5         27.    Plaintiff Crosby & Overton, Inc. is a corporation organized under the
   6   laws of the State of California. At all times referred to herein, Crosby & Overton,
   7   Inc., or its corporate predecessor(s), was and is authorized to do business, and was
   8   and is doing business, in California. The State of California has alleged that
   9   Plaintiff Crosby & Overton, Inc. arranged for the disposal of a Hazardous
  10   Substance at the BKK Class I Facility, as those terms are described in section
  11   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Crosby & Overton, Inc. is a
  12   member of the BKK Working Group and as a member of the BKK Working Group
  13   has incurred costs, including response costs consistent with the NCP, at the BKK
  14   Class I Facility.
  15         28.    Plaintiff The Dow Chemical Company is a corporation organized
  16   under the laws of the State of Delaware. At all times referred to herein, The Dow
  17   Chemical Company, or its corporate predecessor(s), was and is authorized to do
  18   business, and was and is doing business, in California. The State of California has
  19   alleged that Plaintiff The Dow Chemical Company arranged for the disposal of a
  20   Hazardous Substance at the BKK Class I Facility, as those terms are described in
  21   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff The Dow Chemical
  22   Company is a member of the BKK Working Group and as a member of the BKK
  23   Working Group has incurred costs, including response costs consistent with the
  24   NCP, at the BKK Class I Facility.
  25         29.    Plaintiff Ducommun Aerostructures, Inc. is a corporation organized
  26   under the laws of the State of Delaware. At all times referred to herein, Ducommun
  27   Aerostructures, Inc., or its corporate predecessor(s), was and is authorized to do
  28   business, and was and is doing business, in California. The State of California has

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   1   alleged that Plaintiff Ducommun Aerostructures, Inc. arranged for the disposal of a
   2   Hazardous Substance at the BKK Class I Facility, as those terms are described in
   3   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Ducommun
   4   Aerostructures, Inc. is a member of the BKK Working Group and as a member of
   5   the BKK Working Group has incurred costs, including response costs consistent
   6   with the NCP, at the BKK Class I Facility.
   7         30.    Plaintiff Essex Chemical Corporation is a corporation organized under
   8   the laws of the State of New Jersey. At all times referred to herein, Essex Chemical
   9   Corporation, or its corporate predecessor(s), was and is authorized to do business,
  10   and was and is doing business, in California. The State of California has alleged
  11   that Plaintiff Essex Chemical Corporation arranged for the disposal of a Hazardous
  12   Substance at the BKK Class I Facility, as those terms are described in section
  13   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Essex Chemical Corporation is
  14   a member of the BKK Working Group and as a member of the BKK Working
  15   Group has incurred costs, including response costs consistent with the NCP, at the
  16   BKK Class I Facility.
  17         31.    Plaintiff Exxon Mobil Corporation is a corporation organized under
  18   the laws of the State of New Jersey. At all times referred to herein, Exxon Mobil
  19   Corporation, or its corporate predecessor(s), was and is authorized to do business,
  20   and was and is doing business, in California. The State of California has alleged
  21   that Plaintiff Exxon Mobil Corporation arranged for the disposal of a Hazardous
  22   Substance at the BKK Class I Facility, as those terms are described in section
  23   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Exxon Mobil Corporation is a
  24   member of the BKK Working Group and as a member of the BKK Working Group
  25   has incurred costs, including response costs consistent with the NCP, at the BKK
  26   Class I Facility.
  27         32.    Plaintiff Gemini Industries, Inc. is a corporation organized under the
  28   laws of the State of California. At all times referred to herein, Gemini Industries,

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   1   Inc. or its corporate predecessor(s), was and is authorized to do business, and was
   2   and is doing business, in California. The State of California has alleged that
   3   Plaintiff Gemini Industries, Inc. arranged for the disposal of a Hazardous Substance
   4   at the BKK Class I Facility, as those terms are described in section 107(a) of
   5   CERCLA, 42 U.S.C. § 9607(a). Plaintiff Gemini Industries, Inc. is a member of
   6   the BKK Working Group. As a member of the BKK Working Group, and also
   7   prior to becoming a Member, Gemini Industries, Inc. has incurred costs, including
   8   response costs consistent with the NCP, at the BKK Class I Facility.
   9         33.    Plaintiff General Dynamics Corporation is a corporation organized
  10   under the laws of the State of Delaware. During the years of operation of the BKK
  11   Class I Landfill, specifically from approximately 1975 until 1984, General
  12   Dynamics Corporation was authorized to do business, and was doing business, in
  13   California. The State of California has alleged that Plaintiff General Dynamics
  14   Corporation arranged for the disposal of a Hazardous Substance at the BKK Class I
  15   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
  16   9607(a). Plaintiff General Dynamics Corporation is a member of the BKK
  17   Working Group and as a member of the BKK Working Group has incurred costs,
  18   including response costs consistent with the NCP, at the BKK Class I Facility.
  19         34.    Plaintiff General Latex and Chemical Corporation is a corporation
  20   organized under the laws of the State of Massachusetts. At all times referred to
  21   herein, General Latex and Chemical Corporation, or its corporate predecessor(s),
  22   was and is authorized to do business, and was and is doing business, in California.
  23   The State of California has alleged that Plaintiff General Latex and Chemical
  24   Corporation arranged for the disposal of a Hazardous Substance at the BKK Class I
  25   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
  26   9607(a). Plaintiff General Latex and Chemical Corporation is a member of the
  27   BKK Working Group and as a member of the BKK Working Group has incurred
  28

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   1   costs, including response costs consistent with the NCP, at the BKK Class I
   2   Facility.
   3         35.    Plaintiff Hewlett-Packard Company is a corporation organized under
   4   the laws of the State of Delaware. At all times referred to herein, Hewlett-Packard
   5   Company, or its corporate predecessor(s), was and is authorized to do business, and
   6   was and is doing business, in California. The State of California has alleged that
   7   Plaintiff Hewlett-Packard Company arranged for the disposal of a Hazardous
   8   Substance at the BKK Class I Facility, as those terms are described in section
   9   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Hewlett-Packard Company is a
  10   member of the BKK Working Group and as a member of the BKK Working Group
  11   has incurred costs, including response costs consistent with the NCP, at the BKK
  12   Class I Facility.
  13         36.    Plaintiff American Honda Motor Co., Inc. is a corporation organized
  14   under the laws of the State of California. At all times referred to herein, American
  15   Honda Motor Co., Inc. was and is authorized to do business, and was and is doing
  16   business, in California. The State of California has alleged that Plaintiff American
  17   Honda Motor Co., Inc. arranged for the disposal of a Hazardous Substance at the
  18   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
  19   42 U.S.C. § 9607(a). Plaintiff American Honda Motor Co. is a member of the BKK
  20   Working Group and as a member of the BKK Working Group has incurred costs,
  21   including response costs consistent with the NCP, at the BKK Class I Facility.
  22         37.    Plaintiff Huntington Beach Company is a corporation organized under
  23   the laws of the State of California. At all times referred to herein, Huntington Beach
  24   Company, or its corporate predecessor(s), was and is authorized to do business, and
  25   was and is doing business, in California. The State of California has alleged that
  26   Plaintiff Huntington Beach Company arranged for the disposal of a Hazardous
  27   Substance at the BKK Class I Facility, as those terms are described in section
  28   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Huntington Beach Company is

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   1   a member of the BKK Working Group and as a member of the BKK Working
   2   Group has incurred costs, including response costs consistent with the NCP, at the
   3   BKK Class I Facility.
   4         38.    Plaintiff Lockheed Martin Corporation is a corporation organized
   5   under the laws of the State of Maryland. At all times referred to herein, Lockheed
   6   Martin Corporation, or its corporate predecessor(s), was and is authorized to do
   7   business, and was and is doing business, in California. The State of California has
   8   alleged that Plaintiff Lockheed Martin Corporation arranged for the disposal of a
   9   Hazardous Substance at the BKK Class I Facility, as those terms are described in
  10   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Lockheed Martin
  11   Corporation is a member of the BKK Working Group. As a Member of the BKK
  12   Working Group, and also prior to becoming a member, Lockheed Martin
  13   Corporation has incurred costs, including response costs consistent with the NCP,
  14   at the BKK Class I Facility.
  15         39.    Plaintiff Mars, Inc. (formerly known as Kal Kan Foods Inc.) is a
  16   corporation organized under the laws of the State of Delaware. At all times referred
  17   to herein, Mars, Inc., or its corporate predecessor(s), was and is authorized to do
  18   business, and was and is doing business, in California. The State of California has
  19   alleged that Plaintiff Mars, Inc. arranged for the disposal of a Hazardous Substance
  20   at the BKK Class I Facility, as those terms are described in section 107(a) of
  21   CERCLA, 42 U.S.C. § 9607(a). Plaintiff Mars, Inc. is a member of the BKK
  22   Working Group and as a member of the BKK Working Group has incurred costs,
  23   including response costs consistent with the NCP, at the BKK Class I Facility.
  24         40.    Plaintiff Montrose Chemical Corp. of California is a corporation
  25   organized under the laws of the State of Delaware. At all times referred to herein,
  26   Montrose Chemical Corp. of California, or its corporate predecessor(s), was and is
  27   authorized to do business, and was and is doing business, in California. The State
  28   of California has alleged that Plaintiff Montrose Chemical Corp. of California

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   1   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
   2   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
   3   Plaintiff Montrose Chemical Corp. of California is a member of the BKK Working
   4   Group and as a member of the BKK Working Group has incurred costs, including
   5   response costs consistent with the NCP, at the BKK Class I Facility.
   6         41.    Plaintiff Mortell Company is a corporation organized under the laws of
   7   the State of Delaware. At all times referred to herein, Mortell Company or its
   8   corporate predecessor(s), was and is authorized to do business, and was and is
   9   doing business, in California. The State of California has alleged that Plaintiff
  10   Mortell Company arranged for the disposal of a Hazardous Substance at the BKK
  11   Class I Facility, as those terms are described in section 107(a) of CERCLA, 42
  12   U.S.C. § 9607(a). Plaintiff Mortell Company is a member of the BKK Working
  13   Group and as a member of the BKK Working Group has incurred costs, including
  14   response costs consistent with the NCP, at the BKK Class I Facility.
  15         42.    Plaintiff Morton International, Inc. is a corporation organized under
  16   the laws of the State of Indiana. At all times referred to herein, Morton
  17   International, Inc., or its corporate predecessor(s), was and is authorized to do
  18   business, and was and is doing business, in California. The State of California has
  19   alleged that Plaintiff Morton International, Inc. arranged for the disposal of a
  20   Hazardous Substance at the BKK Class I Facility, as those terms are described in
  21   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Morton International,
  22   Inc. is a member of the BKK Working Group and as a member of the BKK
  23   Working Group has incurred costs, including response costs consistent with the
  24   NCP, at the BKK Class I Facility.
  25         43.    Plaintiff National Steel and Shipbuilding Company is a corporation
  26   organized under the laws of the State of Nevada. At all times referred to herein,
  27   National Steel and Shipbuilding Company, or its corporate predecessor(s), was and
  28   is authorized to do business, and was and is doing business, in California. The

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   1   State of California has alleged that Plaintiff National Steel and Shipbuilding
   2   Company arranged for the disposal of a Hazardous Substance at the BKK Class I
   3   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
   4   9607(a). Plaintiff National Steel and Shipbuilding Company is a member of the
   5   BKK Working Group and as a member of the BKK Working Group has incurred
   6   costs, including response costs consistent with the NCP, at the BKK Class I
   7   Facility.
   8         44.    Plaintiff Northrop Grumman Systems Corporation is a corporation
   9   organized under the laws of the State of Delaware. At all times referred to herein,
  10   Northrop Grumman Systems Corporation, or its corporate predecessor(s), was and
  11   is authorized to do business, and was and is doing business, in California. The
  12   State of California has alleged that Plaintiff Northrop Grumman Systems
  13   Corporation arranged for the disposal of a Hazardous Substance at the BKK Class I
  14   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
  15   9607(a). Plaintiff Northrop Grumman Systems Corporation is a member of the
  16   BKK Working Group and as a member of the BKK Working Group has incurred
  17   costs, including response costs consistent with the NCP, at the BKK Class I
  18   Facility.
  19         45.    Plaintiff Oxy USA Inc. is a corporation organized under the laws of
  20   the State of Delaware. At all times referred to herein, Oxy USA Inc., or its
  21   corporate predecessor(s), was and is authorized to do business, and was and is
  22   doing business, in California. The State of California has alleged that Plaintiff Oxy
  23   USA Inc. arranged for the disposal of a Hazardous Substance at the BKK Class I
  24   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
  25   9607(a). Plaintiff Oxy USA Inc. is a member of the BKK Working Group and as a
  26   member of the BKK Working Group has incurred costs, including response costs
  27   consistent with the NCP, at the BKK Class I Facility
  28

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   1         46.    Plaintiff Quemetco, Inc. is a corporation organized under the laws of
   2   the State of Delaware. At all times referred to herein, Quemetco, Inc., or its
   3   corporate predecessor(s), was and is authorized to do business, and was and is
   4   doing business, in California. The State of California has alleged that Plaintiff
   5   Quemetco, Inc. arranged for the disposal of a Hazardous Substance at the BKK
   6   Class I Facility, as those terms are described in section 107(a) of CERCLA, 42
   7   U.S.C. § 9607(a). Plaintiff Quemetco, Inc. is a member of the BKK Working
   8   Group and as a member of the BKK Working Group has incurred costs, including
   9   response costs consistent with the NCP, at the BKK Class I Facility.
  10         47.    Plaintiff Rockwell Automation, Inc. is a corporation organized under
  11   the laws of the State of Delaware. At all times referred to herein, Rockwell
  12   Automation, Inc., or its corporate predecessor(s), was and is authorized to do
  13   business, and was and is doing business, in California. The State of California has
  14   alleged that Plaintiff Rockwell Automation, Inc. arranged for the disposal of a
  15   Hazardous Substance at the BKK Class I Facility, as those terms are described in
  16   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Rockwell Automation,
  17   Inc. is a member of the BKK Working Group and as a member of the BKK
  18   Working Group has incurred costs, including response costs consistent with the
  19   NCP, at the BKK Class I Facility.
  20         48.    Plaintiff Rohm & Haas Company is a corporation organized under the
  21   laws of the State of Delaware. At all times referred to herein, Rohm & Haas
  22   Company, or its corporate predecessor(s), was and is authorized to do business, and
  23   was and is doing business, in California. The State of California has alleged that
  24   Plaintiff Rohm & Haas Company arranged for the disposal of a Hazardous
  25   Substance at the BKK Class I Facility, as those terms are described in section
  26   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Rohm & Haas Company is a
  27   member of the BKK Working Group and as a member of the BKK Working Group
  28

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   1   has incurred costs, including response costs consistent with the NCP, at the BKK
   2   Class I Facility.
   3         49.    Plaintiff Rohr, Inc. is a corporation organized under the laws of the
   4   State of Delaware. At all times referred to herein, Rohr, Inc., or its corporate
   5   predecessor(s), was and is authorized to do business, and was and is doing business,
   6   in California. The State of California has alleged that Plaintiff Rohr, Inc. arranged
   7   for the disposal of a Hazardous Substance at the BKK Class I Facility, as those
   8   terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
   9   Rohr, Inc. is a member of the BKK Working Group and as a member of the BKK
  10   Working Group has incurred costs, including response costs consistent with the
  11   NCP, at the BKK Class I Facility.
  12         50.    Plaintiff San Diego Gas & Electric Company is a corporation
  13   organized under the laws of the State of California. At all times referred to herein,
  14   San Diego Gas & Electric Company, or its corporate predecessor(s), was and is
  15   authorized to do business, and was and is doing business, in California. The State
  16   of California has alleged that Plaintiff San Diego Gas & Electric Company arranged
  17   for the disposal of a Hazardous Substance at the BKK Class I Facility, as those
  18   terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
  19   San Diego Gas & Electric Company is a member of the BKK Working Group and
  20   as a member of the BKK Working Group has incurred costs, including response
  21   costs consistent with the NCP, at the BKK Class I Facility.
  22         51.    Plaintiff Smith International, Inc. is a corporation organized under the
  23   laws of the State of California. At all times referred to herein, Smith International,
  24   Inc., or its corporate predecessor(s), was and is authorized to do business, and was
  25   and is doing business, in California. The State of California has alleged that
  26   Plaintiff Smith International, Inc. arranged for the disposal of a Hazardous
  27   Substance at the BKK Class I Facility, as those terms are described in section
  28   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Smith International, Inc. is a

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   1   member of the BKK Working Group and as a member of the BKK Working Group
   2   has incurred costs, including response costs consistent with the NCP, at the BKK
   3   Class I Facility
   4         52.    Plaintiff Southern California Edison Company is a corporation
   5   organized under the laws of the State of California. At all times referred to herein,
   6   Southern California Edison Company, or its corporate predecessor(s), was and is
   7   authorized to do business, and was and is doing business, in California. The State
   8   of California has alleged that Plaintiff Southern California Edison Company
   9   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
  10   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
  11   Plaintiff Southern California Edison Company is a member of the BKK Working
  12   Group and as a member of the BKK Working Group has incurred costs, including
  13   response costs consistent with the NCP, at the BKK Class I Facility.
  14         53.    Plaintiff Southern California Gas Company is a corporation organized
  15   under the laws of the State of California. At all times referred to herein, Southern
  16   California Gas Company, or its corporate predecessor(s), was and is authorized to
  17   do business, and was and is doing business, in California. The State of California
  18   has alleged that Plaintiff Southern California Gas Company arranged for the
  19   disposal of a Hazardous Substance at the BKK Class I Facility, as those terms are
  20   described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Southern
  21   California Gas Company is a member of the BKK Working Group and as a member
  22   of the BKK Working Group has incurred costs, including response costs consistent
  23   with the NCP, at the BKK Class I Facility.
  24         54.    Plaintiff Stauffer Management Company LLC is a limited liability
  25   corporation organized under the laws of the State of Delaware. At all times referred
  26   to herein, Stauffer Management Company LLC was and is authorized to do
  27   business, and was and is doing business, in California. Stauffer Management
  28   Company LLC is a contractual indemnitor of Bayer CropScience Inc., and through

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   1   this legal obligation, has paid the costs incurred by Bayer CropScience, Inc. and has
   2   participated in directing remediation efforts as an agent for Bayer CropScience, Inc.
   3   at the BKK Class I Facility. Stauffer Management Company LLC also is an
   4   assignee to the subrogation and other rights or causes of action Syngenta Crop
   5   Protection, LLC, a Delaware limited liability company, may have as a result of
   6   reimbursements it has made to Stauffer Management Company LLC for costs paid
   7   for by Stauffer Management Company LLC in connection with the BKK Class I
   8   Facility. Prior to filing this lawsuit, Bayer CropScience, Inc. and Stauffer
   9   Management Company LLC submitted demands to Defendants as contemplated by
  10   CERCLA § 112(b) and (c), thereby making them each a “claimant” as that term is
  11   used in the statute. Although Stauffer Management Company LLC and Syngenta
  12   Crop Protection, LLC are not members of the BKK Working Group, because the
  13   costs they have incurred result directly from Bayer CropScience’s participation in
  14   the BKK Working Group, for purposes of the allegations in this Tenth Amended
  15   Complaint relating to the incurrence of costs, the term “BKK Working Group”
  16   includes Stauffer Management Company LLC and Syngenta Crop Protection, LLC.
  17         55.    Plaintiff The Procter & Gamble Manufacturing Company is a
  18   corporation organized under the laws of the State of Ohio. At all times referred to
  19   herein, The Procter & Gamble Manufacturing Company, or its corporate
  20   predecessor(s), was and is authorized to do business, and was and is doing business,
  21   in California. The State of California has alleged that Plaintiff The Procter &
  22   Gamble Manufacturing Company arranged for the disposal of a Hazardous
  23   Substance at the BKK Class I Facility, as those terms are described in section
  24   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff The Procter & Gamble
  25   Manufacturing Company is a member of the BKK Working Group and as a
  26   member of the BKK Working Group has incurred costs, including response costs
  27   consistent with the NCP, at the BKK Class I Facility.
  28

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   1         56.    Plaintiff THUMS Long Beach Company is a corporation organized
   2   under the laws of the State of Delaware. At all times referred to herein, THUMS
   3   Long Beach Company, or its corporate predecessor(s), was and is authorized to do
   4   business, and was and is doing business, in California. The State of California has
   5   alleged that Plaintiff THUMS Long Beach Company arranged for the disposal of a
   6   Hazardous Substance at the BKK Class I Facility, as those terms are described in
   7   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff THUMS Long Beach
   8   Company is a member of the BKK Working Group and as a member of the BKK
   9   Working Group has incurred costs, including response costs consistent with the
  10   NCP, at the BKK Class I Facility.
  11         57.    Plaintiff Union Carbide Corporation is a corporation organized under
  12   the laws of the State of New York. At all times referred to herein, Union Carbide
  13   Corporation, or its corporate predecessor(s), was and is authorized to do business,
  14   and was and is doing business, in California. The State of California has alleged
  15   that Plaintiff Union Carbide Corporation arranged for the disposal of a Hazardous
  16   Substance at the BKK Class I Facility, as those terms are described in section
  17   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Union Carbide Corporation is a
  18   member of the BKK Working Group and as a member of the BKK Working Group
  19   has incurred costs, including response costs consistent with the NCP, at the BKK
  20   Class I Facility.
  21         58.    Plaintiff Union Pacific Railroad (formerly known as Southern Pacific
  22   Transportation Company) is a corporation organized under the laws of the State of
  23   Delaware. At all times referred to herein, Union Pacific Railroad, or its corporate
  24   predecessor(s), was and is authorized to do business, and was and is doing business,
  25   in California. The State of California has alleged that Plaintiff Union Pacific
  26   Railroad arranged for the disposal of a Hazardous Substance at the BKK Class I
  27   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
  28   9607(a). Plaintiff Union Pacific Railroad is a member of the BKK Working Group

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   1   and as a member of the BKK Working Group has incurred costs, including
   2   response costs consistent with the NCP, at the BKK Class I Facility.
   3         59.    Plaintiff United States Steel Corporation is a corporation organized
   4   under the laws of the State of Delaware. At all times referred to herein, United
   5   States Steel Corporation, or its corporate predecessor(s), was and is authorized to
   6   do business, and was and is doing business, in California. The State of California
   7   has alleged that Plaintiff United States Steel Corporation arranged for the disposal
   8   of a Hazardous Substance at the BKK Class I Facility, as those terms are described
   9   in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff United States Steel
  10   Corporation is a member of the BKK Working Group and as a member of the BKK
  11   Working Group has incurred costs, including response costs consistent with the
  12   NCP, at the BKK Class I Facility.
  13         60.    Plaintiff RTX Corporation is a corporation organized under the laws of
  14   the State of Delaware. At all times referred to herein, RTX Corporation, or its
  15   corporate predecessor(s), was and is authorized to do business, and was and is
  16   doing business, in California. The State of California has alleged that Plaintiff
  17   RTX Corporation arranged for the disposal of a Hazardous Substance at the BKK
  18   Class I Facility, as those terms are described in section 107(a) of CERCLA, 42
  19   U.S.C. § 9607(a). Plaintiff RTX Corporation is a member of the BKK Working
  20   Group and as a member of the BKK Working Group has incurred costs, including
  21   response costs consistent with the NCP, at the BKK Class I Facility.
  22         61.    Plaintiff Univar Solutions USA LLC (f/k/a Univar Solutions USA Inc.
  23   and Van Waters & Rogers) is a corporation organized under the laws of the State of
  24   Washington. At all times referred to herein, Univar Solutions USA Inc., or its
  25   corporate predecessor(s), was and is authorized to do business, and was and is
  26   doing business, in California. The State of California has alleged that Plaintiff
  27   Univar USA LLC arranged for the disposal of a Hazardous Substance at the BKK
  28   Class I Facility, as those terms are described in section 107(a) of CERCLA, 42

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   1   U.S.C. § 9607(a). Plaintiff Univar Solutions USA LLC is a member of the BKK
   2   Working Group and as a member of the BKK Working Group has incurred costs,
   3   including response costs consistent with the NCP, at the BKK Class I Facility.
   4         62.    Plaintiff Ameron International Corporation is a corporation organized
   5   under the laws of the State of Delaware. At all times referred to herein, Ameron
   6   International Corporation, or its corporate predecessor(s), was and is authorized to
   7   do business, and was and is doing business, in California. The State of California
   8   has alleged that Plaintiff Ameron International Corporation arranged for the
   9   disposal of a Hazardous Substance at the BKK Class I Facility, as those terms are
  10   described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Ameron
  11   International Corporation is a member of the BKK Working Group and as a
  12   member of the BKK Working Group has incurred costs, including response costs
  13   consistent with the NCP, at the BKK Class I Facility.
  14         63.     Plaintiff Xerox Corporation is a corporation organized under the laws
  15   of the State of New York. At all times referred to herein, Xerox Corporation, or its
  16   corporate predecessor(s), was and is authorized to do business, and was and is
  17   doing business, in California. The State of California has alleged that Plaintiff
  18   Xerox Corporation arranged for the disposal of a Hazardous Substance at the BKK
  19   Class I Facility, as those terms are described in section 107(a) of CERCLA, 42
  20   U.S.C. § 9607(a). Plaintiff Xerox Corporation is a member of the BKK Working
  21   Group and as a member of the BKK Working Group has incurred costs, including
  22   response costs consistent with the NCP, at the BKK Class I Facility.
  23                                     DEFENDANTS
  24         64.    Defendants are: A.B. Dick Co.; Aamco Transmissions; AAR Corp.;
  25   Abbott Power Corp.; Ace Industries; ACH Food Companies, Inc.; Advanced
  26   Coatings Inc.; Aerosol Services Co. Inc.; Air Industries Corp.; Air Liquide America
  27   LP; Airport Consult Group LLC; Albertsons Companies, Inc.; Alco Cad Nickel
  28   Plating Corp.; Alco Plating Corporation Liquidating Trust; Alco Well Service Inc.;

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   1   Alkid Corporation; Alpha Technologies Group, Inc.; American Appliance
   2   Manufacturing Corp.; American Can Company; American Chemical & Refining;
   3   American Pacific International Inc.; American Promotional Events, Inc. – West;
   4   American Scientific Products; American Tool & Engineering Corp.; Ameripride
   5   Services, LLC; AMF Tubescope Inc.; Anchor Post Products Inc.; Anco Metal
   6   Improvement Co.; Andrew California Corp.; Angelica Textile Services Inc.;
   7   Anodyne Inc.; Apex International Alloys; Apollo Manufacturing Co.; Applied
   8   Magnetics Corp.; Arakelian Enterprises, Inc.; Ardagh Group S.A.; Argo Petroleum
   9   Corp.; Arrowhead Mountain Spring Water Company; Arnold Circuits, Inc.; Arnold
  10   Electronics Inc.; Arnold Engineering Co.; Atlas Fabricators; Atomica Corp.; Axel
  11   Johnson, Inc.; AZON Corporation; B. Jadow and Sons, Inc.; B.P. John Furniture
  12   Co.; BAE Systems San Diego Ship Repair Inc.; Balser Trucking; Bausch Health
  13   Americas, Inc.; Baxter International Inc.; Beatrice Hunt Wesson Inc.; Beazer East,
  14   Inc.; Beckman Coulter Inc.; Becton, Dickinson and Company; Bernard Epps & Co.;
  15   Bethlehem Steel Corp.; Beverly Hills Oil Company; BFI XV Realty Fund Ltd.; BI
  16   Technologies Corporation; Big Three Industries Inc.; Bingo Truck Stop; Birtcher
  17   Pacific; Blue Seal Linen Supply; Bostik, Inc.; BPJ International, Inc.; Bridgestone
  18   Americas, Inc.; Brooks & Perkins Brownline Division; Bunge Global Markets, Inc.;
  19   Byron Jackson Pumps; Cadet Uniform & Linen Supply Co.; Cal-Aurum Industries;
  20   Cal-Chem Cleaning Co., Inc.; Cal Nev Pipeline Co.; Cal Style Furniture
  21   Manufacturing Co.; Cali-Blok; Calbiochem-Behring Corp.; California Carpet Co.;
  22   Calgon Carbon Corporation; Calprotech Inc.; Capital Parade USA, Inc.; Cargill
  23   Inc.; Castle & Cooke, Inc.; Celanese Corporation; Cerro Corporation; Certified
  24   Grocers of Cal.; CHB Foods; Chemware; Cia Minera De Cananea SA; Circuit One
  25   Div. of LH Research Inc.; Cleveland Wrecking Co.; Coast Plating, Inc.; Cognis
  26   Corp.; Columbia Pictures; Conagra Brands, Inc.; Control Components Inc.; Coscol
  27   Petroleum Corporation; Cragar Industries; Crain Industries, Inc. Crain Western,
  28   Inc.; CRE Liquidation LLC; Crescent Transportation; Criton Corporation; Crockett

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   1   Container Corp.; Crowley Inc.; Crown Central LLC; Crown Central Petroleum
   2   Corporation; Crown Disposal Inc.; Crown Zellerbach Co.; CS&M, Inc.; Cummins
   3   Service & Sales Inc.; Cyclo Chemical Co.; Cytec Industries Inc.; Daiwa Corp.;
   4   Darnell Corp.; Darnell-Rose; Data Device Corp.; Data Products Corp.; Davis
   5   Investment Co.; Decratrend Corp.; Delaware Outsourcing Services Group, Inc.;
   6   Denso Products and Services Americas, Inc.; Desoto Inc.; Devon Energy Corp.;
   7   Diamond International Corp.; Diamond Plastics; Disposal Control Service, Inc.;
   8   Diversified Coating Systems, Inc.; Don Kott Ford; Douglas Furniture of California;
   9   Drackett Co.; Dresser Industries, Inc.; Durex Inc.; E.T.C. Carpet Mills, Ltd.; East
  10   Coast Oceanview, LLC; ElFab Corp.; Electrofilm Inc.; Electronic Materials Corp.;
  11   Electronic Reclamation Service; Electro-Etch Circuits Inc.; Elevate Textiles, Inc.;
  12   EME Corp.; Emerald Equities; Emery Industries Inc.; Emery Oleochemicals LLC;
  13   Employbridge LLC; Emrise Electronics Corp.; Energy Development Co. Inc.;
  14   Enliven Marketing Technologies Corporation; Environmental Control Systems Inc.;
  15   Epec Oil Co. Liquidating Trust; Evergreen Pacific Partners; Fairchild Holding
  16   Corp.; Fairchild Industries; Fairchild Semiconductor International, Inc.; Federal
  17   Express Corporation; Federal Reserve Bank; Fiberite West Coast Corp.; Firestone
  18   Tire & Rubber Co.; Fletcher Oil & Refining Co.; Flight Accessory Service;
  19   Flowserve Corporation; Fotomat Labs Inc.; Flying Tigers Line; FORCO
  20   Liquidation Trust; Franciscan Ceramics Inc.; Frazee Industries; Freeport-McMoran
  21   Inc.; Friction Inc.; Friction Materials Corp.; FMC Corporation; Ford Aerospace and
  22   Communications Corp.; Fort James LLC; Foster-Forbes Glass Co.; Frontier
  23   California, Inc.; G.W.A. Inc.; Gates Admiral; GATX; GATX Corp.; GATX
  24   Terminals Corp.; GE Betz, Inc.; General Battery Corp.; General Mills, Inc.; General
  25   Telephone Co.; Genstar Building Materials Co.; Genstar Roofing Products
  26   Company, Inc.; Georgia-Pacific LLC; Gerald California LLC; Gerald Metals, Inc.;
  27   Glass Containers Corp.; Global Tube Corporation; Gold Pack Meat Co.; Gray
  28   Truck Lines; Greer Hydraulics Inc.; Grupo Mexico SAB de CV; Guaranteed

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   1   Products Inc.; Hallmark Circuits Inc.; Halstead Enterprises; Handy & Harman;
   2   Harsco Corporation; Hawker Pacific Aerospace; Heinz Foods; Heidelberg
   3   Materials US, Inc.; Heist Maintenance Services Inc.; Henry Company LLC; Henry
   4   Soss & Co. Inc.; Herco Technology Corp.; Heru Industries, Inc.; Hess Corporation;
   5   Hexcel Corporation; Hill Brothers Chemical Co.; Hillcrest Beverly Oil Corp.; Hi-
   6   Shear Corp.; Hoffman Electronics; Hollytex Carpet Mills, Inc.; Howmet Aerospace
   7   Inc.; Hoya Corporation USA; HR Textron Inc.; HTW Industries Inc.; Humko
   8   Products; Huntington/Pacific Ceramics, Inc.; Husqvarna Construction Products
   9   North America, Inc.; Hutchinson Aerospace & Industry, Inc.; ICN Pharmaceuticals;
  10   ICX Industries, Inc.; ICX National, Inc.; Imco Services; IMI Critical Engineering
  11   LLC; Industrial Circuits; Industrial Insulations Incorporated; Industrial Tectonics
  12   Bearings Corporation; Inland Container Corp.; Inland Paperboard and Packaging,
  13   Inc.; International Polymer Corp.; I.T. Corp.; ITT LLC; J.C. Inc.; JCI
  14   Environmental Services; JCX; Jeld-Wen, Inc.; Jersey Maid Milk Products Inc.;
  15   Johnson Controls Inc.; Johnston Pump Co.; Jonathan Manufacturing Corp.; Joslyn
  16   Manufacturing & Supply Co.; Joslyn Manufacturing Company, LLC; Kaiser
  17   Rollmet Inc.; Kaynar Manufacturing Co.; Kelly Services, Inc.; Kerr-McGee
  18   Chemical Worldwide LLC; Keuffel & Esser Co.; Kinder Morgan Energy Partners,
  19   L.P.; Knudsen Corp.; Koch Asphalt Co. Oil; Konica Photo Service U.S.A., Inc.;
  20   Korbel Capital LLC; Kraft Heinz Foods Company; Krazy Glue Inc.; Lanxess
  21   Corporation; Liquid Waste Management; Lisi Aerospace North America, Inc.;
  22   Lockhart Industries; Long Beach Fabricators Inc.; Lonza Inc.; Los Angeles Gauge
  23   Co.; Los Angeles Plating Co.; Lucky Stores Inc.; Lumidor Manufacturing Co.; M-I
  24   L.L.C. aka and/or dba M-I Swaco; Macdermid Printing Solutions; Mack Trucks
  25   Inc.; Maersk Line, Limited (MLL); Manhattan Beach Holding Corp.; Marco
  26   Chemical Co.; Marten Management Co.; Masco Corporation; Mazda Motor of
  27   America, Inc.; Mazda North America; MCA Laboratories; McCulloch Corp.;
  28   McKay Chemical Co.; Mead Johnson & Company; Merchants Metals LLC;

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   1   Mercury Aerospace Inc.; Mercury Aerospace Fasteners; Merel Co. Inc.; Metal Box
   2   Can; MGF Industries; Mission Systems Davenport Inc.; Monogram/Peacock
   3   Manufacturing; Mr. Gasket Company; MRC Holdings, Inc.; Narco Chemical;
   4   Narco Corporation; Narmco Materials Inc.; NavCom Defense Electronics, Inc.;
   5   NEC Liquidation Corp.; New Bristol Farms, Inc.; Newell Brands Inc.; New
   6   Fashion Cleaners; Nippondenso of Los Angeles; North American Car Corp.; North
   7   American Environmental; Northrop Pacific; Norwest Equity Partners; Novartis
   8   Corp.; Old Quaker Paint Co.; Orange County Sanitation District; Oryx Energy
   9   Company; Pacific Anchor Chemical Corp.; Pacific Intermountain Express; Pacific
  10   Southwest Airlines; Packaging Corp. of America; Pactiv LLC; Paint & Coatings
  11   Corp.; Panel Air Corp.; Parsons Corporation; Pauley Petroleum Co.; PCC Rollmet,
  12   Inc.; Peairs Engineers; Peat Manufacturing Co.; Penske Logistics Corp.; Per-Olof
  13   Loof Family Foundation, Inc.; Pervo International, Inc.; Pervo Paint Company;
  14   Petro Lewis Corp.; PGP Industries Inc.; Pioneer Electronics (USA) Inc.; Pillsbury
  15   Co.; PRC–DeSoto International Inc.; Pre Delivery Service; Precision Castparts
  16   Corp.; Presstek, LLC; Price Pfister nka Pfister; Printed Circuits, Inc.; Products
  17   Research & Chemical Corp.; Proto Tool; Pure Source LLC; Purex Corp.; Purex
  18   Industries, Inc.; Qarbon Aerospace Inc.; Ralph M. Parsons Co.; RB&W Corp.;
  19   Redken Laboratories Inc.; Register Properties Inc.; Reisner Metals; Replacement
  20   Parts Manufacturing; Rexam Beverage Can Company; Richardson & Holland;
  21   Ricoh Electronics, Inc.; Ricoh Printing Systems America Inc.; Rio Tinto Alcan
  22   Inc.; Riverside Cement Co.; Roberts Manufacturing Co.; Roller Bearing Company
  23   of America, Inc.; Royal Aluminum Co.; Russell Burdsall & Ward Inc.; Ryder
  24   System, Inc.; S.C. Johnson & Son, Inc.; Safeway Stores Inc.; Safran Seats USA
  25   LLC; San Diego Pipe Line Co.; San Fernando Laboratories; Sandia Metal Process,
  26   Inc.; Sargent Fletcher Inc.; Sargent Industries; Schlumberger, Ltd.; Schlumberger
  27   N.V.; Sea Land Service Inc.; SemGroup Corporation; Service Chemical Co.;
  28   Shuwa Investments Corp.; Sierra Pacific Container Corp.; Smith & Co.; Somacis

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   1   Inc.; Sony Pictures Entertainment Inc.; South West Forest Products; Southern
   2   California Chemical; Southern Pacific Pipe Lines, Inc.; Southwest Petro Chemical;
   3   Southwest Steel Rolling Mills; Southwestern Engineering; Standard Brands Paint
   4   Co. Inc.; Standard Industrial Towel & Uniform; Standard Industries Holdings, Inc.;
   5   Standard Motor Products, Inc.; Stanley Black & Decker, Inc.; Structural Composite
   6   Industries; Sun Exploration; Sun Capital Partners, Inc.; Sweco, Inc.; T.P. Industrial
   7   Inc.; TDY Industries, LLC; Tech-Etch, Inc.; Telair US LLC; Tenneco Inc.;
   8   Tenneco Oil Co.; TFI International Inc.; The Marmon Group LLC; The Save Mart
   9   Companies, LLC; The Shaw Group; The Termo Company; Thompson Industries;
  10   Thompson Drilling; Thorpe Insulation Co.; Times Mirror Press; Tooley & Co. Inc.;
  11   Toppan Printing Company (America), Inc.; Toyota Motor Manufacturing USA;
  12   Trabon Realty Corp.; Trammel Crow Company; Transequip Pacific Inc.; TRE
  13   Corp.; Tribune Publishing Company; TriMas Corporation; Triumph Group
  14   Operations; Triumph Thermal Systems, LLC; Trizec Properties; Trojan Battery
  15   Co.; TRZ Holdings IV LLC; U.S. Borax & Chemical Corp.; U.S. Borax, Inc.;
  16   Truck Transport; U.S. Brass Division; U.S. Filters; U.S. Reduction Co.; Ultramar
  17   Inc.; UNFI Grocers Distribution, Inc.; United Coatings Inc.; USG Corporation;
  18   Valco; Valco Automotive Products; Valentec International Corp.; Valero Energy
  19   Corporation; Van De Kamp; Varco International; Veolia Environmental Services
  20   North America, LLC; Verizon New York Inc.; Vest, Inc.; VF Corporation; Voi
  21   Shan; Vons Companies Inc.; Vought Aircraft Industries Inc.; W. Smith Co.; W.
  22   Smith Co. Container Reconditioning; W.L. Chapman Co.; Weber Aircraft; Wells
  23   Fargo Rail Corporation; Wells Marine Inc.; Weslock Corp.; West Valley Toyota;
  24   Western Kraft Corp.; Western Lithograph; Western Synthetic Felt Co.; Westminster
  25   Ceramics Inc.; Whico Machine, Inc.; Whittaker Corp.; Wiretech, Inc.;
  26   Windowmaster Products; Witco Corporation; Woodward HRT, Inc.; Wyman-
  27   Gordon Company; Xtra Energy; Yoplait USA; Zimmers Truck Stop; and Does 1-
  28   10.

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   1         65.    According to historical BKK Corp. records, Defendant A. B. Dick Co.
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Defendant A. B. Dick Co. generated and/or
   4   arranged for its disposal at the BKK Class I Facility. To date, Defendant A. B.
   5   Dick Co. has not incurred any response costs at the BKK Class I Facility nor has it
   6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
   7   Facility.
   8         66.    According to historical BKK Corp. records, Defendant Aamco
   9   Transmissions contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Defendant Aamco
  11   Transmissions generated and/or arranged for its disposal at the BKK Class I
  12   Facility. To date, Defendant Aamco Transmissions has not incurred any response
  13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
  14   incurred by the Plaintiffs at the BKK Class I Facility.
  15         67.    Upon information and belief, Defendant AAR Corp. is the successor to
  16   Brooks & Perkins Brownline Division and/or otherwise liable for manifested waste
  17   that was contributed to the BKK Class I Facility by Brooks & Perkins Brownline
  18   Division. According to historical BKK Corp. records, Brooks & Perkins Brownline
  19   Division contributed manifested waste to the BKK Class I Facility. This manifested
  20   waste contained Hazardous Substances that Brooks & Perkins Brownline Division
  21   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  22   Defendant AAR Corp. has not incurred any response costs at the BKK Class I
  23   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  24   the BKK Class I Facility.
  25         68.    According to historical BKK Corp. records, Defendant Abbott Power
  26   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
  27   waste contained Hazardous Substances that Defendant Abbott Power Corp.
  28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,

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   1   Defendant Abbott Power Corp. has not incurred any response costs at the BKK
   2   Class I Facility nor has it paid its fair share of response costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         69.    According to historical BKK Corp. records, Defendant Ace Industries
   5   contributed manifested waste to the BKK Class I Facility. This manifested waste
   6   contained Hazardous Substances that Defendant Ace Industries generated and/or
   7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ace
   8   Industries has not incurred any response costs at the BKK Class I Facility nor has it
   9   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  10   Facility.
  11         70.    Upon information and belief, Defendant ACH Food Companies, Inc. is
  12   the successor to Humko Products and/or otherwise liable for manifested waste that
  13   was contributed to the BKK Class I Facility by Humko Products. According to
  14   historical BKK Corp. records, Humko Products contributed manifested waste to the
  15   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  16   Humko Products generated and/or arranged for its disposal at the BKK Class I
  17   Facility. To date, Defendant ACH Food Companies, Inc. has not incurred any
  18   response costs at the BKK Class I Facility nor has it paid its fair share of response
  19   costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         71.    According to historical BKK Corp. records, Defendant Advanced
  21   Coatings Inc. (previously identified in this action and the related action as
  22   Advanced Coating Inc.) contributed manifested waste to the BKK Class I Facility.
  23   This manifested waste contained Hazardous Substances that Defendant Advanced
  24   Coatings Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  25   To date, Defendant Advanced Coatings Inc. has not incurred any response costs at
  26   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  27   the Plaintiffs at the BKK Class I Facility.
  28         72.    According to historical BKK Corp. records, Defendant Aerosol

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   1   Services Co. Inc. contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Aerosol Services
   3   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
   4   date, Defendant Aerosol Services Co. Inc. has not incurred any response costs at the
   5   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
   6   Plaintiffs at the BKK Class I Facility.
   7         73.    According to historical BKK Corp. records, Defendant Air Industries
   8   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
   9   waste contained Hazardous Substances that Defendant Air Industries Corp.
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   Defendant Air Industries Corp. has not incurred any response costs at the BKK
  12   Class I Facility nor has it paid its fair share of response costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         74.    Upon information and belief, Defendant Air Liquide America LP is the
  15   successor to Big Three Industries Inc. and/or otherwise liable for manifested waste
  16   that was contributed to the BKK Class I Facility by Big Three Industries Inc.
  17   According to historical BKK Corp. records, Big Three Industries Inc. contributed
  18   manifested waste to the BKK Class I Facility. This manifested waste contained
  19   Hazardous Substances that Big Three Industries Inc. generated and/or arranged for
  20   its disposal at the BKK Class I Facility. To date, Defendant Air Liquide America
  21   LP has not incurred any response costs at the BKK Class I Facility nor has it paid
  22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         75.    Upon information and belief, Defendant Airport Consult Group LLC is
  24   the successor to Cal Style Furniture Manufacturing Co. and/or otherwise liable for
  25   manifested waste that was contributed to the BKK Class I Facility by Cal Style
  26   Furniture Manufacturing Co. According to historical BKK Corp. records, Cal Style
  27   Furniture Manufacturing Co. contributed manifested waste to the BKK Class I
  28   Facility. This manifested waste contained Hazardous Substances that Cal Style

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   1   Furniture Manufacturing Co. generated and/or arranged for its disposal at the BKK
   2   Class I Facility. To date, Defendant Airport Consult Group LLC has not incurred
   3   any response costs at the BKK Class I Facility nor has it paid its fair share of
   4   response costs incurred by the Plaintiffs at the BKK Class I Facility.
   5         76.    Upon information and belief, Defendant Albertsons Companies, Inc. is
   6   the successor to Albertson’s Inc. and/or Lucky Stores Inc. and/or otherwise liable
   7   for manifested waste that was contributed to the BKK Class I Facility by
   8   Albertson’s Inc. and/or Lucky Stores Inc. According to historical BKK Corp.
   9   records, Albertson’s Inc. and Lucky Stores Inc. contributed manifested waste to the
  10   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  11   Albertson’s Inc. and Lucky Stores Inc. generated and/or arranged for its disposal at
  12   the BKK Class I Facility. To date, Defendant Albertsons Companies, Inc. has not
  13   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  14   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         77.    According to historical BKK Corp. records, Defendant Alco Cad
  16   Nickel Plating Corp. contributed manifested waste to the BKK Class I Facility.
  17   This manifested waste contained Hazardous Substances that Defendant Alco Cad
  18   Nickel Plating Corp. generated and/or arranged for its disposal at the BKK Class I
  19   Facility. To date, Defendant Alco Cad Nickel Plating Corp. has not incurred any
  20   response costs at the BKK Class I Facility nor has it paid its fair share of response
  21   costs incurred by the Plaintiffs at the BKK Class I Facility.
  22         78.    Upon information and belief, Defendant Alco Plating Corporation
  23   Liquidating Trust is the successor to Alco Cad Nickel Plating Corp. and/or
  24   otherwise liable for manifested waste that was contributed to the BKK Class I
  25   Facility by Alco Cad Nickel Plating Corp. According to historical BKK Corp.
  26   records, Alco Cad Nickel Plating Corp. contributed manifested waste to the BKK
  27   Class I Facility. This manifested waste contained Hazardous Substances that Alco
  28   Cad Nickel Plating Corp. generated and/or arranged for its disposal at the BKK

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   1   Class I Facility. To date, Defendant Alco Plating Corporation Liquidating Trust has
   2   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
   3   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         79.    According to historical BKK Corp. records, Defendant Alco Well
   5   Service Inc. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant Alco Well
   7   Service Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
   8   To date, Defendant Alco Well Service Inc. has not incurred any response costs at
   9   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  10   the Plaintiffs at the BKK Class I Facility.
  11         80.    Upon information and belief, Defendant Alkid Corporation is the
  12   successor to Peat Manufacturing Co. and/or Cragar Industries and/or otherwise
  13   liable for manifested waste that was contributed to the BKK Class I Facility by Peat
  14   Manufacturing Co. and/or Cragar Industries. According to historical BKK Corp.
  15   records, Peat Manufacturing Co. and Cragar Industries contributed manifested
  16   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  17   Substances that Peat Manufacturing Co. and Cragar Industries generated and/or
  18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Alkid
  19   Corporation has not incurred any response costs at the BKK Class I Facility nor has
  20   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  21   Facility.
  22         81.    Upon information and belief, Defendant Alpha Technologies Group,
  23   Inc. is the successor to Lockhart Industries and/or otherwise liable for manifested
  24   waste that was contributed to the BKK Class I Facility by Lockhart Industries.
  25   According to historical BKK Corp. records, Lockhart Industries contributed
  26   manifested waste to the BKK Class I Facility. This manifested waste contained
  27   Hazardous Substances that Lockhart Industries generated and/or arranged for its
  28   disposal at the BKK Class I Facility. To date, Defendant Alpha Technologies

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   1   Group, Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its
   2   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         82.    According to historical BKK Corp. records, Defendant American
   4   Appliance Manufacturing Corp. contributed manifested waste to the BKK Class I
   5   Facility. This manifested waste contained Hazardous Substances that Defendant
   6   American Appliance Manufacturing Corp. generated and/or arranged for its
   7   disposal at the BKK Class I Facility. To date, Defendant American Appliance
   8   Manufacturing Corp. has not incurred any response costs at the BKK Class I
   9   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  10   the BKK Class I Facility.
  11         83.    According to historical BKK Corp. records, Defendant American Can
  12   Company contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant American Can
  14   Company generated and/or arranged for its disposal at the BKK Class I Facility.
  15   To date, Defendant American Can Company has not incurred any response costs at
  16   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  17   the Plaintiffs at the BKK Class I Facility.
  18         84.    According to historical BKK Corp. records, Defendant American
  19   Chemical & Refining contributed manifested waste to the BKK Class I Facility.
  20   This manifested waste contained Hazardous Substances that Defendant American
  21   Chemical & Refining generated and/or arranged for its disposal at the BKK Class I
  22   Facility. To date, Defendant American Chemical & Refining has not incurred any
  23   response costs at the BKK Class I Facility nor has it paid its fair share of response
  24   costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         85.    According to historical BKK Corp. records, Defendant American
  26   Pacific International Inc. contributed manifested waste to the BKK Class I Facility.
  27   This manifested waste contained Hazardous Substances that Defendant American
  28   Pacific International Inc. generated and/or arranged for its disposal at the BKK

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   1   Class I Facility. To date, Defendant American Pacific International Inc. has not
   2   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
   3   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         86.    Upon information and belief, Defendant American Promotional
   5   Events, Inc. – West is the successor to Apollo Manufacturing Co. and/or otherwise
   6   liable for manifested waste that was contributed to the BKK Class I Facility by
   7   Apollo Manufacturing Co. According to historical BKK Corp. records, Apollo
   8   Manufacturing Co. contributed manifested waste to the BKK Class I facility. This
   9   manifested waste contained Hazardous Substances that Apollo Manufacturing Co.
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   American Promotional Events, Inc. – West has not incurred any response costs at
  12   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  13   the Plaintiffs at the BKK Class I Facility.
  14         87.    According to historical BKK Corp. records, Defendant American
  15   Scientific Products contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant American
  17   Scientific Products generated and/or arranged for its disposal at the BKK Class I
  18   Facility. To date, Defendant American Scientific Products has not incurred any
  19   response costs at the BKK Class I Facility nor has it paid its fair share of response
  20   costs incurred by the Plaintiffs at the BKK Class I Facility.
  21         88.    According to historical BKK Corp. records, Defendant American Tool
  22   & Engineering Corp. contributed manifested waste to the BKK Class I Facility.
  23   This manifested waste contained Hazardous Substances that Defendant American
  24   Tool & Engineering Corp. generated and/or arranged for its disposal at the BKK
  25   Class I Facility. To date, Defendant American Tool & Engineering Corp. has not
  26   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  27   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  28         89.    Upon information and belief, Defendant Ameripride Services, LLC is

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   1   the successor to Gates Admiral and/or New Fashion Cleaners and/or otherwise
   2   liable for manifested waste that was contributed to the BKK Class I Facility by
   3   Gates Admiral and/or New Fashion Cleaners. According to historical BKK Corp.
   4   records, Gates Admiral and New Fashion Cleaners contributed manifested waste to
   5   the BKK Class I facility. This manifested waste contained Hazardous Substances
   6   that Gates Admiral and New Fashion Cleaners generated and/or arranged for its
   7   disposal at the BKK Class I Facility. To date, Ameripride Services, LLC has not
   8   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
   9   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  10         90.    According to historical BKK Corp. records, Defendant AMF
  11   Tubescope Inc. contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant AMF Tubescope
  13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  14   Defendant AMF Tubescope Inc. has not incurred any response costs at the BKK
  15   Class I Facility nor has it paid its fair share of response costs incurred by the
  16   Plaintiffs at the BKK Class I Facility.
  17         91.    According to historical BKK Corp. records, Defendant Anchor Post
  18   Products Inc. contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Defendant Anchor Post
  20   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  21   To date, Defendant Anchor Post Products Inc. has not incurred any response costs
  22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
  23   by the Plaintiffs at the BKK Class I Facility.
  24         92.    According to historical BKK Corp. records, Defendant Anco Metal
  25   Improvement Co. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant Anco Metal
  27   Improvement Co. generated and/or arranged for its disposal at the BKK Class I
  28   Facility. To date, Defendant Anco Metal Improvement Co. has not incurred any

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   1   response costs at the BKK Class I Facility nor has it paid its fair share of response
   2   costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         93.    According to historical BKK Corp. records, Defendant Andrew
   4   California Corp. contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Defendant Andrew
   6   California Corp. generated and/or arranged for its disposal at the BKK Class I
   7   Facility. To date, Defendant Andrew California Corp. has not incurred any
   8   response costs at the BKK Class I Facility nor has it paid its fair share of response
   9   costs incurred by the Plaintiffs at the BKK Class I Facility.
  10         94.    Upon information and belief, Defendant Angelica Textile Services Inc.
  11   is the successor to Blue Seal Linen Supply and/or otherwise liable for manifested
  12   waste that was contributed to the BKK Class I Facility by Blue Seal Linen Supply.
  13   According to historical BKK Corp. records, Blue Seal Linen Supply contributed
  14   manifested waste to the BKK Class I Facility. This manifested waste contained
  15   Hazardous Substances that Blue Seal Linen Supply generated and/or arranged for
  16   its disposal at the BKK Class I Facility. To date, Defendant Angelica Textile
  17   Services Inc. has not incurred any costs at the BKK Class I Facility nor has it paid
  18   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         95.    According to historical BKK Corp. records, Defendant Anodyne Inc.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant Anodyne Inc. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Anodyne
  23   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
  24   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         96.    According to historical BKK Corp. records, Defendant Apex
  26   International Alloys contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Apex
  28   International Alloys generated and/or arranged for its disposal at the BKK Class I

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   1   Facility. To date, Defendant Apex International Alloys has not incurred any
   2   response costs at the BKK Class I Facility nor has it paid its fair share of response
   3   costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         97.    According to historical BKK Corp. records, Defendant Apollo
   5   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant Apollo
   7   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
   8   Facility. To date, Defendant Apollo Manufacturing Co. has not incurred any
   9   response costs at the BKK Class I Facility nor has it paid its fair share of response
  10   costs incurred by the Plaintiffs at the BKK Class I Facility.
  11         98.    According to historical BKK Corp. records, Defendant Applied
  12   Magnetics Corp. contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Applied
  14   Magnetics Corp. generated and/or arranged for its disposal at the BKK Class I
  15   Facility. To date, Defendant Applied Magnetics Corp. has not incurred any
  16   response costs at the BKK Class I Facility nor has it paid its fair share of response
  17   costs incurred by the Plaintiffs at the BKK Class I Facility.
  18         99.    Upon information and belief, Defendant Arakelian Enterprises, Inc. is
  19   the successor to Crown Disposal Inc. and/or is otherwise liable for manifested
  20   waste that was contributed to the BKK Class I Facility by Crown Disposal Inc.
  21   According to historical BKK Corp. records, Crown Disposal Inc. contributed
  22   manifested waste to the BKK Class I Facility. This manifested waste contained
  23   Hazardous Substances that Crown Disposal Inc. generated and/or arranged for its
  24   disposal at the BKK Class I Facility. To date, Defendant Arakelian Enterprises, Inc.
  25   has not incurred any response costs at the BKK Class I Facility nor has it paid its
  26   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  27         100. Upon information and belief, Defendant Ardagh Group S.A. is the
  28   successor to Saint-Gobain and/or Foster-Forbes Glass Co. and/or is otherwise liable

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   1   for manifested waste that was contributed to the BKK Class I Facility by Saint-
   2   Gobain and/or Foster-Forbes Glass Co. According to historical BKK Corp.
   3   records, both Saint-Gobain and Foster-Forbes Glass Co. contributed manifested
   4   waste to the BKK Class I Facility. This manifested waste contained Hazardous
   5   Substances that Saint-Gobain and Foster-Forbes Glass Co. each generated and/or
   6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ardagh
   7   Group S.A. has not incurred any response costs at the BKK Class I Facility nor has
   8   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
   9   Facility.
  10         101. According to historical BKK Corp. records, Defendant Argo
  11   Petroleum Corp. contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant Argo Petroleum
  13   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  14   date, Defendant Argo Petroleum Corp. has not incurred any response costs at the
  15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  16   Plaintiffs at the BKK Class I Facility.
  17         102. According to historical BKK Corp. records, Defendant Arrowhead
  18   Mountain Spring Water Company contributed manifested waste to the BKK Class I
  19   Facility. This manifested waste contained Hazardous Substances that Defendant
  20   Arrowhead Mountain Spring Water Company generated and/or arranged for its
  21   disposal at the BKK Class I Facility. To date, Defendant Arrowhead Mountain
  22   Spring Water Company has not incurred any response costs at the BKK Class I
  23   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  24   the BKK Class I Facility.
  25         103. According to historical BKK Corp. records, Defendant Arnold
  26   Circuits, Inc. contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Arnold Circuits,
  28   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,

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   1   Defendant Arnold Circuits, Inc. has not incurred any response costs at the BKK
   2   Class I Facility nor has it paid its fair share of response costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         104. Upon information and belief, Defendant Arnold Circuits, Inc. is the
   5   successor to Arnold Electronics Inc. and/or otherwise liable for manifested waste
   6   that was contributed to the BKK Class I Facility by Arnold Electronics Inc.
   7   According to historical BKK Corp. records, Arnold Electronics Inc. contributed
   8   manifested waste to the BKK Class I Facility. This manifested waste contained
   9   Hazardous Substances that Arnold Electronics Inc. generated and/or arranged for its
  10   disposal at the BKK Class I Facility. To date, Defendant Arnold Circuits, Inc. has
  11   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
  12   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  13         105. According to historical BKK Corp. records, Defendant Arnold
  14   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
  15   manifested waste contained Hazardous Substances that Defendant Arnold
  16   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
  17   Facility. To date, Defendant Arnold Electronics Inc. has not incurred any response
  18   costs at the BKK Class I Facility nor has it paid its fair share of response costs
  19   incurred by the Plaintiffs at the BKK Class I Facility.
  20         106. According to historical BKK Corp. records, Defendant Arnold
  21   Engineering Co. contributed manifested waste to the BKK Class I Facility. This
  22   manifested waste contained Hazardous Substances that Defendant Arnold
  23   Engineering Co. generated and/or arranged for its disposal at the BKK Class I
  24   Facility. To date, Defendant Arnold Engineering Co. has not incurred any response
  25   costs at the BKK Class I Facility nor has it paid its fair share of response costs
  26   incurred by the Plaintiffs at the BKK Class I Facility.
  27         107. Upon information and belief, Defendant Arnold Engineering Co. is the
  28   successor to Arnold Electronics Inc. and/or otherwise liable for manifested waste

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   1   that was contributed to the BKK Class I Facility by Arnold Electronics Inc.
   2   According to historical BKK Corp. records, Arnold Electronics Inc. contributed
   3   manifested waste to the BKK Class I Facility. This manifested waste contained
   4   Hazardous Substances that Arnold Electronics Inc. generated and/or arranged for its
   5   disposal at the BKK Class I Facility. To date, Defendant Arnold Engineering Co.
   6   has not incurred any response costs at the BKK Class I Facility nor has it paid its
   7   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   8         108. According to historical BKK Corp. records, Defendant Atlas
   9   Fabricators contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Defendant Atlas Fabricators
  11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  12   Defendant Atlas Fabricators has not incurred any response costs at the BKK Class I
  13   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  14   the BKK Class I Facility.
  15         109. Upon information and belief, Defendant Atomica Corp. is the
  16   successor to Applied Magnetics Corp. and/or otherwise liable for manifested waste
  17   that was contributed to the BKK Class I Facility by Applied Magnetics Corp.
  18   According to historical BKK Corp. records, Applied Magnetics Corp. contributed
  19   manifested waste to the BKK Class I Facility. This manifested waste contained
  20   Hazardous Substances that Applied Magnetics Corp. generated and/or arranged for
  21   its disposal at the BKK Class I Facility. To date, Defendant Atomica Corp. has not
  22   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  23   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         110. Upon information and belief, Defendant Axel Johnson, Inc. is the
  25   successor to Industrial Tectonics Bearings Corporation (previously identified in this
  26   action and the related action as Industrial Tectonics Bearings) and/or otherwise
  27   liable for manifested waste that was contributed to the BKK Class I Facility by
  28   Industrial Tectonics Bearings Corporation. According to historical BKK Corp.

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   1   records, Industrial Tectonics Bearings Corporation contributed manifested waste to
   2   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   3   that Industrial Tectonics Bearings Corporation generated and/or arranged for its
   4   disposal at the BKK Class I Facility. To date, Defendant Axel Johnson, Inc. has not
   5   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
   6   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         111. Upon information and belief, Defendant AZON Corporation is the
   8   successor to Keuffel & Esser Co. and/or otherwise liable for manifested waste that
   9   was contributed to the BKK Class I Facility by Keuffel & Esser Co. According to
  10   historical BKK Corp. records, Keuffel & Esser Co. contributed manifested waste to
  11   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  12   that Keuffel & Esser Co. generated and/or arranged for its disposal at the BKK
  13   Class I Facility. To date, Defendant AZON Corporation has not incurred any
  14   response costs at the BKK Class I Facility nor has it paid its fair share of response
  15   costs incurred by the Plaintiffs at the BKK Class I Facility.
  16         112. Upon information and belief, Defendant B. Jadow and Sons, Inc. is the
  17   successor to Krazy Glue Inc. and/or otherwise liable for manifested waste that was
  18   contributed to the BKK Class I Facility by Krazy Glue Inc. According to historical
  19   BKK Corp. records, Krazy Glue Inc. contributed manifested waste to the BKK
  20   Class I Facility. This manifested waste contained Hazardous Substances that Krazy
  21   Glue Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
  22   date, Defendant B. Jadow and Sons, Inc. has not incurred any response costs at the
  23   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  24   Plaintiffs at the BKK Class I Facility.
  25         113. According to historical BKK Corp. records, Defendant B.P. John
  26   Furniture Co. contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant B.P. John
  28   Furniture Co. generated and/or arranged for its disposal at the BKK Class I Facility.

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   1   To date, Defendant B.P. John Furniture Co. has not incurred any response costs at
   2   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
   3   the Plaintiffs at the BKK Class I Facility.
   4         114. Upon information and belief, Defendant BAE Systems San Diego Ship
   5   Repair Inc. is the successor to Southwest Marine, Inc. and/or otherwise liable for
   6   manifested waste that was contributed to the BKK Class I Facility by Southwest
   7   Marine, Inc. According to historical BKK Corp. records, Southwest Marine, Inc.
   8   contributed manifested waste to the BKK Class I Facility. This manifested waste
   9   contained Hazardous Substances that Southwest Marine, Inc. generated and/or
  10   arranged for its disposal at the BKK Class I Facility. To date, Defendant BAE
  11   Systems San Diego Ship Repair Inc. has not incurred any response costs at the
  12   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         115. According to historical BKK Corp. records, Defendant Balser
  15   Trucking contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Balser Trucking
  17   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  18   Defendant Balser Trucking has not incurred any costs at the BKK Class I Facility
  19   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  20   Facility.
  21         116. Upon information and belief, Defendant Bausch Health Americas, Inc.
  22   is the successor to ICN Pharmaceuticals and/or otherwise liable for manifested
  23   waste that was contributed to the BKK Class I Facility by ICN Pharmaceuticals.
  24   According to historical BKK Corp. records, ICN Pharmaceuticals contributed
  25   manifested waste to the BKK Class I Facility. This manifested waste contained
  26   Hazardous Substances that ICN Pharmaceuticals generated and/or arranged for its
  27   disposal at the BKK Class I Facility. To date, Defendant Bausch Health Americas,
  28   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid

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   1   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         117. Upon information and belief, Defendant Baxter International Inc. is the
   3   successor to American Scientific Products and/or otherwise liable for manifested
   4   waste that was contributed to the BKK Class I Facility by American Scientific
   5   Products. According to historical BKK Corp. records, American Scientific
   6   Products contributed manifested waste to the BKK Class I Facility. This manifested
   7   waste contained Hazardous Substances that American Scientific Products generated
   8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   9   Baxter International Inc. has not incurred any response costs at the BKK Class I
  10   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  11   the BKK Class I Facility.
  12         118. According to historical BKK Corp. records, Defendant Beatrice Hunt
  13   Wesson Inc. contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Defendant Beatrice Hunt
  15   Wesson Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  16   To date, Defendant Beatrice Hunt Wesson Inc. has not incurred any response costs
  17   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
  18   by the Plaintiffs at the BKK Class I Facility.
  19         119. According to historical BKK Corp. records, Defendant Beazer East,
  20   Inc. and/or its predecessor Koppers Co. Inc. contributed manifested waste to the
  21   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  22   Defendant Beazer East and/or its predecessor Koppers Co. Inc. generated and/or
  23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Beazer
  24   East, Inc. has not incurred any response costs at the BKK Class I Facility nor has it
  25   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  26   Facility.
  27         120. According to historical BKK Corp. records, Defendant Beckman
  28   Coulter Inc. contributed manifested waste to the BKK Class I Facility. This

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   1   manifested waste contained Hazardous Substances that Defendant Beckman
   2   Coulter Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
   3   To date, Defendant Beckman Coulter Inc. has not incurred any response costs at the
   4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
   5   Plaintiffs at the BKK Class I Facility.
   6         121. According to historical BKK Corp. records, Defendant Becton,
   7   Dickinson and Company (either itself or via its division Digitran aka Digitran
   8   Company) contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Becton,
  10   Dickinson and Company (or its division Digitran aka Digitran Company) generated
  11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  12   Becton, Dickinson and Company has not incurred any response costs at the BKK
  13   Class I Facility nor has it paid its fair share of response costs incurred by the
  14   Plaintiffs at the BKK Class I Facility.
  15         122. Upon information and belief, Defendant Becton, Dickinson and
  16   Company is the successor to Digitran aka Digitran Company and/or otherwise
  17   liable for manifested waste that was contributed to the BKK Class I Facility by
  18   Digitran aka Digitran Company. According to historical BKK Corp. records,
  19   Digitran aka Digitran Company contributed manifested waste to the BKK Class I
  20   Facility. This manifested waste contained Hazardous Substances that Digitran aka
  21   Digitran Company generated and/or arranged for its disposal at the BKK Class I
  22   Facility. To date, Defendant Becton, Dickinson and Company has not incurred any
  23   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  24   the Plaintiffs at the BKK Class I Facility.
  25         123. According to historical BKK Corp. records, Defendant Bernard Epps
  26   & Co. contributed manifested waste to the BKK Class I Facility. This manifested
  27   waste contained Hazardous Substances that Defendant Bernard Epps & Co.
  28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,

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   1   Defendant Bernard Epps & Co. has not incurred any response costs at the BKK
   2   Class I Facility nor has it paid its fair share of response costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         124. According to historical BKK Corp. records, Defendant Bethlehem
   5   Steel Corp. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant Bethlehem Steel
   7   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
   8   date, Defendant Bethlehem Steel Corp. has not incurred any response costs at the
   9   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  10   Plaintiffs at the BKK Class I Facility.
  11         125. According to historical BKK Corp. records, Defendant Beverly Hills
  12   Oil Company contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Beverly Hills Oil
  14   Company generated and/or arranged for its disposal at the BKK Class I Facility.
  15   To date, Defendant Beverly Hills Oil Company has not incurred any response costs
  16   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
  17   by the Plaintiffs at the BKK Class I Facility.
  18         126. According to historical BKK Corp. records, Defendant BFI XV Realty
  19   Fund Ltd. contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant BFI XV Realty
  21   Fund Ltd. generated and/or arranged for its disposal at the BKK Class I Facility.
  22   To date, Defendant BFI XV Realty Fund Ltd. has not incurred any response costs at
  23   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  24   the Plaintiffs at the BKK Class I Facility.
  25         127. Upon information and belief, Defendant BI Technologies Corporation
  26   is the successor to Beckman Coulter Inc. and/or otherwise liable for manifested
  27   waste that was contributed to the BKK Class I Facility by Beckman Coulter Inc.
  28   According to historical BKK Corp. records, Beckman Coulter Inc. contributed

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   1   manifested waste to the BKK Class I Facility. This manifested waste contained
   2   Hazardous Substances that Beckman Coulter Inc. generated and/or arranged for its
   3   disposal at the BKK Class I Facility. To date, Defendant BI Technologies
   4   Corporation has not incurred any costs at the BKK Class I Facility nor has it paid
   5   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   6         128. According to historical BKK Corp. records, Defendant Big Three
   7   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
   8   manifested waste contained Hazardous Substances that Defendant Big Three
   9   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
  10   Facility. To date, Defendant Big Three Industries Inc. has not incurred any
  11   response costs at the BKK Class I Facility nor has it paid its fair share of response
  12   costs incurred by the Plaintiffs at the BKK Class I Facility.
  13         129. According to historical BKK Corp. records, Defendant Bingo Truck
  14   Stop contributed manifested waste to the BKK Class I Facility. This manifested
  15   waste contained Hazardous Substances that Defendant Bingo Truck Stop generated
  16   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  17   Bingo Truck Stop has not incurred any response costs at the BKK Class I Facility
  18   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         130. According to historical BKK Corp. records, Defendant Birtcher Pacific
  21   contributed manifested waste to the BKK Class I Facility. This manifested waste
  22   contained Hazardous Substances that Defendant Birtcher Pacific generated and/or
  23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Birtcher
  24   Pacific has not incurred any response costs at the BKK Class I Facility nor has it
  25   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  26   Facility.
  27         131. According to historical BKK Corp. records, Defendant Blue Seal
  28   Linen Supply contributed manifested waste to the BKK Class I Facility. This

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   1   manifested waste contained Hazardous Substances that Defendant Blue Seal Linen
   2   Supply generated and/or arranged for its disposal at the BKK Class I Facility. To
   3   date, Defendant Blue Seal Linen Supply has not incurred any response costs at the
   4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
   5   Plaintiffs at the BKK Class I Facility.
   6         132. Upon information and belief, Defendant Bostik, Inc. is the successor to
   7   R. & D. Latex Co. and/or otherwise liable for manifested waste that was
   8   contributed to the BKK Class I Facility by R. & D. Latex Co. According to
   9   historical BKK Corp. records, R. & D. Latex Co. contributed manifested waste to
  10   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  11   that R. & D. Latex Co. generated and/or arranged for its disposal at the BKK Class
  12   I Facility. To date, Defendant Bostik, Inc. has not incurred any response costs at the
  13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  14   Plaintiffs at the BKK Class I Facility.
  15         133. Upon information and belief, Defendant BPJ International, Inc. is the
  16   successor to B.P. John Furniture Co. and/or otherwise liable for manifested waste
  17   that was contributed to the BKK Class I Facility by B.P. John Furniture Co.
  18   According to historical BKK Corp. records, B.P. John Furniture Co. contributed
  19   manifested waste to the BKK Class I Facility. This manifested waste contained
  20   Hazardous Substances that B.P. John Furniture Co. generated and/or arranged for
  21   its disposal at the BKK Class I Facility. To date, Defendant BPJ International, Inc.
  22   has not incurred any response costs at the BKK Class I Facility nor has it paid its
  23   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         134. Upon information and belief, Defendant Bridgestone Americas, Inc. is
  25   the successor to Firestone Tire & Rubber Co. and/or otherwise liable for manifested
  26   waste that was contributed to the BKK Class I Facility by Firestone Tire & Rubber
  27   Co. According to historical BKK Corp. records, Firestone Tire & Rubber Co.
  28   contributed manifested waste to the BKK Class I Facility. This manifested waste

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   1   contained Hazardous Substances that Firestone Tire & Rubber Co. generated and/or
   2   arranged for its disposal at the BKK Class I Facility. To date, Defendant
   3   Bridgestone Americas, Inc. has not incurred any response costs at the BKK Class I
   4   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
   5   the BKK Class I Facility.
   6         135. According to historical BKK Corp. records, Defendant Brooks &
   7   Perkins Brownline Division contributed manifested waste to the BKK Class I
   8   Facility. This manifested waste contained Hazardous Substances that Defendant
   9   Brooks & Perkins Brownline Division generated and/or arranged for its disposal at
  10   the BKK Class I Facility. To date, Defendant Brooks & Perkins Brownline
  11   Division has not incurred any response costs at the BKK Class I Facility nor has it
  12   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  13   Facility.
  14         136. Upon information and belief, Defendant Bunge Global Markets, Inc. is
  15   the successor to Richardson & Holland and/or otherwise liable for manifested waste
  16   that was contributed to the BKK Class I Facility by Richardson & Holland.
  17   According to historical BKK Corp. records, Richardson & Holland contributed
  18   manifested waste to the BKK Class I Facility. This manifested waste contained
  19   Hazardous Substances that Richardson & Holland generated and/or arranged for its
  20   disposal at the BKK Class I Facility. To date, Defendant Bunge Global Markets,
  21   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  22   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         137. According to historical BKK Corp. records, Defendant Byron Jackson
  24   Pumps contributed manifested waste to the BKK Class I Facility. This manifested
  25   waste contained Hazardous Substances that Defendant Byron Jackson Pumps
  26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  27   Defendant Byron Jackson Pumps has not incurred any response costs at the BKK
  28   Class I Facility nor has it paid its fair share of response costs incurred by the

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   1   Plaintiffs at the BKK Class I Facility.
   2         138. According to historical BKK Corp. records, Defendant Cadet Uniform
   3   & Linen Supply Co. contributed manifested waste to the BKK Class I Facility.
   4   This manifested waste contained Hazardous Substances that Defendant Cadet
   5   Uniform & Linen Supply Co. generated and/or arranged for its disposal at the BKK
   6   Class I Facility. To date, Defendant Cadet Uniform & Linen Supply Co. has not
   7   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
   8   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   9         139. According to historical BKK Corp. records, Defendant Cal-Aurum
  10   Industries (previously identified in this action as Aurum Industries, Inc.)
  11   contributed manifested waste to the BKK Class I Facility. This manifested waste
  12   contained Hazardous Substances that Defendant Cal-Aurum Industries generated
  13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  14   Cal-Aurum Industries has not incurred any response costs at the BKK Class I
  15   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  16   the BKK Class I Facility.
  17         140. According to historical BKK Corp. records, Defendant Cal-Chem
  18   Cleaning Co., Inc. (previously identified in this action and the related action as Cal
  19   Chem Cleaning Co.) contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant Cal-Chem
  21   Cleaning Co., Inc. generated and/or arranged for its disposal at the BKK Class I
  22   Facility. To date, Defendant Cal-Chem Cleaning Co., Inc. has not incurred any
  23   response costs at the BKK Class I Facility nor has it paid Its fair share of response
  24   costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         141. According to historical BKK Corp. records, Defendant Cal Nev
  26   Pipeline Co. contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Cal Nev Pipeline
  28   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,

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   1   Defendant Cal Nev Pipeline Co. has not incurred any response costs at the BKK
   2   Class I Facility nor has it paid its fair share of response costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         142. According to historical BKK Corp. records, Defendant Cal Style
   5   Furniture Manufacturing Co. contributed manifested waste to the BKK Class I
   6   Facility. This manifested waste contained Hazardous Substances that Defendant Cal
   7   Style Furniture Manufacturing Co. generated and/or arranged for its disposal at the
   8   BKK Class I Facility. To date, Defendant Cal Style Furniture Manufacturing Co.
   9   has not incurred any response costs at the BKK Class I Facility nor has it paid its
  10   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  11         143. According to historical BKK Corp. records, Defendant Cali-Blok
  12   contributed manifested waste to the BKK Class I Facility. This manifested waste
  13   contained Hazardous Substances that Defendant Cali-Blok generated and/or
  14   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cali-Blok
  15   has not incurred any response costs at the BKK Class I Facility nor has it paid its
  16   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  17         144. According to historical BKK Corp. records, Defendant Calbiochem-
  18   Behring Corp. contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Defendant Calbiochem-
  20   Behring Corp. generated and/or arranged for its disposal at the BKK Class I
  21   Facility. To date, Defendant Calbiochem-Behring Corp. has not incurred any
  22   response costs at the BKK Class I Facility nor has it paid its fair share of response
  23   costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         145. According to historical BKK Corp. records, Defendant California
  25   Carpet Co. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant California Carpet
  27   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  28   Defendant California Carpet Co. has not incurred any response costs at the BKK

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   1   Class I Facility nor has it paid its fair share of response costs incurred by the
   2   Plaintiffs at the BKK Class I Facility.
   3         146. Upon information and belief, Defendant Calgon Carbon Corporation is
   4   the successor to Calgon Corporation and/or otherwise liable for manifested waste
   5   that was contributed to the BKK Class I Facility by Calgon Corporation.
   6   According to historical BKK Corp. records, Calgon Corporation contributed
   7   manifested waste to the BKK Class I Facility. This manifested waste contained
   8   Hazardous Substances that Calgon Corporation generated and/or arranged for its
   9   disposal at the BKK Class I Facility. To date, Defendant Calgon Carbon
  10   Corporation has not incurred any response costs at the BKK Class I Facility nor has
  11   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  12   Facility.
  13         147. According to historical BKK Corp. records, Defendant Calprotech Inc.
  14   contributed manifested waste to the BKK Class I Facility. This manifested waste
  15   contained Hazardous Substances that Defendant Calprotech Inc. generated and/or
  16   arranged for its disposal at the BKK Class I Facility. To date, Defendant Calprotech
  17   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
  18   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         148. Upon information and belief, Defendant Capital Parade USA, Inc. is
  20   the successor to Circuit One Div. of LH Research Inc. and/or otherwise liable for
  21   manifested waste that was contributed to the BKK Class I Facility by Circuit One
  22   Div. of LH Research Inc. According to historical BKK Corp. records, Circuit One
  23   Div. of LH Research Inc. contributed manifested waste to the BKK Class I Facility.
  24   This manifested waste contained Hazardous Substances that Circuit One Div. of LH
  25   Research Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  26   To date, Defendant Capital Parade USA, Inc. has not incurred any response costs at
  27   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  28   the Plaintiffs at the BKK Class I Facility.

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   1         149. According to historical BKK Corp. records, Defendant Cargill Inc.
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Defendant Cargill Inc. generated and/or
   4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cargill
   5   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
   6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         150. Upon information and belief, Defendant Castle & Cooke, Inc. is the
   8   successor to Westminster Ceramics Inc. and/or otherwise liable for manifested
   9   waste that was contributed to the BKK Class I Facility by Westminster Ceramics
  10   Inc. According to historical BKK Corp. records, Westminster Ceramics Inc.
  11   contributed manifested waste to the BKK Class I Facility. This manifested waste
  12   contained Hazardous Substances that Westminster Ceramics Inc. generated and/or
  13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Castle &
  14   Cooke, Inc. Inc. has not incurred any costs at the BKK Class I Facility nor has it
  15   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  16         151. Upon information and belief, Defendant Celanese Corporation is the
  17   successor to Calbiochem-Behring Corp. and/or otherwise liable for manifested
  18   waste that was contributed to the BKK Class I Facility by Calbiochem-Behring
  19   Corp. According to historical BKK Corp. records, Calbiochem-Behring Corp.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Calbiochem-Behring Corp. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Celanese
  23   Corporation has not incurred any response costs at the BKK Class I Facility nor has
  24   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  25   Facility.
  26         152. Upon information and belief, Defendant Cerro Corporation is the
  27   successor to JCX and/or otherwise liable for manifested waste that was contributed
  28   to the BKK Class I Facility by JCX. According to historical BKK Corp. records,

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   1   JCX contributed manifested waste to the BKK Class I Facility. This manifested
   2   waste contained Hazardous Substances that JCX generated and/or arranged for its
   3   disposal at the BKK Class I Facility. To date, Defendant Cerro Corporation has not
   4   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
   5   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   6         153. According to historical BKK Corp. records, Defendant Certified
   7   Grocers of Cal. contributed manifested waste to the BKK Class I Facility. This
   8   manifested waste contained Hazardous Substances that Defendant Certified Grocers
   9   of Cal. generated and/or arranged for its disposal at the BKK Class I Facility. To
  10   date, Defendant Certified Grocers of Cal. has not incurred any response costs at the
  11   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  12   Plaintiffs at the BKK Class I Facility.
  13         154. According to historical BKK Corp. records, Defendant CHB Foods
  14   (identified in the related case as “CHP Foods”) contributed manifested waste to the
  15   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  16   Defendant CHB Foods (identified in the related case as “CHP Foods”) generated
  17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  18   CHB Foods (identified in the related case as “CHP Foods”) has not incurred any
  19   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  20   the Plaintiffs at the BKK Class I Facility.
  21         155. According to historical BKK Corp. records, Defendant Chemware
  22   contributed manifested waste to the BKK Class I Facility. This manifested waste
  23   contained Hazardous Substances that Defendant Chemware generated and/or
  24   arranged for its disposal at the BKK Class I Facility. To date, Defendant
  25   Chemware has not incurred any response costs at the BKK Class I Facility nor has
  26   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  27   Facility.
  28         156. According to historical BKK Corp. records, Defendant Cia Minera De

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   1   Cananea SA contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Cia Minera De
   3   Cananea SA generated and/or arranged for its disposal at the BKK Class I Facility.
   4   To date, Defendant Cia Minera De Cananea SA has not incurred any response costs
   5   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
   6   by the Plaintiffs at the BKK Class I Facility.
   7         157. According to historical BKK Corp. records, Defendant Circuit One
   8   Div. of LH Research Inc. contributed manifested waste to the BKK Class I Facility.
   9   This manifested waste contained Hazardous Substances that Defendant Circuit One
  10   Div. of LH Research Inc. generated and/or arranged for its disposal at the BKK
  11   Class I Facility. To date, Defendant Circuit One Div. of LH Research Inc. has not
  12   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  13   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  14         158. According to historical BKK Corp. records, Defendant Cleveland
  15   Wrecking Co. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Cleveland
  17   Wrecking Co. generated and/or arranged for its disposal at the BKK Class I
  18   Facility. To date, Defendant Cleveland Wrecking Co. has not incurred any costs at
  19   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  20   Plaintiffs at the BKK Class I Facility.
  21         159. According to historical BKK Corp. records, Defendant Coast Plating,
  22   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  23   waste contained Hazardous Substances that Defendant Coast Plating, Inc. generated
  24   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  25   Coast Plating, Inc. has not incurred any costs at the BKK Class I Facility nor has it
  26   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  27         160. According to historical BKK Corp. records, Defendant Cognis Corp.
  28   contributed manifested waste to the BKK Class I Facility. This manifested waste

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   1   contained Hazardous Substances that Defendant Cognis Corp. generated and/or
   2   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cognis
   3   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   4   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   5         161. Upon information and belief, Defendant Conagra Brands, Inc. is the
   6   successor to Beatrice Hunt Wesson Inc. and/or otherwise liable for manifested
   7   waste that was contributed to the BKK Class I Facility by Beatrice Hunt Wesson
   8   Inc. According to historical BKK Corp. records, Beatrice Hunt Wesson Inc.
   9   contributed manifested waste to the BKK Class I Facility. This manifested waste
  10   contained Hazardous Substances that Beatrice Hunt Wesson Inc. generated and/or
  11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Conagra
  12   Brands, Inc. has not incurred any costs at the BKK Class I Facility nor has it paid
  13   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  14         162. According to historical BKK Corp. records, Defendant Control
  15   Components Inc. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Control
  17   Components Inc. generated and/or arranged for its disposal at the BKK Class I
  18   Facility. To date, Defendant Control Components Inc. has not incurred any costs at
  19   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  20   Plaintiffs at the BKK Class I Facility.
  21         163. Upon information and belief, Defendant Coscol Petroleum
  22   Corporation is the successor to Western Fuel Oil Company and/or otherwise liable
  23   for manifested waste that was contributed to the BKK Class I Facility by Western
  24   Fuel Oil Company According to historical BKK Corp. records, Western Fuel Oil
  25   Company contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Western Fuel Oil Company
  27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  28   Defendant Coscol Petroleum Corporation has not incurred any costs at the BKK

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   1   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   2   BKK Class I Facility.
   3         164. According to historical BKK Corp. records, Defendant Cragar
   4   Industries contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Defendant Cragar Industries
   6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Cragar Industries has not incurred any costs at the BKK Class I Facility
   8   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   9   Facility.
  10         165. Upon information and belief, Defendant Crain Industries, Inc. is the
  11   successor to Crain Western, Inc. and/or otherwise liable for manifested waste that
  12   was contributed to the BKK Class I Facility by Crain Western, Inc. According to
  13   historical BKK Corp. records, Crain Western, Inc. contributed manifested waste to
  14   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  15   that Crain Western, Inc. generated and/or arranged for its disposal at the BKK Class
  16   I Facility. To date, Defendant Crain Industries, Inc. has not incurred any costs at the
  17   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  18   at the BKK Class I Facility.
  19         166. According to historical BKK Corp. records, Defendant Crain Western,
  20   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  21   waste contained Hazardous Substances that Defendant Crain Western, Inc.
  22   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  23   Defendant Crain Western, Inc. has not incurred any costs at the BKK Class I
  24   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  25   Class I Facility.
  26         167. Upon information and belief, Defendant CRE Liquidation LLC is the
  27   successor to Cal Style Furniture Manufacturing Co. and/or otherwise liable for
  28   manifested waste that was contributed to the BKK Class I Facility by Cal Style

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   1   Furniture Manufacturing Co. According to historical BKK Corp. records, Cal Style
   2   Furniture Manufacturing Co. contributed manifested waste to the BKK Class I
   3   Facility. This manifested waste contained Hazardous Substances that Cal Style
   4   Furniture Manufacturing Co. generated and/or arranged for its disposal at the BKK
   5   Class I Facility. To date, Defendant CRE Liquidation LLC has not incurred any
   6   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   7   the Plaintiffs at the BKK Class I Facility.
   8         168. According to historical BKK Corp. records, Defendant Crescent
   9   Transportation contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Defendant Crescent
  11   Transportation generated and/or arranged for its disposal at the BKK Class I
  12   Facility. To date, Defendant Crescent Transportation has not incurred any response
  13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
  14   incurred by the Plaintiffs at the BKK Class I Facility.
  15         169. Upon information and belief, Defendant Criton Corporation is the
  16   successor to Sandia Metal Process, Inc. and/or otherwise liable for manifested
  17   waste that was contributed to the BKK Class I Facility by Sandia Metal Process,
  18   Inc. According to historical BKK Corp. records, Sandia Metal Process, Inc.
  19   contributed manifested waste to the BKK Class I Facility. This manifested waste
  20   contained Hazardous Substances that Sandia Metal Process, Inc. generated and/or
  21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Criton
  22   Corporation has not incurred any costs at the BKK Class I Facility nor has it paid
  23   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         170. According to historical BKK Corp. records, Defendant Crockett
  25   Container Corp. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant Crockett
  27   Container Corp. generated and/or arranged for its disposal at the BKK Class I
  28   Facility. To date, Defendant Crockett Container Corp. has not incurred any costs at

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   1   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   2   Plaintiffs at the BKK Class I Facility.
   3         171. According to historical BKK Corp. records, Defendant Crowley Inc.
   4   contributed manifested waste to the BKK Class I Facility. This manifested waste
   5   contained Hazardous Substances that Defendant Crowley Inc. generated and/or
   6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Crowley
   7   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   8   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   9         172. Upon information and belief, Defendant Crown Central LLC is the
  10   successor to Crown Central Petroleum Corporation and/or otherwise liable for
  11   manifested waste that was contributed to the BKK Class I Facility by Crown
  12   Central Petroleum Corporation. According to historical BKK Corp. records, Crown
  13   Central Petroleum Corporation contributed manifested waste to the BKK Class I
  14   Facility. This manifested waste contained Hazardous Substances that Crown
  15   Central Petroleum Corporation generated and/or arranged for its disposal at the
  16   BKK Class I Facility. To date, Defendant Crown Central LLC has not incurred any
  17   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  18   the Plaintiffs at the BKK Class I Facility.
  19         173. According to historical BKK Corp. records, Defendant Crown Central
  20   Petroleum Corporation contributed manifested waste to the BKK Class I Facility.
  21   This manifested waste contained Hazardous Substances that Defendant Crown
  22   Central Petroleum Corporation generated and/or arranged for its disposal at the
  23   BKK Class I Facility. To date, Defendant Crown Central Petroleum Corporation
  24   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  25   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         174. According to historical BKK Corp. records, Defendant Crown
  27   Disposal Inc. contributed manifested waste to the BKK Class I Facility. This
  28   manifested waste contained Hazardous Substances that Defendant Crown Disposal

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   1   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   2   Defendant Crown Disposal Inc. has not incurred any costs at the BKK Class I
   3   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   4   Class I Facility.
   5         175. Upon information and belief, Defendant Crown Disposal Inc. is the
   6   successor to Liquid Waste Management and/or otherwise liable for manifested
   7   waste that was contributed to the BKK Class I Facility by Liquid Waste
   8   Management. According to historical BKK Corp. records, Liquid Waste
   9   Management contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Liquid Waste Management
  11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  12   Defendant Crown Disposal Inc. has not incurred any costs at the BKK Class I
  13   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  14   Class I Facility.
  15         176. According to historical BKK Corp. records, Defendant Crown
  16   Zellerbach Co. contributed manifested waste to the BKK Class I Facility. This
  17   manifested waste contained Hazardous Substances that Defendant Crown
  18   Zellerbach Co. generated and/or arranged for its disposal at the BKK Class I
  19   Facility. To date, Defendant Crown Zellerbach Co. has not incurred any costs at the
  20   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  21   at the BKK Class I Facility.
  22         177. Upon information and belief, Defendant CS&M, Inc. is the successor
  23   to Diamond Plastics and/or otherwise liable for manifested waste that was
  24   contributed to the BKK Class I Facility by Diamond Plastics. According to
  25   historical BKK Corp. records, Diamond Plastics contributed manifested waste to
  26   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  27   that Diamond Plastics generated and/or arranged for its disposal at the BKK Class I
  28   Facility. To date, Defendant CS&M, Inc. has not incurred any costs at the BKK

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   1   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   2   BKK Class I Facility.
   3         178. According to historical BKK Corp. records, Defendant Cummins
   4   Service & Sales Inc. contributed manifested waste to the BKK Class I Facility.
   5   This manifested waste contained Hazardous Substances that Defendant Cummins
   6   Service & Sales Inc. generated and/or arranged for its disposal at the BKK Class I
   7   Facility. To date, Defendant Cummins Service & Sales Inc. has not incurred any
   8   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   9   the Plaintiffs at the BKK Class I Facility.
  10         179. According to historical BKK Corp. records, Defendant Cyclo
  11   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant Cyclo Chemical
  13   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  14   Defendant Cyclo Chemical Co. has not incurred any costs at the BKK Class I
  15   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  16   Class I Facility.
  17         180. Upon information and belief, Defendant Cytec Industries Inc. is the
  18   successor to Fiberite West Coast Corp. and/or otherwise liable for manifested waste
  19   that was contributed to the BKK Class I Facility by Fiberite West Coast Corp.
  20   According to historical BKK Corp. records, Fiberite West Coast Corp. contributed
  21   manifested waste to the BKK Class I Facility. This manifested waste contained
  22   Hazardous Substances that Fiberite West Coast Corp. generated and/or arranged for
  23   its disposal at the BKK Class I Facility. To date, Defendant Cytec Industries Inc.
  24   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  25   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         181. According to historical BKK Corp. records, Defendant Daiwa Corp.
  27   contributed manifested waste to the BKK Class I Facility. This manifested waste
  28   contained Hazardous Substances that Defendant Daiwa Corp. generated and/or

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   1   arranged for its disposal at the BKK Class I Facility. To date, Defendant Daiwa
   2   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   3   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         182. According to historical BKK Corp. records, Defendant Darnell Corp.
   5   (previously identified in this action and the related action as Darnell Corporate Ltd.)
   6   contributed manifested waste to the BKK Class I Facility. This manifested waste
   7   contained Hazardous Substances that Defendant Darnell Corp. generated and/or
   8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Darnell
   9   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  10   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  11         183. Upon information and belief, Defendant Darnell-Rose is the successor
  12   to Darnell Corp. and/or otherwise liable for manifested waste that was contributed
  13   to the BKK Class I Facility by Darnell Corp. According to historical BKK Corp.
  14   records, Darnell Corp. contributed manifested waste to the BKK Class I Facility.
  15   This manifested waste contained Hazardous Substances that Darnell Corp.
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Darnell-Rose has not incurred any costs at the BKK Class I Facility nor
  18   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  19   Facility.
  20         184. Upon information and belief, Defendant Data Device Corp. is the
  21   successor to Arnold Circuits, Inc. and/or Arnold Electronics Inc. and/or otherwise
  22   liable for manifested waste that was contributed to the BKK Class I Facility by
  23   Arnold Circuits, Inc. and/or Arnold Electronics Inc. According to historical BKK
  24   Corp. records, Arnold Circuits, Inc. and Arnold Electronics Inc. contributed
  25   manifested waste to the BKK Class I Facility. This manifested waste contained
  26   Hazardous Substances that Arnold Circuits, Inc. and Arnold Electronics Inc.
  27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  28   Defendant Data Device Corp. has not incurred any costs at the BKK Class I Facility

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   1   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   2   Facility.
   3         185. According to historical BKK Corp. records, Defendant Data Products
   4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
   5   waste contained Hazardous Substances that Defendant Data Products Corp.
   6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Data Products Corp. has not incurred any response costs at the BKK
   8   Class I Facility nor has it paid its fair share of response costs incurred by the
   9   Plaintiffs at the BKK Class I Facility.
  10         186. According to historical BKK Corp. records, Defendant Davis
  11   Investment Co. contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant Davis
  13   Investment Co. generated and/or arranged for its disposal at the BKK Class I
  14   Facility. To date, Defendant Davis Investment Co. has not incurred any costs at the
  15   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  16   at the BKK Class I Facility.
  17         187. According to historical BKK Corp. records, Defendant Decratrend
  18   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
  19   waste contained Hazardous Substances that Defendant Decratrend Corp. generated
  20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  21   Decratrend Corp. has not incurred any costs at the BKK Class I Facility nor has it
  22   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         188. Upon information and belief, Defendant Delaware Outsourcing
  24   Services Group, Inc. is the successor to Aerosol Services Co. Inc. and/or otherwise
  25   liable for manifested waste that was contributed to the BKK Class I Facility by
  26   Aerosol Services Co. Inc. According to historical BKK Corp. records, Aerosol
  27   Services Co. Inc. contributed manifested waste to the BKK Class I Facility. This
  28   manifested waste contained Hazardous Substances that Aerosol Services Co. Inc.

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   1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   2   Defendant Delaware Outsourcing Services Group, Inc. has not incurred any costs at
   3   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   4   Plaintiffs at the BKK Class I Facility.
   5         189. Upon information and belief, Defendant Denso Products and Services
   6   Americas, Inc. (previously identified in this action as Densco Products and Services
   7   Americas, Inc.) is the successor to Nippondenso of Los Angeles and/or otherwise
   8   liable for manifested waste that was contributed to the BKK Class I Facility by
   9   Nippondenso of Los Angeles. According to historical BKK Corp. records,
  10   Nippondenso of Los Angeles contributed manifested waste to the BKK Class I
  11   Facility. This manifested waste contained Hazardous Substances that Nippondenso
  12   of Los Angeles generated and/or arranged for its disposal at the BKK Class I
  13   Facility. To date, Defendant Denso Products and Services Americas, Inc. has not
  14   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  15   incurred by the Plaintiffs at the BKK Class I Facility.
  16         190. According to historical BKK Corp. records, Defendant Desoto Inc.
  17   contributed manifested waste to the BKK Class I Facility. This manifested waste
  18   contained Hazardous Substances that Defendant Desoto Inc. generated and/or
  19   arranged for its disposal at the BKK Class I Facility. To date, Defendant Desoto
  20   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  21   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  22         191. Upon information and belief, Defendant Devon Energy Corp. is the
  23   successor to Pauley Petroleum Co. and/or otherwise liable for manifested waste that
  24   was contributed to the BKK Class I Facility by Pauley Petroleum Co. According to
  25   historical BKK Corp. records, Pauley Petroleum Co. contributed manifested waste
  26   to the BKK Class I Facility. This manifested waste contained Hazardous
  27   Substances that Pauley Petroleum Co. generated and/or arranged for its disposal at
  28   the BKK Class I Facility. To date, Defendant Devon Energy Corp. has not incurred

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   1   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
   2   by the Plaintiffs at the BKK Class I Facility.
   3         192. Upon information and belief, Defendant Diamond International Corp.
   4   is the successor to Western Lithograph and/or otherwise liable for manifested waste
   5   that was contributed to the BKK Class I Facility by Western Lithograph.
   6   According to historical BKK Corp. records, Western Lithograph contributed
   7   manifested waste to the BKK Class I Facility. This manifested waste contained
   8   Hazardous Substances that Western Lithograph generated and/or arranged for its
   9   disposal at the BKK Class I Facility. To date, Defendant Diamond International
  10   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  11   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  12         193. According to historical BKK Corp. records, Defendant Diamond
  13   Plastics contributed manifested waste to the BKK Class I Facility. This manifested
  14   waste contained Hazardous Substances that Defendant Diamond Plastics generated
  15   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  16   Diamond Plastics has not incurred any response costs at the BKK Class I Facility
  17   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
  18   Class I Facility.
  19         194. According to historical BKK Corp. records, Defendant Disposal
  20   Control Service, Inc. (previously identified in this action and the related action as
  21   Disposal Control) contributed manifested waste to the BKK Class I Facility. This
  22   manifested waste contained Hazardous Substances that Defendant Disposal Control
  23   Service, Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  24   To date, Defendant Disposal Control Service, Inc. has not incurred any costs at the
  25   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  26   at the BKK Class I Facility.
  27         195. Upon information and belief, Defendant Diversified Coating Systems,
  28   Inc. is the successor to Advanced Coatings Inc. (previously identified in this action

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   1   and the related action as Advanced Coating Inc.) and/or otherwise liable for
   2   manifested waste that was contributed to the BKK Class I Facility by Advanced
   3   Coatings Inc. According to historical BKK Corp. records, Advanced Coatings Inc.
   4   contributed manifested waste to the BKK Class I Facility. This manifested waste
   5   contained Hazardous Substances that Advanced Coatings Inc. generated and/or
   6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Diversified
   7   Coating Systems, Inc. has not incurred any costs at the BKK Class I Facility nor
   8   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   9   Facility.
  10         196. According to historical BKK Corp. records, Defendant Don Kott Ford
  11   (previously identified in this action as Don Knott Ford) contributed manifested
  12   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  13   Substances that Defendant Don Kott Ford generated and/or arranged for its disposal
  14   at the BKK Class I Facility. To date, Defendant Don Kott Ford has not incurred
  15   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  16   by the Plaintiffs at the BKK Class I Facility.
  17         197. According to historical BKK Corp. records, Defendant Douglas
  18   Furniture of California contributed manifested waste to the BKK Class I Facility.
  19   This manifested waste contained Hazardous Substances that Defendant Douglas
  20   Furniture of California generated and/or arranged for its disposal at the BKK Class
  21   I Facility. To date, Defendant Douglas Furniture of California has not incurred any
  22   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  23   the Plaintiffs at the BKK Class I Facility.
  24         198. According to historical BKK Corp. records, Defendant Drackett Co.
  25   contributed manifested waste to the BKK Class I Facility. This manifested waste
  26   contained Hazardous Substances that Defendant Drackett Co. generated and/or
  27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Drackett
  28   Co. has not incurred any costs at the BKK Class I Facility nor has it paid its fair

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   1   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         199. According to historical BKK Corp. records, Defendant Dresser
   3   Industries, Inc. contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Dresser
   5   Industries, Inc. generated and/or arranged for its disposal at the BKK Class I
   6   Facility. To date, Defendant Dresser Industries, Inc. has not incurred any costs at
   7   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   8   Plaintiffs at the BKK Class I Facility.
   9         200. According to historical BKK Corp. records, Defendant Durex Inc.
  10   contributed manifested waste to the BKK Class I Facility. This manifested waste
  11   contained Hazardous Substances that Defendant Durex Inc. generated and/or
  12   arranged for its disposal at the BKK Class I Facility. To date, Defendant Durex
  13   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  14   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         201. According to historical BKK Corp. records, Defendant E.T.C. Carpet
  16   Mills, Ltd. contributed manifested waste to the BKK Class I Facility. This
  17   manifested waste contained Hazardous Substances that Defendant E.T.C. Carpet
  18   Mills, Ltd. generated and/or arranged for its disposal at the BKK Class I Facility.
  19   To date, Defendant E.T.C. Carpet Mills, Ltd. has not incurred any costs at the BKK
  20   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  21   BKK Class I Facility.
  22         202. Upon information and belief, Defendant E.T.C. Carpet Mills, Ltd. is
  23   the successor to California Carpet Co. and/or otherwise liable for manifested waste
  24   that was contributed to the BKK Class I Facility by California Carpet Co.
  25   According to historical BKK Corp. records, California Carpet Co. contributed
  26   manifested waste to the BKK Class I Facility. This manifested waste contained
  27   Hazardous Substances that California Carpet Co. generated and/or arranged for its
  28   disposal at the BKK Class I Facility. To date, Defendant E.T.C. Carpet Mills, Ltd.

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   1   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
   2   of costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         203. Upon information and belief, Defendant East Coast Oceanview, LLC
   4   is the successor to Wells Marine Inc. and/or otherwise liable for manifested waste
   5   that was contributed to the BKK Class I Facility by Wells Marine Inc. According
   6   to historical BKK Corp. records, Wells Marine Inc. contributed manifested waste to
   7   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   8   that Wells Marine Inc. generated and/or arranged for its disposal at the BKK Class I
   9   Facility. To date, Defendant East Coast Oceanview, LLC has not incurred any costs
  10   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  11   Plaintiffs at the BKK Class I Facility.
  12         204. According to historical BKK Corp. records, Defendant Elfab Corp.
  13   (previously identified in this action and the related action as El Fab) contributed
  14   manifested waste to the BKK Class I Facility. This manifested waste contained
  15   Hazardous Substances that Defendant Elfab Corp. generated and/or arranged for its
  16   disposal at the BKK Class I Facility. To date, Defendant Elfab Corp. has not
  17   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  18   incurred by the Plaintiffs at the BKK Class I Facility.
  19         205. According to historical BKK Corp. records, Defendant Electrofilm Inc.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant Electrofilm Inc. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant
  23   Electrofilm Inc. has not incurred any costs at the BKK Class I Facility nor has it
  24   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         206. According to historical BKK Corp. records, Defendant Electronic
  26   Materials Corp. contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Electronic
  28   Materials Corp. generated and/or arranged for its disposal at the BKK Class I

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   1   Facility. To date, Defendant Electronic Materials Corp. has not incurred any costs
   2   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         207. According to historical BKK Corp. records, Defendant Electronic
   5   Reclamation Service contributed manifested waste to the BKK Class I Facility.
   6   This manifested waste contained Hazardous Substances that Defendant Electronic
   7   Reclamation Service generated and/or arranged for its disposal at the BKK Class I
   8   Facility. To date, Defendant Electronic Reclamation Service has not incurred any
   9   response costs at the BKK Class I Facility nor has it paid its fair share of response
  10   costs incurred by the Plaintiffs at the BKK Class I Facility.
  11         208. According to historical BKK Corp. records, Defendant Electro-Etch
  12   Circuits Inc. (previously identified in this action and the related action as
  13   Electrotech Circuits Inc.) contributed manifested waste to the BKK Class I Facility.
  14   This manifested waste contained Hazardous Substances that Defendant Electro-
  15   Etch Circuits Inc. generated and/or arranged for its disposal at the BKK Class I
  16   Facility. To date, Defendant Electro-Etch Circuits Inc. has not incurred any costs at
  17   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  18   Plaintiffs at the BKK Class I Facility.
  19         209. Upon information and belief, Defendant Elevate Textiles, Inc.
  20   (previously identified in this action as Elevate Textiles) is the successor to Wells
  21   Marine Inc. and Valentec International Corp. and/or otherwise liable for manifested
  22   waste that was contributed to the BKK Class I Facility by Wells Marine Inc. and
  23   Valentec International Corp. According to historical BKK Corp. records, Wells
  24   Marine Inc. and Valentec International Corp. contributed manifested waste to the
  25   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  26   Wells Marine Inc. and Valentec International Corp. generated and/or arranged for
  27   its disposal at the BKK Class I Facility. To date, Defendant Elevate Textiles, Inc.
  28   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share

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   1   of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         210. According to historical BKK Corp. records, Defendant EME Corp.
   3   contributed manifested waste to the BKK Class I Facility. This manifested waste
   4   contained Hazardous Substances that Defendant EME Corp. generated and/or
   5   arranged for its disposal at the BKK Class I Facility. To date, Defendant EME
   6   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   7   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   8         211. Upon information and belief, Defendant Emerald Equities is the
   9   successor to Merel Co. Inc. and/or otherwise liable for manifested waste that was
  10   contributed to the BKK Class I Facility by Merel Co. Inc. According to historical
  11   BKK Corp. records, Merel Co. Inc. contributed manifested waste to the BKK Class
  12   I Facility. This manifested waste contained Hazardous Substances that Merel Co.
  13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  14   Defendant Emerald Equities has not incurred any costs at the BKK Class I Facility
  15   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  16   Facility.
  17         212. According to historical BKK Corp. records, Defendant Emery
  18   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Defendant Emery Industries
  20   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  21   Defendant Emery Industries Inc. has not incurred any costs at the BKK Class I
  22   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  23   Class I Facility.
  24         213. Upon information and belief, Defendant Emery Oleochemicals LLC is
  25   the successor to Emery Industries Inc. and/or otherwise liable for manifested waste
  26   that was contributed to the BKK Class I Facility by Emery Industries Inc.
  27   According to historical BKK Corp. records, Emery Industries Inc. contributed
  28   manifested waste to the BKK Class I Facility. This manifested waste contained

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   1   Hazardous Substances that Emery Industries Inc. generated and/or arranged for its
   2   disposal at the BKK Class I Facility. To date, Defendant Emery Oleochemicals
   3   LLC has not incurred any response costs at the BKK Class I Facility nor has it paid
   4   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
   5         214. Upon information and belief, Defendant Employbridge LLC is the
   6   successor to Heist Maintenance Services Inc. and/or otherwise liable for manifested
   7   waste that was contributed to the BKK Class I Facility by Heist Maintenance
   8   Services Inc. According to historical BKK Corp. records, Heist Maintenance
   9   Services Inc. contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Heist Maintenance Services
  11   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  12   Defendant Employbridge LLC has not incurred any response costs at the BKK
  13   Class I Facility nor has it paid its fair share of response costs incurred by the
  14   Plaintiffs at the BKK Class I Facility.
  15         215. Upon information and belief, Defendant Emrise Electronics Corp. is
  16   the successor to Arnold Circuits, Inc. and/or Arnold Electronics Inc. and/or
  17   otherwise liable for manifested waste that was contributed to the BKK Class I
  18   Facility by Arnold Circuits, Inc. and/or Arnold Electronics Inc. According to
  19   historical BKK Corp. records, Arnold Circuits, Inc. and Arnold Electronics Inc.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Arnold Circuits, Inc. and Arnold Electronics
  22   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  23   Defendant Emrise Electronics Corp. has not incurred any costs at the BKK Class I
  24   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  25   Class I Facility.
  26         216. According to historical BKK Corp. records, Defendant Energy
  27   Development Co. Inc. contributed manifested waste to the BKK Class I Facility.
  28   This manifested waste contained Hazardous Substances that Defendant Energy

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   1   Development Co. Inc. generated and/or arranged for its disposal at the BKK Class I
   2   Facility. To date, Defendant Energy Development Co. Inc. has not incurred any
   3   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   4   the Plaintiffs at the BKK Class I Facility.
   5         217. Upon information and belief, Defendant Enliven Marketing
   6   Technologies Corporation is the successor to Fotomat Labs Inc. and/or otherwise
   7   liable for manifested waste that was contributed to the BKK Class I Facility by
   8   Fotomat Labs Inc. According to historical BKK Corp. records, Fotomat Labs Inc.
   9   contributed manifested waste to the BKK Class I Facility. This manifested waste
  10   contained Hazardous Substances that Fotomat Labs Inc. generated and/or arranged
  11   for its disposal at the BKK Class I Facility. To date, Defendant Enliven Marketing
  12   Technologies Corporation has not incurred any costs at the BKK Class I Facility
  13   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  14   Facility.
  15         218. According to historical BKK Corp. records, Defendant Environmental
  16   Control Systems Inc. contributed manifested waste to the BKK Class I Facility.
  17   This manifested waste contained Hazardous Substances that Defendant
  18   Environmental Control Systems Inc. generated and/or arranged for its disposal at
  19   the BKK Class I Facility. To date, Defendant Environmental Control Systems Inc.
  20   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  21   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  22         219. Upon information and belief, Defendant Epec Oil Co. Liquidating
  23   Trust is the successor to Tenneco Oil Co. and/or otherwise liable for manifested
  24   waste that was contributed to the BKK Class I Facility by Tenneco Oil Co.
  25   According to historical BKK Corp. records, Tenneco Oil Co. contributed
  26   manifested waste to the BKK Class I Facility. This manifested waste contained
  27   Hazardous Substances that Tenneco Oil Co. generated and/or arranged for its
  28   disposal at the BKK Class I Facility. To date, Defendant Epec Oil Co. Liquidating

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   1   Trust has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   2   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         220. Upon information and belief, Defendant Evergreen Pacific Partners is
   4   the successor to Marcor Environmental West, Inc. (aka and/or previously identified
   5   in this action and the related action as Marco Chemical Co.) and/or otherwise liable
   6   for manifested waste that was contributed to the BKK Class I Facility by Marcor
   7   Environmental West, Inc. According to historical BKK Corp. records, Marcor
   8   Environmental West, Inc. contributed manifested waste to the BKK Class I Facility.
   9   This manifested waste contained Hazardous Substances that Marcor Environmental
  10   West, Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
  11   date, Defendant Evergreen Pacific Partners has not incurred any costs at the BKK
  12   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  13   BKK Class I Facility.
  14         221. Upon information and belief, Defendant Fairchild Holding Corp. is the
  15   successor to Voi Shan and/or otherwise liable for manifested waste that was
  16   contributed to the BKK Class I Facility by Voi Shan. According to historical BKK
  17   Corp. records, Voi Shan contributed manifested waste to the BKK Class I Facility.
  18   This manifested waste contained Hazardous Substances that Voi Shan generated
  19   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  20   Fairchild Holding Corp. has not incurred any costs at the BKK Class I Facility nor
  21   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  22   Facility.
  23         222. According to historical BKK Corp. records, Defendant Fairchild
  24   Industries contributed manifested waste to the BKK Class I Facility. This
  25   manifested waste contained Hazardous Substances that Defendant Fairchild
  26   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
  27   date, Defendant Fairchild Industries has not incurred any costs at the BKK Class I
  28   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK

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   1   Class I Facility.
   2         223. According to historical BKK Corp. records, Defendant Fairchild
   3   Semiconductor International, Inc. contributed manifested waste to the BKK Class I
   4   Facility. This manifested waste contained Hazardous Substances that Defendant
   5   Fairchild Semiconductor International, Inc. generated and/or arranged for its
   6   disposal at the BKK Class I Facility. To date, Defendant Fairchild Semiconductor
   7   International, Inc. has not incurred any costs at the BKK Class I Facility nor has it
   8   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   9         224. According to historical BKK Corp. records, Defendant Federal
  10   Express Corporation contributed manifested waste to the BKK Class I Facility.
  11   This manifested waste contained Hazardous Substances that Defendant Federal
  12   Express Corporation generated and/or arranged for its disposal at the BKK Class I
  13   Facility. To date, Defendant Federal Express Corporation has not incurred any
  14   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  15   the Plaintiffs at the BKK Class I Facility.
  16         225. Upon information and belief, Defendant Federal Express Corporation
  17   is the successor to Flying Tigers Line and/or otherwise liable for manifested waste
  18   that was contributed to the BKK Class I Facility by Flying Tigers Line. According
  19   to historical BKK Corp. records, Flying Tigers Line contributed manifested waste
  20   to the BKK Class I Facility. This manifested waste contained Hazardous
  21   Substances that Flying Tigers Line generated and/or arranged for its disposal at the
  22   BKK Class I Facility. To date, Defendant Federal Express Corporation has not
  23   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  24   incurred by the Plaintiffs at the BKK Class I Facility.
  25         226. According to historical BKK Corp. records, Defendant Federal
  26   Reserve Bank contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Federal Reserve
  28   Bank generated and/or arranged for its disposal at the BKK Class I Facility. To

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   1   date, Defendant Federal Reserve Bank has not incurred any costs at the BKK Class
   2   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   3   Class I Facility.
   4         227. According to historical BKK Corp. records, Defendant Fiberite West
   5   Coast Corp. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant Fiberite West
   7   Coast Corp. generated and/or arranged for its disposal at the BKK Class I Facility.
   8   To date, Defendant Fiberite West Coast Corp. has not incurred any costs at the
   9   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  10   at the BKK Class I Facility.
  11         228. According to historical BKK Corp. records, Defendant Firestone Tire
  12   & Rubber Co. contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Firestone Tire &
  14   Rubber Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  15   To date, Defendant Firestone Tire & Rubber Co. has not incurred any costs at the
  16   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  17   at the BKK Class I Facility.
  18         229. According to historical BKK Corp. records, Defendant Fletcher Oil &
  19   Refining Co. contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant Fletcher Oil &
  21   Refining Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  22   To date, Defendant Fletcher Oil & Refining Co. has not incurred any costs at the
  23   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  24   at the BKK Class I Facility.
  25         230. According to historical BKK Corp. records, Defendant Flight
  26   Accessory Service contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Flight Accessory
  28   Service generated and/or arranged for its disposal at the BKK Class I Facility. To

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   1   date, Defendant Flight Accessory Service has not incurred any costs at the BKK
   2   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   3   BKK Class I Facility.
   4         231. Upon information and belief, Defendant Flowserve Corporation is the
   5   successor to Byron Jackson Pumps and/or Borg Warner and/or otherwise liable for
   6   manifested waste that was contributed to the BKK Class I Facility by Byron
   7   Jackson Pumps and/or Borg Warner. According to historical BKK Corp. records,
   8   Byron Jackson Pumps and Borg Warner contributed manifested waste to the BKK
   9   Class I Facility. This manifested waste contained Hazardous Substances that Byron
  10   Jackson Pumps and Borg Warner generated and/or arranged for its disposal at the
  11   BKK Class I Facility. To date, Defendant Flowserve Corporation has not incurred
  12   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  13   by the Plaintiffs at the BKK Class I Facility.
  14         232. According to historical BKK Corp. records, Defendant Fotomat Labs
  15   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  16   waste contained Hazardous Substances that Defendant Fotomat Labs Inc. generated
  17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  18   Fotomat Labs Inc. has not incurred any costs at the BKK Class I Facility nor has it
  19   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         233. According to historical BKK Corp. records, Defendant Flying Tigers
  21   Line contributed manifested waste to the BKK Class I Facility. This manifested
  22   waste contained Hazardous Substances that Defendant Flying Tigers Line generated
  23   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  24   Flying Tigers Line has not incurred any costs at the BKK Class I Facility nor has it
  25   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         234. Upon information and belief, Defendant FORCO Liquidation Trust is
  27   the successor to Fletcher Oil & Refining Co. and/or otherwise liable for manifested
  28   waste that was contributed to the BKK Class I Facility by Fletcher Oil & Refining

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   1   Co. According to historical BKK Corp. records, Fletcher Oil & Refining Co.
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Fletcher Oil & Refining Co. generated and/or
   4   arranged for its disposal at the BKK Class I Facility. To date, Defendant FORCO
   5   Liquidation Trust has not incurred any costs at the BKK Class I Facility nor has it
   6   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         235. According to historical BKK Corp. records, Defendant Franciscan
   8   Ceramics Inc. contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Franciscan
  10   Ceramics Inc. generated and/or arranged for its disposal at the BKK Class I
  11   Facility. To date, Defendant Franciscan Ceramics Inc. has not incurred any costs at
  12   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         236. According to historical BKK Corp. records, Defendant Frazee
  15   Industries contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Frazee Industries
  17   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  18   Defendant Frazee Industries has not incurred any costs at the BKK Class I Facility
  19   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  20   Facility.
  21         237. Upon information and belief, Defendant Freeport-McMoran Inc. is the
  22   successor to Petro Lewis Corp. and/or otherwise liable for manifested waste that
  23   was contributed to the BKK Class I Facility by Petro Lewis Corp. According to
  24   historical BKK Corp. records, Petro Lewis Corp. contributed manifested waste to
  25   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  26   that Petro Lewis Corp. generated and/or arranged for its disposal at the BKK Class
  27   I Facility. To date, Defendant Freeport-McMoran Inc. has not incurred any costs at
  28   the BKK Class I Facility nor has it paid its fair share of costs incurred by the

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   1   Plaintiffs at the BKK Class I Facility.
   2         238. Upon information and belief, Defendant Friction Inc. is the successor
   3   to Friction Materials Corp. and/or otherwise liable for manifested waste that was
   4   contributed to the BKK Class I Facility by Friction Materials Corp. According to
   5   historical BKK Corp. records, Friction Materials Corp. contributed manifested
   6   waste to the BKK Class I Facility. This manifested waste contained Hazardous
   7   Substances that Friction Materials Corp. generated and/or arranged for its disposal
   8   at the BKK Class I Facility. To date, Defendant Friction Inc. has not incurred any
   9   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  10   the Plaintiffs at the BKK Class I Facility.
  11         239. According to historical BKK Corp. records, Defendant Friction
  12   Materials Corp. contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Friction
  14   Materials Corp. generated and/or arranged for its disposal at the BKK Class I
  15   Facility. To date, Defendant Friction Materials Corp. has not incurred any costs at
  16   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  17   Plaintiffs at the BKK Class I Facility.
  18         240. According to historical BKK Corp. records, Defendant FMC
  19   Corporation contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant FMC
  21   Corporation generated and/or arranged for its disposal at the BKK Class I Facility.
  22   To date, Defendant FMC Corporation has not incurred any costs at the BKK Class I
  23   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  24   Class I Facility.
  25         241. According to historical BKK Corp. records, Defendant Ford
  26   Aerospace and Communications Corp. contributed manifested waste to the BKK
  27   Class I Facility. This manifested waste contained Hazardous Substances that
  28   Defendant Ford Aerospace and Communications Corp. generated and/or arranged

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   1   for its disposal at the BKK Class I Facility. To date, Defendant Ford Aerospace
   2   and Communications Corp. has not incurred any costs at the BKK Class I Facility
   3   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   4   Facility.
   5         242. Upon information and belief, Defendant Fort James LLC is the
   6   successor to Western Lithograph and/or otherwise liable for manifested waste that
   7   was contributed to the BKK Class I Facility by Western Lithograph. According to
   8   historical BKK Corp. records, Western Lithograph contributed manifested waste to
   9   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  10   that Western Lithograph generated and/or arranged for its disposal at the BKK
  11   Class I Facility. To date, Defendant Fort James LLC has not incurred any costs at
  12   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         243. According to historical BKK Corp. records, Defendant Foster-Forbes
  15   Glass Co. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Foster-Forbes
  17   Glass Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  18   To date, Defendant Foster-Forbes Glass Co. has not incurred any response costs at
  19   the BKK Class I Facility nor has it paid Its fair share of response costs incurred by
  20   the Plaintiffs at the BKK Class I Facility.
  21         244. Upon information and belief, Defendant Frontier California, Inc. is the
  22   successor to General Telephone Co. and/or otherwise liable for manifested waste
  23   that was contributed to the BKK Class I Facility by General Telephone Co.
  24   According to historical BKK Corp. records, General Telephone Co. contributed
  25   manifested waste to the BKK Class I Facility. This manifested waste contained
  26   Hazardous Substances that General Telephone Co. generated and/or arranged for its
  27   disposal at the BKK Class I Facility. To date, Defendant Frontier California, Inc.
  28   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share

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   1   of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         245. Upon information and belief, Defendant G.W.A. Inc. is the successor
   3   to Crescent Transportation and/or otherwise liable for manifested waste that was
   4   contributed to the BKK Class I Facility by Crescent Transportation. According to
   5   historical BKK Corp. records, Crescent Transportation contributed manifested
   6   waste to the BKK Class I Facility. This manifested waste contained Hazardous
   7   Substances that Crescent Transportation generated and/or arranged for its disposal
   8   at the BKK Class I Facility. To date, Defendant G.W.A. Inc. has not incurred any
   9   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  10   the Plaintiffs at the BKK Class I Facility.
  11         246. According to historical BKK Corp. records, Defendant Gates Admiral
  12   contributed manifested waste to the BKK Class I Facility. This manifested waste
  13   contained Hazardous Substances that Defendant Gates Admiral generated and/or
  14   arranged for its disposal at the BKK Class I Facility. To date, Defendant Gates
  15   Admiral has not incurred any costs at the BKK Class I Facility nor has it paid its
  16   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  17         247. According to historical BKK Corp. records, Defendant GATX
  18   contributed manifested waste to the BKK Class I Facility. This manifested waste
  19   contained Hazardous Substances that Defendant GATX generated and/or arranged
  20   for its disposal at the BKK Class I Facility. To date, Defendant GATX has not
  21   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  22   incurred by the Plaintiffs at the BKK Class I Facility.
  23         248. Upon information and belief, Defendant GATX Corp. is the successor
  24   to GATX and/or otherwise liable for manifested waste that was contributed to the
  25   BKK Class I Facility by GATX. According to historical BKK Corp. records,
  26   GATX contributed manifested waste to the BKK Class I Facility. This manifested
  27   waste contained Hazardous Substances that GATX generated and/or arranged for
  28   its disposal at the BKK Class I Facility. To date, Defendant GATX Corp. has not

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   1   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
   2   incurred by the Plaintiffs at the BKK Class I Facility.
   3         249. Upon information and belief, Defendant GATX Terminals Corp. is the
   4   successor to GATX and/or otherwise liable for manifested waste that was
   5   contributed to the BKK Class I Facility by GATX. According to historical BKK
   6   Corp. records, GATX contributed manifested waste to the BKK Class I Facility.
   7   This manifested waste contained Hazardous Substances that GATX generated
   8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   9   GATX Terminals Corp. has not incurred any costs at the BKK Class I Facility nor
  10   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  11   Facility.
  12         250. According to historical BKK Corp. records, Defendant GE Betz, Inc.
  13   fka Betz Laboratories, Inc. contributed manifested waste to the BKK Class I
  14   Facility. This manifested waste contained Hazardous Substances that Defendant
  15   GE Betz, Inc. fka Betz Laboratories, Inc. generated and/or arranged for its disposal
  16   at the BKK Class I Facility. To date, Defendant GE Betz, Inc. fka Betz
  17   Laboratories, Inc. has not incurred any costs at the BKK Class I Facility nor has it
  18   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         251. According to historical BKK Corp. records, Defendant General
  20   Battery Corp. contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Defendant General Battery
  22   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  23   date, Defendant General Battery Corp. has not incurred any costs at the BKK Class
  24   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  25   Class I Facility.
  26         252. Upon information and belief, Defendant General Mills, Inc. is the
  27   successor to Pillsbury Co. and/or otherwise liable for manifested waste that was
  28   contributed to the BKK Class I Facility by Pillsbury Co. According to historical

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   1   BKK Corp. records, Pillsbury Co. contributed manifested waste to the BKK Class I
   2   Facility. This manifested waste contained Hazardous Substances that Pillsbury Co.
   3   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   4   Defendant General Mills, Inc. has not incurred any costs at the BKK Class I
   5   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   6   Class I Facility.
   7         253. Upon information and belief, Defendant General Mills, Inc. is the
   8   successor to Yoplait USA and/or otherwise liable for manifested waste that was
   9   contributed to the BKK Class I Facility by Yoplait USA. According to historical
  10   BKK Corp. records, Yoplait USA contributed manifested waste to the BKK Class I
  11   Facility. This manifested waste contained Hazardous Substances that Yoplait USA
  12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  13   Defendant General Mills, Inc. has not incurred any costs at the BKK Class I
  14   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  15   Class I Facility.
  16         254. According to historical BKK Corp. records, Defendant General
  17   Telephone Co. contributed manifested waste to the BKK Class I Facility. This
  18   manifested waste contained Hazardous Substances that Defendant General
  19   Telephone Co. generated and/or arranged for its disposal at the BKK Class I
  20   Facility. To date, Defendant General Telephone Co. has not incurred any costs at
  21   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  22   Plaintiffs at the BKK Class I Facility.
  23         255. According to historical BKK Corp. records, Defendant Genstar
  24   Building Materials Co. contributed manifested waste to the BKK Class I Facility.
  25   This manifested waste contained Hazardous Substances that Defendant Genstar
  26   Building Materials Co. generated and/or arranged for its disposal at the BKK Class
  27   I Facility. To date, Defendant Genstar Building Materials Co. has not incurred any
  28   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by

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   1   the Plaintiffs at the BKK Class I Facility.
   2         256. Upon information and belief, Defendant Genstar Roofing Products
   3   Company, Inc. is the successor to Genstar Building Materials Co. and/or otherwise
   4   liable for manifested waste that was contributed to the BKK Class I Facility by
   5   Genstar Building Materials Co. According to historical BKK Corp. records,
   6   Genstar Building Materials Co. contributed manifested waste to the BKK Class I
   7   Facility. This manifested waste contained Hazardous Substances that Genstar
   8   Building Materials Co. generated and/or arranged for its disposal at the BKK Class
   9   I Facility. To date, Defendant Genstar Roofing Products Company, Inc. has not
  10   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  11   incurred by the Plaintiffs at the BKK Class I Facility.
  12         257. Upon information and belief, Defendant Georgia-Pacific LLC is the
  13   successor to Crown Zellerbach Co. and/or otherwise liable for manifested waste
  14   that was contributed to the BKK Class I Facility by Crown Zellerbach Co.
  15   According to historical BKK Corp. records, Crown Zellerbach Co. contributed
  16   manifested waste to the BKK Class I Facility. This manifested waste contained
  17   Hazardous Substances that Crown Zellerbach Co. generated and/or arranged for its
  18   disposal at the BKK Class I Facility. To date, Defendant Georgia-Pacific LLC has
  19   not incurred any costs at the BKK Class I Facility nor has it paid its fair share of
  20   costs incurred by the Plaintiffs at the BKK Class I Facility.
  21         258. Upon information and belief, Defendant Georgia-Pacific LLC is the
  22   successor to Western Lithograph and/or otherwise liable for manifested waste that
  23   was contributed to the BKK Class I Facility by Western Lithograph According to
  24   historical BKK Corp. records, Western Lithograph contributed manifested waste to
  25   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  26   that Western Lithograph generated and/or arranged for its disposal at the BKK
  27   Class I Facility. To date, Defendant Georgia-Pacific LLC has not incurred any costs
  28   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the

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   1   Plaintiffs at the BKK Class I Facility.
   2         259. Upon information and belief, Defendant Gerald California LLC is the
   3   successor to PGP Industries Inc. and/or otherwise liable for manifested waste that
   4   was contributed to the BKK Class I Facility by PGP Industries Inc. According to
   5   historical BKK Corp. records, PGP Industries Inc. contributed manifested waste to
   6   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   7   that PGP Industries Inc. generated and/or arranged for its disposal at the BKK Class
   8   I Facility. To date, Gerald California LLC has not incurred any costs at the BKK
   9   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  10   BKK Class I Facility.
  11         260. Upon information and belief, Defendant Gerald Metals, Inc. is the
  12   successor to PGP Industries Inc. and/or otherwise liable for manifested waste that
  13   was contributed to the BKK Class I Facility by PGP Industries Inc. According to
  14   historical BKK Corp. records, PGP Industries Inc. contributed manifested waste to
  15   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  16   that PGP Industries Inc. generated and/or arranged for its disposal at the BKK Class
  17   I Facility. To date, Gerald Metals, Inc. has not incurred any costs at the BKK Class
  18   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         261. According to historical BKK Corp. records, Defendant Glass
  21   Containers Corp. contributed manifested waste to the BKK Class I Facility. This
  22   manifested waste contained Hazardous Substances that Defendant Glass Containers
  23   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  24   date, Defendant Glass Containers Corp. has not incurred any costs at the BKK
  25   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  26   BKK Class I Facility.
  27         262. According to historical BKK Corp. records, Defendant Global Tube
  28   Corporation contributed manifested waste to the BKK Class I Facility. This

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   1   manifested waste contained Hazardous Substances that Defendant Global Tube
   2   Corporation generated and/or arranged for its disposal at the BKK Class I Facility.
   3   To date, Defendant Global Tube Corporation has not incurred any costs at the BKK
   4   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   5   BKK Class I Facility.
   6         263. According to historical BKK Corp. records, Defendant Gold Pack
   7   Meat Co. contributed manifested waste to the BKK Class I Facility. This
   8   manifested waste contained Hazardous Substances that Defendant Gold Pack Meat
   9   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  10   Defendant Gold Pack Meat Co. has not incurred any response costs at the BKK
  11   Class I Facility nor has it paid its fair share of response costs incurred by the
  12   Plaintiffs at the BKK Class I Facility.
  13         264. According to historical BKK Corp. records, Defendant Gray Truck
  14   Lines contributed manifested waste to the BKK Class I Facility. This manifested
  15   waste contained Hazardous Substances that Defendant Gray Truck Lines generated
  16   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  17   Gray Truck Lines has not incurred any costs at the BKK Class I Facility nor has it
  18   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         265. According to historical BKK Corp. records, Defendant Greer
  20   Hydraulics Inc. contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Defendant Greer Hydraulics
  22   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  23   date, Defendant Greer Hydraulics Corp. has not incurred any response costs at the
  24   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  25   Plaintiffs at the BKK Class I Facility.
  26         266. Upon information and belief, Defendant Grupo Mexico SAB de CV is
  27   the successor to Cia Minera De Cananea SA and/or otherwise liable for manifested
  28   waste that was contributed to the BKK Class I Facility by Cia Minera De Cananea

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   1   SA. According to historical BKK Corp. records, Cia Minera De Cananea SA
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Cia Minera De Cananea SA generated and/or
   4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Grupo
   5   Mexico SAB de CV has not incurred any costs at the BKK Class I Facility nor has
   6   it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         267. According to historical BKK Corp. records, Defendant Guaranteed
   8   Products Inc. contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Guaranteed
  10   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  11   To date, Defendant Guaranteed Products Inc. has not incurred any costs at the BKK
  12   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  13   BKK Class I Facility.
  14         268. According to historical BKK Corp. records, Defendant Hallmark
  15   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Hallmark
  17   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  18   To date, Defendant Hallmark Circuits Inc. has not incurred any costs at the BKK
  19   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  20   BKK Class I Facility.
  21         269. According to historical BKK Corp. records, Defendant Halstead
  22   Enterprises contributed manifested waste to the BKK Class I Facility. This
  23   manifested waste contained Hazardous Substances that Defendant Halstead
  24   Enterprises generated and/or arranged for its disposal at the BKK Class I Facility.
  25   To date, Defendant Halstead Enterprises has not incurred any costs at the BKK
  26   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  27   BKK Class I Facility.
  28         270. Upon information and belief, Defendant Handy & Harman is the

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   1   successor to American Chemical & Refining and/or otherwise liable for manifested
   2   waste that was contributed to the BKK Class I Facility by American Chemical &
   3   Refining. According to historical BKK Corp. records, American Chemical &
   4   Refining contributed manifested waste to the BKK Class I Facility. This manifested
   5   waste contained Hazardous Substances that American Chemical & Refining
   6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Handy & Harman has not incurred any costs at the BKK Class I Facility
   8   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   9   Facility.
  10         271. Upon information and belief, Defendant Harsco Corporation is the
  11   successor to Structural Composite Industries and/or otherwise liable for manifested
  12   waste that was contributed to the BKK Class I Facility by Structural Composite
  13   Industries. According to historical BKK Corp. records, Structural Composite
  14   Industries contributed manifested waste to the BKK Class I Facility. This
  15   manifested waste contained Hazardous Substances that Structural Composite
  16   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
  17   date, Defendant Harsco Corporation has not incurred any costs at the BKK Class I
  18   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         272. Upon information and belief, Defendant Hawker Pacific Aerospace is
  21   the successor to Flight Accessory Service and/or otherwise liable for manifested
  22   waste that was contributed to the BKK Class I Facility by Flight Accessory Service.
  23   According to historical BKK Corp. records, Flight Accessor Service contributed
  24   manifested waste to the BKK Class I Facility. This manifested waste contained
  25   Hazardous Substances that Flight Accessory Service generated and/or arranged for
  26   its disposal at the BKK Class I Facility. To date, Defendant Hawker Pacific
  27   Aerospace has not incurred any costs at the BKK Class I Facility nor has it paid its
  28   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         273. Upon information and belief, Defendant Heinz Foods is the successor
   2   to CHB Foods and/or otherwise liable for manifested waste that was contributed to
   3   the BKK Class I Facility by CHB Foods. According to historical BKK Corp.
   4   records, CHB Foods contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that CHB Foods generated
   6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   7   Heinz Foods has not incurred any response costs at the BKK Class I Facility nor
   8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
   9   Class I Facility.
  10         274. Upon information and belief, Defendant Heidelberg Materials US, Inc.
  11   is the successor to Riverside Cement Co. and/or otherwise liable for manifested
  12   waste that was contributed to the BKK Class I Facility by Riverside Cement Co.
  13   According to historical BKK Corp. records, Riverside Cement Co. contributed
  14   manifested waste to the BKK Class I Facility. This manifested waste contained
  15   Hazardous Substances that Riverside Cement Co. generated and/or arranged for its
  16   disposal at the BKK Class I Facility. To date, Defendant Heidelberg Materials US,
  17   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  18   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         275. According to historical BKK Corp. records, Defendant Heist
  20   Maintenance Services Inc. contributed manifested waste to the BKK Class I
  21   Facility. This manifested waste contained Hazardous Substances that Defendant
  22   Heist Maintenance Services Inc. generated and/or arranged for its disposal at the
  23   BKK Class I Facility. To date, Defendant Heist Maintenance Services Inc. has not
  24   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  25   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         276. Upon information and belief, Defendant Henry Company LLC is the
  27   successor to Henry Company and/or otherwise liable for manifested waste that was
  28   contributed to the BKK Class I Facility by Henry Company. According to

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   1   historical BKK Corp. records, Henry Company contributed manifested waste to the
   2   BKK Class I Facility. This manifested waste contained Hazardous Substances that
   3   Henry Company generated and/or arranged for its disposal at the BKK Class I
   4   Facility. To date, Defendant Henry Company LLC has not incurred any costs at the
   5   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   6   at the BKK Class I Facility.
   7         277. According to historical BKK Corp. records, Defendant Henry Soss &
   8   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
   9   waste contained Hazardous Substances that Defendant Henry Soss & Co. Inc.
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   Defendant Henry Soss & Co. Inc. has not incurred any costs at the BKK Class I
  12   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  13   Class I Facility.
  14         278. Upon information and belief, Defendant Herco Technology Corp. is
  15   the successor to Industrial Circuits and/or otherwise liable for manifested waste that
  16   was contributed to the BKK Class I Facility by Industrial Circuits. According to
  17   historical BKK Corp. records, Industrial Circuits contributed manifested waste to
  18   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  19   that Industrial Circuits generated and/or arranged for its disposal at the BKK Class I
  20   Facility. To date, Defendant Herco Technology Corp. has not incurred any costs at
  21   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  22   Plaintiffs at the BKK Class I Facility.
  23         279. Upon information and belief, Defendant Heru Industries, Inc. is the
  24   successor to Electronic Reclamation Service and/or otherwise liable for manifested
  25   waste that was contributed to the BKK Class I Facility by Electronic Reclamation
  26   Service. According to historical BKK Corp. records, Electronic Reclamation
  27   Service contributed manifested waste to the BKK Class I Facility. This manifested
  28   waste contained Hazardous Substances that Electronic Reclamation Service

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   1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   2   Defendant Heru Industries, Inc. has not incurred any costs at the BKK Class I
   3   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   4   Class I Facility.
   5         280. Upon information and belief, Defendant Hess Corporation is the
   6   successor to American Pacific International Inc. and/or otherwise liable for
   7   manifested waste that was contributed to the BKK Class I Facility by American
   8   Pacific International Inc. According to historical BKK Corp. records, American
   9   Pacific International Inc. contributed manifested waste to the BKK Class I Facility.
  10   This manifested waste contained Hazardous Substances that American Pacific
  11   International Inc. generated and/or arranged for its disposal at the BKK Class I
  12   Facility. To date, Defendant Hess Corporation has not incurred any costs at the
  13   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  14   at the BKK Class I Facility.
  15         281. Upon information and belief, Defendant Hexcel Corporation is the
  16   successor to Panel Air Corp. and/or otherwise liable for manifested waste that was
  17   contributed to the BKK Class I Facility by Panel Air Corp. According to historical
  18   BKK Corp. records, Panel Air Corp. contributed manifested waste to the BKK
  19   Class I Facility. This manifested waste contained Hazardous Substances that Panel
  20   Air Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  21   date, Defendant Hexcel Corporation has not incurred any costs at the BKK Class I
  22   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  23   Class I Facility.
  24         282. According to historical BKK Corp. records, Defendant Hill Brothers
  25   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant Hill Brothers
  27   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
  28   Facility. To date, Defendant Hill Brothers Chemical Co. has not incurred any costs

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   1   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   2   Plaintiffs at the BKK Class I Facility.
   3         283. According to historical BKK Corp. records, Defendant Hillcrest
   4   Beverly Oil Corp. contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Defendant Hillcrest Beverly
   6   Oil Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
   7   date, Defendant Hillcrest Beverly Oil Corp. has not incurred any costs at the BKK
   8   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   9   BKK Class I Facility.
  10         284. According to historical BKK Corp. records, Defendant Hi-Shear Corp.
  11   contributed manifested waste to the BKK Class I Facility. This manifested waste
  12   contained Hazardous Substances that Defendant Hi-Shear Corp. generated and/or
  13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Hi-Shear
  14   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  15   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  16         285. According to historical BKK Corp. records, Defendant Hoffman
  17   Electronics contributed manifested waste to the BKK Class I Facility. This
  18   manifested waste contained Hazardous Substances that Defendant Hoffman
  19   Electronics generated and/or arranged for its disposal at the BKK Class I Facility.
  20   To date, Defendant Hoffman Electronics has not incurred any costs at the BKK
  21   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  22   BKK Class I Facility.
  23         286. According to historical BKK Corp. records, Defendant Hollytex
  24   Carpet Mills, Inc. contributed manifested waste to the BKK Class I Facility. This
  25   manifested waste contained Hazardous Substances that Defendant Hollytex Carpet
  26   Mills, Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  27   To date, Defendant Hollytex Carpet Mills, Inc. has not incurred any costs at the
  28   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs

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   1   at the BKK Class I Facility.
   2         287. Upon information and belief, Defendant Howmet Aerospace Inc. is the
   3   successor to Kaynar Manufacturing Co., TRE Corp. and/or Weslock Corp. and/or
   4   otherwise liable for manifested waste that was contributed to the BKK Class I
   5   Facility by Kaynar Manufacturing Co., TRE Corp. and/or Weslock Corp.
   6   According to historical BKK Corp. records, Kaynar Manufacturing Co., TRE Corp.
   7   and Weslock Corp. contributed manifested waste to the BKK Class I Facility. This
   8   manifested waste contained Hazardous Substances that Kaynar Manufacturing Co.,
   9   TRE Corp. and Weslock generated and/or arranged for its disposal at the BKK
  10   Class I Facility. To date, Defendant Howmet Aerospace Inc. has not incurred any
  11   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  12   the Plaintiffs at the BKK Class I Facility.
  13         288. Upon information and belief, Defendant Hoya Corporation USA is the
  14   successor to Electronic Materials Corp. and Hoya Lens of America Inc. and/or
  15   otherwise liable for manifested waste that was contributed to the BKK Class I
  16   Facility by Electronic Materials Corp. and Hoya Lens of America Inc. According
  17   to historical BKK Corp. records, Electronic Materials Corp. and Hoya Lens of
  18   America Inc. contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Electronic Materials Corp.
  20   and Hoya Lens of America Inc. generated and/or arranged for its disposal at the
  21   BKK Class I Facility. To date, Defendant Hoya Corporation USA has not incurred
  22   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  23   by the Plaintiffs at the BKK Class I Facility.
  24         289. According to historical BKK Corp. records, Defendant HR Textron
  25   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  26   waste contained Hazardous Substances that Defendant HR Textron Inc. generated
  27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant HR
  28   Textron Inc. has not incurred any costs at the BKK Class I Facility nor has it paid

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   1   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         290. Upon information and belief, Defendant HTW Industries Inc. is the
   3   successor to Durex Inc. and/or otherwise liable for manifested waste that was
   4   contributed to the BKK Class I Facility by Durex Inc. According to historical BKK
   5   Corp. records, Durex Inc. contributed manifested waste to the BKK Class I Facility.
   6   This manifested waste contained Hazardous Substances that Durex Inc. generated
   7   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   8   HTW Industries Inc. has not incurred any costs at the BKK Class I Facility nor has
   9   it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  10         291. According to historical BKK Corp. records, Defendant Humko
  11   Products (previously identified in this action and the related action as Humco
  12   Products) contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Humko Products
  14   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  15   Defendant Humko Products has not incurred any costs at the BKK Class I Facility
  16   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  17   Facility.
  18         292. Upon information and belief, Defendant Huntington/Pacific Ceramics,
  19   Inc. is the successor to Westminster Ceramics Inc. and/or otherwise liable for
  20   manifested waste that was contributed to the BKK Class I Facility by Westminster
  21   Ceramics Inc. According to historical BKK Corp. records, Westminster Ceramics
  22   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  23   waste contained Hazardous Substances that Westminster Ceramics Inc. generated
  24   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  25   Huntington/Pacific Ceramics, Inc. has not incurred any costs at the BKK Class I
  26   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  27   Class I Facility.
  28         293. Upon information and belief, Defendant Husqvarna Construction

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   1   Products North America, Inc. is the successor to McCulloch Corp. and/or otherwise
   2   liable for manifested waste that was contributed to the BKK Class I Facility by
   3   McCulloch Corp. According to historical BKK Corp. records, McCulloch Corp.
   4   contributed manifested waste to the BKK Class I Facility. This manifested waste
   5   contained Hazardous Substances that McCulloch Corp. generated and/or arranged
   6   for its disposal at the BKK Class I Facility. To date, Defendant Husqvarna
   7   Construction Products North America, Inc. has not incurred any costs at the BKK
   8   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   9   BKK Class I Facility.
  10         294. Upon information and belief, Defendant Hutchinson Aerospace &
  11   Industry, Inc. is the successor to Barry Wright Controls and/or otherwise liable for
  12   manifested waste that was contributed to the BKK Class I Facility by Barry Wright
  13   Controls. According to historical BKK Corp. records, Barry Wright Controls
  14   contributed manifested waste to the BKK Class I Facility. This manifested waste
  15   contained Hazardous Substances that Barry Wright Controls generated and/or
  16   arranged for its disposal at the BKK Class I Facility. To date, Defendant
  17   Hutchinson Aerospace & Industry, Inc. has not incurred any costs at the BKK Class
  18   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         295. According to historical BKK Corp. records, Defendant ICN
  21   Pharmaceuticals contributed manifested waste to the BKK Class I Facility. This
  22   manifested waste contained Hazardous Substances that Defendant ICN
  23   Pharmaceuticals generated and/or arranged for its disposal at the BKK Class I
  24   Facility. To date, Defendant ICN Pharmaceuticals has not incurred any costs at the
  25   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  26   at the BKK Class I Facility.
  27         296. Upon information and belief, Defendant ICX Industries, Inc. is the
  28   successor to JCX and/or otherwise liable for manifested waste that was contributed

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   1   to the BKK Class I Facility by JCX. According to historical BKK Corp. records,
   2   JCX contributed manifested waste to the BKK Class I Facility. This manifested
   3   waste contained Hazardous Substances that JCX generated and/or arranged for its
   4   disposal at the BKK Class I Facility. To date, Defendant ICX Industries, Inc. has
   5   not incurred any costs at the BKK Class I Facility nor has it paid its fair share of
   6   costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         297. Upon information and belief, Defendant ICX National, Inc. is the
   8   successor to JCX and/or otherwise liable for manifested waste that was contributed
   9   to the BKK Class I Facility by JCX. According to historical BKK Corp. records,
  10   JCX contributed manifested waste to the BKK Class I Facility. This manifested
  11   waste contained Hazardous Substances that JCX generated and/or arranged for its
  12   disposal at the BKK Class I Facility. To date, Defendant ICX National, Inc. has not
  13   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  14   incurred by the Plaintiffs at the BKK Class I Facility.
  15         298. According to historical BKK Corp. records, Defendant Imco Services
  16   contributed manifested waste to the BKK Class I Facility. This manifested waste
  17   contained Hazardous Substances that Defendant Imco Services generated and/or
  18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Imco
  19   Services has not incurred any costs at the BKK Class I Facility nor has it paid its
  20   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  21         299. Upon information and belief, Defendant IMI Critical Engineering LLC
  22   is the successor to Control Components Inc. and/or otherwise liable for manifested
  23   waste that was contributed to the BKK Class I Facility by Control Components Inc.
  24   According to historical BKK Corp. records, Control Components Inc. contributed
  25   manifested waste to the BKK Class I Facility. This manifested waste contained
  26   Hazardous Substances that Control Components Inc. generated and/or arranged for
  27   its disposal at the BKK Class I Facility. To date, Defendant IMI Critical
  28   Engineering LLC. has not incurred any costs at the BKK Class I Facility nor has it

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   1   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         300. According to historical BKK Corp. records, Defendant Industrial
   3   Circuits contributed manifested waste to the BKK Class I Facility. This manifested
   4   waste contained Hazardous Substances that Defendant Industrial Circuits generated
   5   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   6   Industrial Circuits has not incurred any costs at the BKK Class I Facility nor has it
   7   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   8         301. According to historical BKK Corp. records, Defendant Industrial
   9   Insulations Incorporated contributed manifested waste to the BKK Class I Facility.
  10   This manifested waste contained Hazardous Substances that Defendant Industrial
  11   Insulations Incorporated generated and/or arranged for its disposal at the BKK
  12   Class I Facility. To date, Defendant Industrial Insulations Incorporated has not
  13   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  14   incurred by the Plaintiffs at the BKK Class I Facility.
  15         302. According to historical BKK Corp. records, Defendant Industrial
  16   Tectonics Bearings Corporation (previously identified in this action and the related
  17   action as Industrial Tectonics Bearings) contributed manifested waste to the BKK
  18   Class I Facility. This manifested waste contained Hazardous Substances that
  19   Defendant Industrial Tectonics Bearings Corporation generated and/or arranged for
  20   its disposal at the BKK Class I Facility. To date, Defendant Industrial Tectonics
  21   Bearings Corporation has not incurred any costs at the BKK Class I Facility nor has
  22   it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         303. According to historical BKK Corp. records, Defendant Inland
  24   Container Corp. contributed manifested waste to the BKK Class I Facility. This
  25   manifested waste contained Hazardous Substances that Defendant Inland Container
  26   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  27   date, Defendant Inland Container Corp. has not incurred any costs at the BKK
  28   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the

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   1   BKK Class I Facility.
   2         304. Upon information and belief, Defendant Inland Paperboard and
   3   Packaging, Inc. is the successor to Inland Container Corp. and/or otherwise liable
   4   for manifested waste that was contributed to the BKK Class I Facility by Inland
   5   Container Corp. According to historical BKK Corp. records, Inland Container
   6   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
   7   waste contained Hazardous Substances that Inland Container Corp. generated
   8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   9   Inland Paperboard and Packaging, Inc. has not incurred any costs at the BKK Class
  10   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  11   Class I Facility.
  12         305. According to historical BKK Corp. records, Defendant International
  13   Polymer Corp. contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Defendant International
  15   Polymer Corp. generated and/or arranged for its disposal at the BKK Class I
  16   Facility. To date, Defendant International Polymer Corp. has not incurred any
  17   response costs at the BKK Class I Facility nor has it paid its fair share of response
  18   costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         306. According to historical BKK Corp. records, Defendant I.T. Corp.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant I.T. Corp. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant I.T. Corp.
  23   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  24   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         307. According to historical BKK Corp. records, Defendant ITT LLC
  26   and/or its predecessor ITT Corp. contributed manifested waste to the BKK Class I
  27   Facility. This manifested waste contained Hazardous Substances that Defendant
  28   ITT LLC and/or its predecessor ITT Corp. generated and/or arranged for its

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   1   disposal at the BKK Class I Facility. To date, Defendant ITT LLC has not incurred
   2   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
   3   by the Plaintiffs at the BKK Class I Facility.
   4         308. According to historical BKK Corp. records, Defendant J.C. Inc.
   5   contributed manifested waste to the BKK Class I Facility. This manifested waste
   6   contained Hazardous Substances that Defendant J.C. Inc. generated and/or arranged
   7   for its disposal at the BKK Class I Facility. To date, Defendant J.C. Inc. has not
   8   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
   9   incurred by the Plaintiffs at the BKK Class I Facility.
  10         309. Upon information and belief, Defendant JCI Environmental Services is
  11   the successor to J.C. Inc. and/or otherwise liable for manifested waste that was
  12   contributed to the BKK Class I Facility by J.C. Inc. According to historical BKK
  13   Corp. records, J.C. Inc. contributed manifested waste to the BKK Class I Facility.
  14   This manifested waste contained Hazardous Substances that J.C. Inc. generated
  15   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant JCI
  16   Environmental Services has not incurred any costs at the BKK Class I Facility nor
  17   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  18   Facility.
  19         310. According to historical BKK Corp. records, Defendant JCX
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant JCX generated and/or arranged for
  22   its disposal at the BKK Class I Facility. To date, Defendant JCX has not incurred
  23   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  24   by the Plaintiffs at the BKK Class I Facility.
  25         311. Upon information and belief, Defendant Jeld-Wen, Inc. is the
  26   successor to Windowmaster Products and/or otherwise liable for manifested waste
  27   that was contributed to the BKK Class I Facility by Windowmaster Products.
  28   According to historical BKK Corp. records, Windowmaster Products contributed

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   1   manifested waste to the BKK Class I Facility. This manifested waste contained
   2   Hazardous Substances that Windowmaster Products generated and/or arranged for
   3   its disposal at the BKK Class I Facility. To date, Defendant Jeld-Wen, Inc. has not
   4   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
   5   incurred by the Plaintiffs at the BKK Class I Facility.
   6         312. According to historical BKK Corp. records, Defendant Jersey Maid
   7   Milk Products Inc. contributed manifested waste to the BKK Class I Facility. This
   8   manifested waste contained Hazardous Substances that Defendant Jersey Maid
   9   Milk Products Inc. generated and/or arranged for its disposal at the BKK Class I
  10   Facility. To date, Defendant Jersey Maid Milk Products Inc. has not incurred any
  11   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  12   the Plaintiffs at the BKK Class I Facility.
  13         313. According to historical BKK Corp. records, Defendant Johnson
  14   Controls Inc. contributed manifested waste to the BKK Class I Facility. This
  15   manifested waste contained Hazardous Substances that Defendant Johnson Controls
  16   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Johnson Controls Inc. has not incurred any costs at the BKK Class I
  18   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         314. According to historical BKK Corp. records, Defendant Johnston Pump
  21   Co. contributed manifested waste to the BKK Class I Facility. This manifested
  22   waste contained Hazardous Substances that Defendant Johnston Pump Co.
  23   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  24   Defendant Johnston Pump Co. has not incurred any costs at the BKK Class I
  25   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  26   Class I Facility.
  27         315. According to historical BKK Corp. records, Defendant Jonathan
  28   Manufacturing Corp. contributed manifested waste to the BKK Class I Facility.

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   1   This manifested waste contained Hazardous Substances that Defendant Jonathan
   2   Manufacturing Corp. generated and/or arranged for its disposal at the BKK Class I
   3   Facility. To date, Defendant Jonathan Manufacturing Corp. has not incurred any
   4   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   5   the Plaintiffs at the BKK Class I Facility.
   6         316. According to historical BKK Corp. records, Defendant Joslyn
   7   Manufacturing & Supply Co. contributed manifested waste to the BKK Class I
   8   Facility. This manifested waste contained Hazardous Substances that Defendant
   9   Joslyn Manufacturing & Supply Co. generated and/or arranged for its disposal at
  10   the BKK Class I Facility. To date, Defendant Joslyn Manufacturing & Supply Co.
  11   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  12   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  13         317. Upon information and belief, Defendant Joslyn Manufacturing
  14   Company, LLC is the successor to Joslyn Manufacturing & Supply Co. and/or
  15   otherwise liable for manifested waste that was contributed to the BKK Class I
  16   Facility by Joslyn Manufacturing & Supply Co. According to historical BKK Corp.
  17   records, Joslyn Manufacturing & Supply Co. contributed manifested waste to the
  18   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  19   Joslyn Manufacturing & Supply Co. generated and/or arranged for its disposal at
  20   the BKK Class I Facility. To date, Defendant Joslyn Manufacturing Company, LLC
  21   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  22   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         318. According to historical BKK Corp. records, Defendant Kaiser Rollmet
  24   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  25   waste contained Hazardous Substances that Defendant Kaiser Rollmet Inc.
  26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  27   Defendant Kaiser Rollmet Inc. has not incurred any costs at the BKK Class I
  28   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK

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   1   Class I Facility.
   2         319. According to historical BKK Corp. records, Defendant Kaynar
   3   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Kaynar
   5   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
   6   Facility. To date, Defendant Kaynar Manufacturing Co. has not incurred any costs
   7   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   8   Plaintiffs at the BKK Class I Facility.
   9         320. Upon information and belief, Defendant Kelly Services, Inc. is the
  10   successor to Knudsen Corp. and/or otherwise liable for manifested waste that was
  11   contributed to the BKK Class I Facility by Knudsen Corp. According to historical
  12   BKK Corp. records, Knudsen Corp. contributed manifested waste to the BKK Class
  13   I Facility. This manifested waste contained Hazardous Substances that Knudsen
  14   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
  15   date, Defendant Kelly Services, Inc. has not incurred any costs at the BKK Class I
  16   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  17   Class I Facility.
  18         321. Upon information and belief, Defendant Kerr-McGee Chemical
  19   Worldwide LLC is the successor to Sun Exploration and/or otherwise liable for
  20   manifested waste that was contributed to the BKK Class I Facility by Sun
  21   Exploration. According to historical BKK Corp. records, Sun Exploration
  22   contributed manifested waste to the BKK Class I Facility. This manifested waste
  23   contained Hazardous Substances that Sun Exploration generated and/or arranged
  24   for its disposal at the BKK Class I Facility. To date, Defendant Kerr-McGee
  25   Chemical Worldwide LLC has not incurred any costs at the BKK Class I Facility
  26   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  27   Facility.
  28         322. According to historical BKK Corp. records, Defendant Keuffel &

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   1   Esser Co. contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Keuffel & Esser
   3   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   4   Defendant Keuffel & Esser Co. has not incurred any costs at the BKK Class I
   5   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   6   Class I Facility.
   7         323. According to historical BKK Corp. records, Defendant Kinder Morgan
   8   Energy Partners, L.P. contributed manifested waste to the BKK Class I Facility.
   9   This manifested waste contained Hazardous Substances that Defendant Kinder
  10   Morgan Energy Partners, L.P. generated and/or arranged for its disposal at the BKK
  11   Class I Facility. To date, Defendant Kinder Morgan Energy Partners, L.P. has not
  12   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  13   incurred by the Plaintiffs at the BKK Class I Facility.
  14         324. Upon information and belief, Defendant Kinder Morgan Energy
  15   Partners, L.P. is the successor to Cal Nev Pipeline Co., GATX, GATX Terminals
  16   Corp., San Diego Pipe Line Co., Southern Pacific Pipe Lines, Inc. and/or Tenneco
  17   Oil Co. and/or otherwise liable for manifested waste that was contributed to the
  18   BKK Class I Facility by Cal Nev Pipeline Co., GATX, GATX Terminals Corp.,
  19   San Diego Pipe Line Co., Southern Pacific Pipe Lines, Inc. and/or Tenneco Oil Co.
  20   According to historical BKK Corp. records, Cal Nev Pipeline Co., GATX, GATX
  21   Terminals Corp., San Diego Pipe Line Co., Southern Pacific Pipe Lines, Inc. and
  22   Tenneco Oil Co. contributed manifested waste to the BKK Class I Facility. This
  23   manifested waste contained Hazardous Substances that Cal Nev Pipeline Co.,
  24   GATX, GATX Terminals Corp., San Diego Pipe Line Co., Southern Pacific Pipe
  25   Lines, Inc. and Tenneco Oil Co. generated and/or arranged for its disposal at the
  26   BKK Class I Facility. To date, Defendant Kinder Morgan Energy Partners, L.P. has
  27   not incurred any costs at the BKK Class I Facility nor has it paid its fair share of
  28   costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         325. According to historical BKK Corp. records, Defendant Knudsen Corp.
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Defendant Knudsen Corp. generated and/or
   4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Knudsen
   5   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   6   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         326. According to historical BKK Corp. records, Defendant Koch Asphalt
   8   Co. Oil contributed manifested waste to the BKK Class I Facility. This manifested
   9   waste contained Hazardous Substances that Defendant Koch Asphalt Co. Oil
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   Defendant Koch Asphalt Co. Oil has not incurred any response costs at the BKK
  12   Class I Facility nor has it paid its fair share of response costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         327. Upon information and belief, Defendant Konica Photo Service U.S.A.,
  15   Inc. is the successor to Fotomat Labs Inc. and/or otherwise liable for manifested
  16   waste that was contributed to the BKK Class I Facility by Fotomat Labs Inc.
  17   According to historical BKK Corp. records, Fotomat Labs Inc. contributed
  18   manifested waste to the BKK Class I Facility. This manifested waste contained
  19   Hazardous Substances that Fotomat Labs Inc. generated and/or arranged for its
  20   disposal at the BKK Class I Facility. To date, Defendant Konica Photo Service
  21   U.S.A., Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its
  22   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         328. Upon information and belief, Defendant Korbel Capital LLC is the
  24   successor to Davis Investment Co. and/or otherwise liable for manifested waste that
  25   was contributed to the BKK Class I Facility by Davis Investment Co. According to
  26   historical BKK Corp. records, Davis Investment Co. contributed manifested waste
  27   to the BKK Class I Facility. This manifested waste contained Hazardous
  28   Substances that Davis Investment Co. generated and/or arranged for its disposal at

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   1   the BKK Class I Facility. To date, Defendant Korbel Capital LLC has not incurred
   2   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
   3   by the Plaintiffs at the BKK Class I Facility.
   4         329. Upon information and belief, Defendant Kraft Heinz Foods Company
   5   is the successor to Humko Products (previously identified in this action and the
   6   related action as Humco Products) and/or otherwise liable for manifested waste that
   7   was contributed to the BKK Class I Facility by Humko Products. According to
   8   historical BKK Corp. records, Humko Products contributed manifested waste to the
   9   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  10   Humko Products generated and/or arranged for its disposal at the BKK Class I
  11   Facility. To date, Defendant Kraft Heinz Foods Company has not incurred any
  12   response costs at the BKK Class I Facility nor has it paid its fair share of response
  13   costs incurred by the Plaintiffs at the BKK Class I Facility.
  14         330. According to historical BKK Corp. records, Defendant Krazy Glue
  15   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  16   waste contained Hazardous Substances that Defendant Krazy Glue Inc. generated
  17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  18   Krazy Glue Inc. has not incurred any costs at the BKK Class I Facility nor has it
  19   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         331. Upon information and belief, Defendant Lanxess Corporation is the
  21   successor to Purex Corp. and/or otherwise liable for manifested waste that was
  22   contributed to the BKK Class I Facility by Purex Corp. According to historical
  23   BKK Corp. records, Purex Corp. contributed manifested waste to the BKK Class I
  24   Facility. This manifested waste contained Hazardous Substances that Purex Corp.
  25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  26   Defendant Lanxess Corporation has not incurred any costs at the BKK Class I
  27   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  28   Class I Facility.

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   1         332. According to historical BKK Corp. records, Defendant Liquid Waste
   2   Management contributed manifested waste to the BKK Class I Facility. This
   3   manifested waste contained Hazardous Substances that Defendant Liquid Waste
   4   Management generated and/or arranged for its disposal at the BKK Class I Facility.
   5   To date, Defendant Liquid Waste Management has not incurred any costs at the
   6   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   7   at the BKK Class I Facility.
   8         333. Upon information and belief, Defendant Lisi Aerospace North
   9   America, Inc. is the successor to Mercury Aerospace Fasteners and/or otherwise
  10   liable for manifested waste that was contributed to the BKK Class I Facility by
  11   Mercury Aerospace Fasteners. According to historical BKK Corp. records,
  12   Mercury Aerospace Fasteners contributed manifested waste to the BKK Class I
  13   Facility. This manifested waste contained Hazardous Substances that Mercury
  14   Aerospace Fasteners generated and/or arranged for its disposal at the BKK Class I
  15   Facility. To date, Defendant Lisi Aerospace North America, Inc. has not incurred
  16   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  17   by the Plaintiffs at the BKK Class I Facility.
  18         334. According to historical BKK Corp. records, Defendant Lockhart
  19   Industries contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant Lockhart
  21   Industries generated and/or arranged for its disposal at the BKK Class I Facility.
  22   To date, Defendant Lockhart Industries has not incurred any response costs at the
  23   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
  24   Plaintiffs at the BKK Class I Facility.
  25         335. According to historical BKK Corp. records, Defendant Long Beach
  26   Fabricators Inc. contributed manifested waste to the BKK Class I Facility. This
  27   manifested waste contained Hazardous Substances that Defendant Long Beach
  28   Fabricators Inc. generated and/or arranged for its disposal at the BKK Class I

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   1   Facility. To date, Defendant Long Beach Fabricators Inc. has not incurred any costs
   2   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         336. According to historical BKK Corp. records, Defendant Lonza Inc.
   5   contributed manifested waste to the BKK Class I Facility. This manifested waste
   6   contained Hazardous Substances that Defendant Lonza Inc. generated and/or
   7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Lonza Inc.
   8   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
   9   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  10         337. Upon information and belief, Defendant Lonza Inc. is the successor to
  11   Cyclo Chemical Co., Balenco Enterprises and/or Pacific Anchor Chemical Corp.
  12   and/or otherwise liable for manifested waste that was contributed to the BKK Class
  13   I Facility by Cyclo Chemical Co., Balenco Enterprises and/or Pacific Anchor
  14   Chemical Corp. According to historical BKK Corp. records, Cyclo Chemical Co.,
  15   Balenco Enterprises and Pacific Anchor Chemical Corp. contributed manifested
  16   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  17   Substances that Cyclo Chemical Co., Balenco Enterprises and Pacific Anchor
  18   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
  19   Facility. To date, Defendant Lonza Inc. has not incurred any costs at the BKK Class
  20   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  21   Class I Facility.
  22         338. According to historical BKK Corp. records, Defendant Los Angeles
  23   Gauge Co. contributed manifested waste to the BKK Class I Facility. This
  24   manifested waste contained Hazardous Substances that Defendant Los Angeles
  25   Gauge Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  26   To date, Defendant Los Angeles Gauge Co. has not incurred any costs at the BKK
  27   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  28   BKK Class I Facility.

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   1         339. According to historical BKK Corp. records, Defendant Los Angeles
   2   Plating Co. contributed manifested waste to the BKK Class I Facility. This
   3   manifested waste contained Hazardous Substances that Defendant Los Angeles
   4   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
   5   To date, Defendant Los Angeles Plating Co. has not incurred any costs at the BKK
   6   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   7   BKK Class I Facility.
   8         340. According to historical BKK Corp. records, Defendant Lucky Stores
   9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  10   waste contained Hazardous Substances that Defendant Lucky Stores Inc. generated
  11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  12   Lucky Stores Inc. has not incurred any costs at the BKK Class I Facility nor has it
  13   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  14         341. According to historical BKK Corp. records, Defendant Lumidor
  15   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Lumidor
  17   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
  18   Facility. To date, Defendant Lumidor Manufacturing Co. has not incurred any costs
  19   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  20   Plaintiffs at the BKK Class I Facility.
  21         342. Upon information and belief, Defendant M-I L.L.C aka and/or dba M-
  22   I Swaco is the successor to Imco Services and/or otherwise liable for manifested
  23   waste that was contributed to the BKK Class I Facility by Imco Services.
  24   According to historical BKK Corp. records, Imco Services contributed manifested
  25   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  26   Substances that Imco Services generated and/or arranged for its disposal at the
  27   BKK Class I Facility. To date, Defendant M-I L.L.C aka and/or dba M-I Swaco has
  28   not incurred any costs at the BKK Class I Facility nor has it paid its fair share of

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   1   costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         343. According to historical BKK Corp. records, Defendant Macdermid
   3   Printing Solutions contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Macdermid
   5   Printing Solutions generated and/or arranged for its disposal at the BKK Class I
   6   Facility. To date, Defendant Macdermid Printing Solutions has not incurred any
   7   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   8   the Plaintiffs at the BKK Class I Facility.
   9         344. According to historical BKK Corp. records, Defendant Mack Trucks
  10   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  11   waste contained Hazardous Substances that Defendant Mack Trucks Inc. generated
  12   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  13   Mack Trucks Inc. has not incurred any costs at the BKK Class I Facility nor has it
  14   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         345. Upon information and belief, Defendant Maersk Line, Limited (MLL)
  16   is the successor to Sea Land Service Inc. and/or otherwise liable for manifested
  17   waste that was contributed to the BKK Class I Facility by Sea Land Service Inc.
  18   According to historical BKK Corp. records, Sea Land Service Inc. contributed
  19   manifested waste to the BKK Class I Facility. This manifested waste contained
  20   Hazardous Substances that Sea Land Service Inc. generated and/or arranged for its
  21   disposal at the BKK Class I Facility. To date, Defendant Maersk Line, Limited
  22   (MLL) has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  23   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         346. Upon information and belief, Defendant Manhattan Beach Holding
  25   Corp. is the successor to Fairchild Industries and/or is otherwise liable for
  26   manifested waste that was contributed to the BKK Class I Facility by Fairchild
  27   Industries. According to historical BKK Corp. records, Fairchild Industries
  28   contributed manifested waste to the BKK Class I Facility. This manifested waste

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   1   contained Hazardous Substances that Fairchild Industries generated and/or arranged
   2   for its disposal at the BKK Class I Facility. To date, Defendant Manhattan Beach
   3   Holding Corp. has not incurred any costs at the BKK Class I Facility nor has it paid
   4   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   5         347. According to historical BKK Corp. records, Defendant Marco
   6   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
   7   manifested waste contained Hazardous Substances that Defendant Marco Chemical
   8   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   9   Defendant Marco Chemical Co. has not incurred any costs at the BKK Class I
  10   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  11   Class I Facility.
  12         348. According to historical BKK Corp. records, Defendant Marten
  13   Management Co. contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Defendant Marten
  15   Management Co. generated and/or arranged for its disposal at the BKK Class I
  16   Facility. To date, Defendant Marten Management Co. has not incurred any costs at
  17   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  18   Plaintiffs at the BKK Class I Facility.
  19         349. Upon information and belief, Defendant Masco Corporation is the
  20   successor to Standard Brands Paint Co. Inc. and/or otherwise liable for manifested
  21   waste that was contributed to the BKK Class I Facility by Standard Brands Paint
  22   Co. Inc. According to historical BKK Corp. records, Standard Brands Paint Co.
  23   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  24   waste contained Hazardous Substances that Standard Brands Paint Co. Inc.
  25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  26   Defendant Masco Corporation has not incurred any costs at the BKK Class I
  27   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  28   Class I Facility.

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   1         350. Upon information and belief, Defendant Mazda Motor of America,
   2   Inc. is the successor to Mazda North America and/or otherwise liable for
   3   manifested waste that was contributed to the BKK Class I Facility by Mazda North
   4   America. According to historical BKK Corp. records, Mazda North America
   5   contributed manifested waste to the BKK Class I Facility. This manifested waste
   6   contained Hazardous Substances that Mazda North America generated and/or
   7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Mazda
   8   Motor of America, Inc. has not incurred any costs at the BKK Class I Facility nor
   9   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  10   Facility.
  11         351. According to historical BKK Corp. records, Defendant Mazda North
  12   America contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Mazda North
  14   America generated and/or arranged for its disposal at the BKK Class I Facility. To
  15   date, Defendant Mazda North America has not incurred any costs at the BKK Class
  16   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  17   Class I Facility.
  18         352. According to historical BKK Corp. records, Defendant MCA
  19   Laboratories contributed manifested waste to the BKK Class I Facility. This
  20   manifested waste contained Hazardous Substances that Defendant MCA
  21   Laboratories generated and/or arranged for its disposal at the BKK Class I Facility.
  22   To date, Defendant MCA Laboratories has not incurred any costs at the BKK Class
  23   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  24   Class I Facility.
  25         353. According to historical BKK Corp. records, Defendant McCulloch
  26   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
  27   waste contained Hazardous Substances that Defendant McCulloch Corp. generated
  28   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant

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   1   McCulloch Corp. has not incurred any response costs at the BKK Class I Facility
   2   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
   3   Class I Facility.
   4         354. According to historical BKK Corp. records, Defendant McKay
   5   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant McKay
   7   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
   8   Facility. To date, Defendant McKay Chemical Co. has not incurred any costs at the
   9   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  10   at the BKK Class I Facility.
  11         355. Upon information and belief, Defendant Mead Johnson & Company is
  12   the successor to Drackett Co. and/or otherwise liable for manifested waste that was
  13   contributed to the BKK Class I Facility by Drackett Co. According to historical
  14   BKK Corp. records, Drackett Co. contributed manifested waste to the BKK Class I
  15   Facility. This manifested waste contained Hazardous Substances that Drackett Co.
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Mead Johnson & Company has not incurred any costs at the BKK Class
  18   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         356. Upon information and belief, Defendant Merchants Metals LLC is the
  21   successor to Anchor Post Products Inc. and/or otherwise liable for manifested waste
  22   that was contributed to the BKK Class I Facility by Anchor Post Products Inc.
  23   According to historical BKK Corp. records, Anchor Post Products Inc. contributed
  24   manifested waste to the BKK Class I Facility. This manifested waste contained
  25   Hazardous Substances that Anchor Post Products Inc. generated and/or arranged for
  26   its disposal at the BKK Class I Facility. To date, Defendant Merchants Metals LLC
  27   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  28   of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         357. Upon information and belief, Defendant Mercury Aerospace Inc. is the
   2   successor to Mercury Aerospace Fasteners and/or otherwise liable for manifested
   3   waste that was contributed to the BKK Class I Facility by Mercury Aerospace
   4   Fasteners. According to historical BKK Corp. records, Mercury Aerospace
   5   Fasteners contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Mercury Aerospace
   7   Fasteners generated and/or arranged for its disposal at the BKK Class I Facility. To
   8   date, Defendant Mercury Aerospace Inc. has not incurred any costs at the BKK
   9   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  10   BKK Class I Facility.
  11         358. According to historical BKK Corp. records, Defendant Mercury
  12   Aerospace Fasteners contributed manifested waste to the BKK Class I Facility.
  13   This manifested waste contained Hazardous Substances that Defendant Mercury
  14   Aerospace Fasteners generated and/or arranged for its disposal at the BKK Class I
  15   Facility. To date, Defendant Mercury Aerospace Fasteners has not incurred any
  16   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  17   the Plaintiffs at the BKK Class I Facility.
  18         359. According to historical BKK Corp. records, Defendant Merel Co. Inc.
  19   contributed manifested waste to the BKK Class I Facility. This manifested waste
  20   contained Hazardous Substances that Defendant Merel Co. Inc. generated and/or
  21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Merel Co.
  22   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  23   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         360. According to historical BKK Corp. records, Defendant Metal Box Can
  25   contributed manifested waste to the BKK Class I Facility. This manifested waste
  26   contained Hazardous Substances that Defendant Metal Box Can generated and/or
  27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Metal
  28   Box Can has not incurred any costs at the BKK Class I Facility nor has it paid its

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   1   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         361. According to historical BKK Corp. records, Defendant MGF
   3   Industries contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant MGF Industries
   5   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   6   Defendant MGF Industries has not incurred any costs at the BKK Class I Facility
   7   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   8   Facility.
   9         362. Upon information and belief, Defendant Mission Systems Davenport
  10   Inc. is the successor to Sargent Fletcher Inc. and/or otherwise liable for manifested
  11   waste that was contributed to the BKK Class I Facility by Sargent Fletcher Inc.
  12   According to historical BKK Corp. records, Sargent Fletcher Inc. contributed
  13   manifested waste to the BKK Class I Facility. This manifested waste contained
  14   Hazardous Substances that Sargent Fletcher Inc. generated and/or arranged for its
  15   disposal at the BKK Class I Facility. To date, Defendant Mission Systems
  16   Davenport Inc. has not incurred any costs at the BKK Class I Facility nor has it
  17   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  18         363. According to historical BKK Corp. records, Defendant
  19   Monogram/Peacock Manufacturing contributed manifested waste to the BKK Class
  20   I Facility. This manifested waste contained Hazardous Substances that Defendant
  21   Monogram/Peacock Manufacturing generated and/or arranged for its disposal at the
  22   BKK Class I Facility. To date, Defendant Monogram/Peacock Manufacturing has
  23   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
  24   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         364. Upon information and belief, Defendant Mr. Gasket Company is the
  26   successor to Cragar Industries and/or Peat Manufacturing Co. and/or otherwise
  27   liable for manifested waste that was contributed to the BKK Class I Facility by
  28   Cragar Industries and/or Peat Manufacturing Co. According to historical BKK

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   1   Corp. records, Cragar Industries and/or Peat Manufacturing Co. contributed
   2   manifested waste to the BKK Class I Facility. This manifested waste contained
   3   Hazardous Substances that Cragar Industries and/or Peat Manufacturing Co.
   4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   5   Defendant Mr. Gasket Company has not incurred any costs at the BKK Class I
   6   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   7   Class I Facility.
   8         365. Upon information and belief, Defendant MRC Holdings, Inc. is the
   9   successor to American Can Company and/or U.S. Reduction Co. and/or otherwise
  10   liable for manifested waste that was contributed to the BKK Class I Facility by
  11   American Can Company and/or U.S. Reduction Co.. According to historical BKK
  12   Corp. records, American Can Company and U.S. Reduction Co. contributed
  13   manifested waste to the BKK Class I Facility. This manifested waste contained
  14   Hazardous Substances that American Can Company and U.S. Reduction Co.
  15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  16   Defendant MRC Holdings, Inc. has not incurred any costs at the BKK Class I
  17   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  18   Class I Facility.
  19         366. Upon information and belief, Defendant Narco Chemical is the
  20   successor to Narco Corporation and/or otherwise liable for manifested waste that
  21   was contributed to the BKK Class I Facility by Narco Corporation. According to
  22   historical BKK Corp. records, Narco Corporation contributed manifested waste to
  23   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  24   that Narco Corporation generated and/or arranged for its disposal at the BKK Class
  25   I Facility. To date, Defendant Narco Chemical has not incurred any costs at the
  26   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  27   at the BKK Class I Facility.
  28         367. According to historical BKK Corp. records, Defendant Narco

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   1   Corporation contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Narco
   3   Corporation generated and/or arranged for its disposal at the BKK Class I Facility.
   4   To date, Defendant Narco Corporation has not incurred any costs at the BKK Class
   5   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   6   Class I Facility.
   7         368. According to historical BKK Corp. records, Defendant Narmco
   8   Materials Inc. contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Narmco
  10   Materials Inc. generated and/or arranged for its disposal at the BKK Class I
  11   Facility. To date, Defendant Narmco Materials Inc. has not incurred any costs at the
  12   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  13   at the BKK Class I Facility.
  14         369. Upon information and belief, Defendant NavCom Defense Electronics,
  15   Inc. is the successor to Hoffman Electronics and/or otherwise liable for manifested
  16   waste that was contributed to the BKK Class I Facility by Hoffman Electronics.
  17   According to historical BKK Corp. records, Hoffman Electronics contributed
  18   manifested waste to the BKK Class I Facility. This manifested waste contained
  19   Hazardous Substances that Hoffman Electronics generated and/or arranged for its
  20   disposal at the BKK Class I Facility. To date, Defendant NavCom Defense
  21   Electronics, Inc. has not incurred any costs at the BKK Class I Facility nor has it
  22   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         370. Upon information and belief, Defendant NEC Liquidation Corp.
  24   (previously identified in this action as GWB (US), Inc.) is the successor to
  25   Networks Electronic and/or otherwise liable for manifested waste that was
  26   contributed to the BKK Class I Facility by Networks Electronic. According to
  27   historical BKK Corp. records, Networks Electronic contributed manifested waste to
  28   the BKK Class I Facility. This manifested waste contained Hazardous Substances

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   1   that Networks Electronic generated and/or arranged for its disposal at the BKK
   2   Class I Facility. To date, Defendant NEC Liquidation Corp. has not incurred any
   3   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   4   the Plaintiffs at the BKK Class I Facility.
   5         371. Upon information and belief, Defendant New Bristol Farms, Inc. is the
   6   successor to Gold Pack Meat Co. and/or otherwise liable for manifested waste that
   7   was contributed to the BKK Class I Facility by Gold Pack Meat Co. According to
   8   historical BKK Corp. records, Gold Pack Meat Co. contributed manifested waste to
   9   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  10   that Gold Pack Meat Co. generated and/or arranged for its disposal at the BKK
  11   Class I Facility. To date, Defendant New Bristol Farms, Inc. has not incurred any
  12   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  13   the Plaintiffs at the BKK Class I Facility.
  14         372. Upon information and belief, Defendant Newell Brands Inc. is the
  15   successor to Krazy Glue Inc. and/or otherwise liable for manifested waste that was
  16   contributed to the BKK Class I Facility by Krazy Glue Inc. According to historical
  17   BKK Corp. records, Krazy Glue Inc. contributed manifested waste to the BKK
  18   Class I Facility. This manifested waste contained Hazardous Substances that Krazy
  19   Glue Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
  20   date, Defendant Newell Brands Inc. has not incurred any costs at the BKK Class I
  21   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  22   Class I Facility.
  23         373. According to historical BKK Corp. records, Defendant New Fashion
  24   Cleaners contributed manifested waste to the BKK Class I Facility. This manifested
  25   waste contained Hazardous Substances that Defendant New Fashion Cleaners
  26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  27   Defendant New Fashion Cleaners has not incurred any costs at the BKK Class I
  28   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK

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   1   Class I Facility.
   2         374. According to historical BKK Corp. records, Defendant Nippondenso
   3   of Los Angeles contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Nippondenso of
   5   Los Angeles generated and/or arranged for its disposal at the BKK Class I Facility.
   6   To date, Defendant Nippondenso of Los Angeles has not incurred any costs at the
   7   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   8   at the BKK Class I Facility.
   9         375. According to historical BKK Corp. records, Defendant North
  10   American Car Corp. contributed manifested waste to the BKK Class I Facility.
  11   This manifested waste contained Hazardous Substances that Defendant North
  12   American Car Corp. generated and/or arranged for its disposal at the BKK Class I
  13   Facility. To date, Defendant North American Car Corp. has not incurred any costs
  14   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  15   Plaintiffs at the BKK Class I Facility.
  16         376. According to historical BKK Corp. records, Defendant North
  17   American Environmental contributed manifested waste to the BKK Class I Facility.
  18   This manifested waste contained Hazardous Substances that Defendant North
  19   American Environmental generated and/or arranged for its disposal at the BKK
  20   Class I Facility. To date, Defendant North American Environmental has not
  21   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  22   incurred by the Plaintiffs at the BKK Class I Facility.
  23         377. According to historical BKK Corp. records, Defendant Northrop
  24   Pacific contributed manifested waste to the BKK Class I Facility. This manifested
  25   waste contained Hazardous Substances that Defendant Northrop Pacific generated
  26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  27   Northrop Pacific has not incurred any costs at the BKK Class I Facility nor has it
  28   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         378. Upon information and belief, Defendant Norwest Equity Partners is
   2   the successor to Douglas Furniture of California and/or otherwise liable for
   3   manifested waste that was contributed to the BKK Class I Facility by Douglas
   4   Furniture of California. According to historical BKK Corp. records, Douglas
   5   Furniture of California contributed manifested waste to the BKK Class I Facility.
   6   This manifested waste contained Hazardous Substances that Douglas Furniture of
   7   California generated and/or arranged for its disposal at the BKK Class I Facility. To
   8   date, Defendant Norwest Equity Partners has not incurred any costs at the BKK
   9   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  10   BKK Class I Facility.
  11         379. Upon information and belief, Defendant Novartis Corp. is the
  12   successor to Panel Air Corp., M&T Chemicals, Furane Products Company, and/or
  13   Deco Manufacturing and/or otherwise liable for manifested waste that was
  14   contributed to the BKK Class I Facility by Panel Air Corp, M&T Chemicals,
  15   Furane Products Company and Deco Manufacturing. According to historical BKK
  16   Corp. records, Panel Air Corp., M&T Chemicals, Furane Products Company and
  17   Deco Manufacturing contributed manifested waste to the BKK Class I Facility.
  18   This manifested waste contained Hazardous Substances that Panel Air Corp., M&T
  19   Chemicals, Furane Products Company and Deco Manufacturing generated and/or
  20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Novartis
  21   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
  22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  23   Facility.
  24         380. According to historical BKK Corp. records, Defendant Old Quaker
  25   Paint Co. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant Old Quaker Paint
  27   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  28   Defendant Old Quaker Paint Co. has not incurred any costs at the BKK Class I

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   1   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   2   Class I Facility.
   3         381. According to historical BKK Corp. records, Defendant Orange County
   4   Sanitation District contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Defendant Orange County
   6   Sanitation District generated and/or arranged for its disposal at the BKK Class I
   7   Facility. To date, Defendant Orange County Sanitation District has not incurred any
   8   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   9   the Plaintiffs at the BKK Class I Facility.
  10         382. Upon information and belief, Defendant Oryx Energy Company is the
  11   successor to Sun Exploration and/or otherwise liable for manifested waste that was
  12   contributed to the BKK Class I Facility by Sun Exploration. According to historical
  13   BKK Corp. records, Sun Exploration contributed manifested waste to the BKK
  14   Class I Facility. This manifested waste contained Hazardous Substances that Sun
  15   Exploration generated and/or arranged for its disposal at the BKK Class I Facility.
  16   To date, Defendant Oryx Energy Company has not incurred any costs at the BKK
  17   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  18   BKK Class I Facility.
  19         383. According to historical BKK Corp. records, Defendant Pacific Anchor
  20   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Defendant Pacific Anchor
  22   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
  23   Facility. To date, Defendant Pacific Anchor Chemical Corp. has not incurred any
  24   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  25   the Plaintiffs at the BKK Class I Facility.
  26         384. According to historical BKK Corp. records, Defendant Pacific
  27   Intermountain Express contributed manifested waste to the BKK Class I Facility.
  28   This manifested waste contained Hazardous Substances that Defendant Pacific

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   1   Intermountain Express generated and/or arranged for its disposal at the BKK Class
   2   I Facility. To date, Defendant Pacific Intermountain Express has not incurred any
   3   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   4   the Plaintiffs at the BKK Class I Facility.
   5         385. According to historical BKK Corp. records, Defendant Pacific
   6   Southwest Airlines contributed manifested waste to the BKK Class I Facility. This
   7   manifested waste contained Hazardous Substances that Defendant Pacific
   8   Southwest Airlines generated and/or arranged for its disposal at the BKK Class I
   9   Facility. To date, Defendant Pacific Southwest Airlines has not incurred any costs
  10   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  11   Plaintiffs at the BKK Class I Facility.
  12         386. According to historical BKK Corp. records, Defendant Packaging
  13   Corp. of America contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Defendant Packaging Corp.
  15   of America generated and/or arranged for its disposal at the BKK Class I Facility.
  16   To date, Defendant Packaging Corp. of America has not incurred any costs at the
  17   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  18   at the BKK Class I Facility.
  19         387. According to historical BKK Corp. records, Defendant Pactiv LLC
  20   and/or its predecessor A. & E. Plastics Co. contributed manifested waste to the
  21   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  22   Defendant Pactiv LLC and/or its predecessor A. & E. Plastics Co. generated and/or
  23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pactiv
  24   LLC has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  25   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         388. According to historical BKK Corp. records, Defendant Paint &
  27   Coatings Corp. contributed manifested waste to the BKK Class I Facility. This
  28   manifested waste contained Hazardous Substances that Defendant Paint & Coatings

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   1   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
   2   date, Defendant Paint & Coatings Corp. has not incurred any costs at the BKK
   3   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   4   BKK Class I Facility.
   5         389. According to historical BKK Corp. records, Defendant Panel Air Corp.
   6   contributed manifested waste to the BKK Class I Facility. This manifested waste
   7   contained Hazardous Substances that Defendant Panel Air Corp. generated and/or
   8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Panel Air
   9   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
  10   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
  11   Facility.
  12         390. Upon information and belief, Defendant Parsons Corporation is the
  13   successor to Ralph M. Parsons Co. and/or otherwise liable for manifested waste that
  14   was contributed to the BKK Class I Facility by Ralph M. Parsons Co. According to
  15   historical BKK Corp. records, Ralph M. Parsons Co. contributed manifested waste
  16   to the BKK Class I Facility. This manifested waste contained Hazardous
  17   Substances that Ralph M. Parsons Co. generated and/or arranged for its disposal at
  18   the BKK Class I Facility. To date, Defendant Parsons Corporation has not incurred
  19   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  20   by the Plaintiffs at the BKK Class I Facility.
  21         391. According to historical BKK Corp. records, Defendant Pauley
  22   Petroleum Co. contributed manifested waste to the BKK Class I Facility. This
  23   manifested waste contained Hazardous Substances that Defendant Pauley
  24   Petroleum Co. generated and/or arranged for its disposal at the BKK Class I
  25   Facility. To date, Defendant Pauley Petroleum Co. has not incurred any costs at the
  26   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  27   at the BKK Class I Facility.
  28         392. Upon information and belief, Defendant PCC Rollmet, Inc. is the

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   1   successor to Kaiser Rollmet Inc. and/or otherwise liable for manifested waste that
   2   was contributed to the BKK Class I Facility by Kaiser Rollmet Inc. According to
   3   historical BKK Corp. records, Kaiser Rollmet Inc. contributed manifested waste to
   4   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   5   that Kaiser Rollmet Inc. generated and/or arranged for its disposal at the BKK Class
   6   I Facility. To date, Defendant PCC Rollmet, Inc. has not incurred any costs at the
   7   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   8   at the BKK Class I Facility.
   9         393. According to historical BKK Corp. records, Defendant Peairs
  10   Engineers contributed manifested waste to the BKK Class I Facility. This
  11   manifested waste contained Hazardous Substances that Defendant Peairs Engineers
  12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  13   Defendant Peairs Engineers has not incurred any costs at the BKK Class I Facility
  14   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  15   Facility.
  16         394. According to historical BKK Corp. records, Defendant Peat
  17   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
  18   manifested waste contained Hazardous Substances that Defendant Peat
  19   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
  20   Facility. To date, Defendant Peat Manufacturing Co. has not incurred any costs at
  21   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  22   Plaintiffs at the BKK Class I Facility.
  23         395. Upon information and belief, Defendant Penske Logistics Corp. is the
  24   successor to Balser Trucking and/or otherwise liable for manifested waste that was
  25   contributed to the BKK Class I Facility by Balser Trucking. According to historical
  26   BKK Corp. records, Balser Trucking contributed manifested waste to the BKK
  27   Class I Facility. This manifested waste contained Hazardous Substances that Balser
  28   Trucking generated and/or arranged for its disposal at the BKK Class I Facility. To

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   1   date, Defendant Penske Logistics Corp. has not incurred any response costs at the
   2   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
   3   Plaintiffs at the BKK Class I Facility.
   4         396. Upon information and belief, Defendant Per-Olof Loof Family
   5   Foundation, Inc. is the successor to Wells Marine Inc. and/or otherwise liable for
   6   manifested waste that was contributed to the BKK Class I Facility by Wells Marine
   7   Inc. According to historical BKK Corp. records, Wells Marine Inc. contributed
   8   manifested waste to the BKK Class I Facility. This manifested waste contained
   9   Hazardous Substances that Wells Marine Inc. generated and/or arranged for its
  10   disposal at the BKK Class I Facility. To date, Defendant Per-Olof Loof Family
  11   Foundation, Inc. has not incurred any costs at the BKK Class I Facility nor has it
  12   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  13         397. Upon information and belief, Defendant Pervo International, Inc. is the
  14   successor to Pervo Paint Company and/or otherwise liable for manifested waste that
  15   was contributed to the BKK Class I Facility by Pervo Paint Company. According
  16   to historical BKK Corp. records, Pervo Paint Company contributed manifested
  17   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  18   Substances that Pervo Paint Company generated and/or arranged for its disposal at
  19   the BKK Class I Facility. To date, Defendant Pervo International, Inc. has not
  20   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  21   incurred by the Plaintiffs at the BKK Class I Facility.
  22         398. According to historical BKK Corp. records, Defendant Pervo Paint
  23   Company contributed manifested waste to the BKK Class I Facility. This
  24   manifested waste contained Hazardous Substances that Defendant Pervo Paint
  25   Company generated and/or arranged for its disposal at the BKK Class I Facility. To
  26   date, Defendant Pervo Paint Company has not incurred any costs at the BKK Class
  27   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  28   Class I Facility.

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   1         399. According to historical BKK Corp. records, Defendant Petro Lewis
   2   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
   3   waste contained Hazardous Substances that Defendant Petro Lewis Corp. generated
   4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   5   Petro Lewis Corp. has not incurred any response costs at the BKK Class I Facility
   6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
   7   Class I Facility.
   8         400. According to historical BKK Corp. records, Defendant PGP Industries
   9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  10   waste contained Hazardous Substances that Defendant PGP Industries Inc.
  11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  12   Defendant PGP Industries Inc. has not incurred any costs at the BKK Class I
  13   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  14   Class I Facility.
  15         401. Upon information and belief, Defendant Pioneer Electronics (USA)
  16   Inc. is the successor to MCA Laboratories and/or otherwise liable for manifested
  17   waste that was contributed to the BKK Class I Facility by MCA Laboratories.
  18   According to historical BKK Corp. records, MCA Laboratories contributed
  19   manifested waste to the BKK Class I Facility. This manifested waste contained
  20   Hazardous Substances that MCA Laboratories generated and/or arranged for its
  21   disposal at the BKK Class I Facility. To date, Defendant Pioneer Electronics (USA)
  22   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  23   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         402. According to historical BKK Corp. records, Defendant Pillsbury Co.
  25   contributed manifested waste to the BKK Class I Facility. This manifested waste
  26   contained Hazardous Substances that Defendant Pillsbury Co. generated and/or
  27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pillsbury
  28   Co. has not incurred any costs at the BKK Class I Facility nor has it paid its fair

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   1   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         403. Upon information and belief, Defendant PRC–DeSoto International
   3   Inc. is the successor to International Polymer Corp. and/or Products Research &
   4   Chemical Corp. and/or otherwise liable for manifested waste that was contributed
   5   to the BKK Class I Facility by International Polymer Corp. and/or Products
   6   Research & Chemical Corp. According to historical BKK Corp. records,
   7   International Polymer Corp. and Products Research & Chemical Corp. contributed
   8   manifested waste to the BKK Class I Facility. This manifested waste contained
   9   Hazardous Substances that International Polymer Corp. and Products Research &
  10   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
  11   Facility. To date, Defendant PRC–DeSoto International Inc. has not incurred any
  12   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  13   the Plaintiffs at the BKK Class I Facility.
  14         404. According to historical BKK Corp. records, Defendant Pre Delivery
  15   Service contributed manifested waste to the BKK Class I Facility. This manifested
  16   waste contained Hazardous Substances that Defendant Pre Delivery Service
  17   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  18   Defendant Pre Delivery Service has not incurred any response costs at the BKK
  19   Class I Facility nor has it paid its fair share of response costs incurred by the
  20   Plaintiffs at the BKK Class I Facility.
  21         405. Upon information and belief, Defendant Precision Castparts Corp. is
  22   the successor to Reisner Metals and/or otherwise liable for manifested waste that
  23   was contributed to the BKK Class I Facility by Reisner Metals. According to
  24   historical BKK Corp. records, Reisner Metals contributed manifested waste to the
  25   BKK Class I Facility. This manifested waste contained Hazardous Substances that
  26   Reisner Metals generated and/or arranged for its disposal at the BKK Class I
  27   Facility. To date, Defendant Precision Castparts Corp. has not incurred any costs at
  28   the BKK Class I Facility nor has it paid its fair share of costs incurred by the

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   1   Plaintiffs at the BKK Class I Facility.
   2         406. Upon information and belief, Defendant Presstek, LLC is the successor
   3   to A.B. Dick Co. and/or otherwise liable for manifested waste that was contributed
   4   to the BKK Class I Facility by A.B. Dick Co. According to historical BKK Corp.
   5   records, A.B. Dick Co. contributed manifested waste to the BKK Class I Facility.
   6   This manifested waste contained Hazardous Substances that A.B. Dick Co.
   7   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   8   Defendant Presstek, LLC has not incurred any costs at the BKK Class I Facility nor
   9   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  10   Facility.
  11         407. According to historical BKK Corp. records, Defendant Price Pfister
  12   nka Pfister contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that Defendant Price Pfister nka
  14   Pfister generated and/or arranged for its disposal at the BKK Class I Facility. To
  15   date, Defendant Price Pfister nka Pfister has not incurred any costs at the BKK
  16   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  17   BKK Class I Facility.
  18         408. Upon information and belief, Defendant Printed Circuits, Inc. is the
  19   successor to Electro-Etch Circuits Inc. (previously identified in this action and the
  20   related action as Electrotech Circuits Inc.) and/or otherwise liable for manifested
  21   waste that was contributed to the BKK Class I Facility by Electro-Etch Circuits Inc.
  22   According to historical BKK Corp. records, Electro-Etch Circuits Inc. contributed
  23   manifested waste to the BKK Class I Facility. This manifested waste contained
  24   Hazardous Substances that Electro-Etch Circuits Inc. generated and/or arranged for
  25   its disposal at the BKK Class I Facility. To date, Defendant Printed Circuits, Inc.
  26   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  27   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  28         409. According to historical BKK Corp. records, Defendant Products

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   1   Research & Chemical Corp. contributed manifested waste to the BKK Class I
   2   Facility. This manifested waste contained Hazardous Substances that Defendant
   3   Products Research & Chemical Corp. generated and/or arranged for its disposal at
   4   the BKK Class I Facility. To date, Defendant Products Research & Chemical Corp.
   5   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
   6   of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         410. According to historical BKK Corp. records, Defendant Proto Tool
   8   contributed manifested waste to the BKK Class I Facility. This manifested waste
   9   contained Hazardous Substances that Defendant Proto Tool generated and/or
  10   arranged for its disposal at the BKK Class I Facility. To date, Defendant Proto Tool
  11   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  12   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  13         411. Upon information and belief, Defendant Pure Source LLC is the
  14   successor to Cal Chem Cleaning Co. and/or otherwise liable for manifested waste
  15   that was contributed to the BKK Class I Facility by Cal Chem Cleaning Co.
  16   According to historical BKK Corp. records, Cal Chem Cleaning Co. contributed
  17   manifested waste to the BKK Class I Facility. This manifested waste contained
  18   Hazardous Substances that Cal Chem Cleaning Co. generated and/or arranged for
  19   its disposal at the BKK Class I Facility. To date, Defendant Pure Source LLC has
  20   not incurred any costs at the BKK Class I Facility nor has it paid its fair share of
  21   costs incurred by the Plaintiffs at the BKK Class I Facility.
  22         412. According to historical BKK Corp. records, Defendant Purex Corp.
  23   contributed manifested waste to the BKK Class I Facility. This manifested waste
  24   contained Hazardous Substances that Defendant Purex Corp. generated and/or
  25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Purex
  26   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  27   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  28         413. Upon information and belief, Defendant Purex Industries, Inc. is the

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   1   successor to T.P. Industrial Inc. and/or otherwise liable for manifested waste that
   2   was contributed to the BKK Class I Facility by T.P. Industrial Inc. According to
   3   historical BKK Corp. records, T.P. Industrial Inc. contributed manifested waste to
   4   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   5   that T.P. Industrial Inc. generated and/or arranged for its disposal at the BKK Class
   6   I Facility. To date, Defendant Purex Industries, Inc. has not incurred any costs at
   7   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   8   Plaintiffs at the BKK Class I Facility.
   9         414. Upon information and belief, Defendant Qarbon Aerospace Inc. is the
  10   successor to Vought Aircraft Industries Inc. and/or otherwise liable for manifested
  11   waste that was contributed to the BKK Class I Facility by Vought Aircraft
  12   Industries Inc. According to historical BKK Corp. records, Vought Aircraft
  13   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Vought Aircraft Industries
  15   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  16   Defendant Qarbon Aerospace Inc. has not incurred any costs at the BKK Class I
  17   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  18   Class I Facility.
  19         415. According to historical BKK Corp. records, Defendant Ralph M.
  20   Parsons Co. contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Defendant Ralph M.
  22   Parsons Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  23   To date, Defendant Ralph M. Parsons Co. has not incurred any costs at the BKK
  24   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  25   BKK Class I Facility.
  26         416. Upon information and belief, Defendant RB&W Corp. is the successor
  27   to Russell Burdsall & Ward Inc. and/or otherwise liable for manifested waste that
  28   was contributed to the BKK Class I Facility by Russell Burdsall & Ward Inc.

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   1   According to historical BKK Corp. records, Russell Burdsall & Ward Inc.
   2   contributed manifested waste to the BKK Class I Facility. This manifested waste
   3   contained Hazardous Substances that Russell Burdsall & Ward Inc. generated
   4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   5   RB&W Corp. has not incurred any costs at the BKK Class I Facility nor has it paid
   6   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         417. According to historical BKK Corp. records, Defendant Redken
   8   Laboratories Inc. contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Redken
  10   Laboratories Inc. generated and/or arranged for its disposal at the BKK Class I
  11   Facility. To date, Defendant Redken Laboratories Inc. has not incurred any costs at
  12   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  13   Plaintiffs at the BKK Class I Facility.
  14         418. According to historical BKK Corp. records, Defendant Register
  15   Properties Inc. contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Register
  17   Properties Inc. generated and/or arranged for its disposal at the BKK Class I
  18   Facility. To date, Defendant Register Properties Inc. has not incurred any costs at
  19   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  20   Plaintiffs at the BKK Class I Facility.
  21         419. According to historical BKK Corp. records, Defendant Reisner Metals
  22   contributed manifested waste to the BKK Class I Facility. This manifested waste
  23   contained Hazardous Substances that Defendant Reisner Metals generated and/or
  24   arranged for its disposal at the BKK Class I Facility. To date, Defendant Reisner
  25   Metals has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  26   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  27         420. According to historical BKK Corp. records, Defendant Replacement
  28   Parts Manufacturing contributed manifested waste to the BKK Class I Facility. This

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   1   manifested waste contained Hazardous Substances that Defendant Replacement
   2   Parts Manufacturing generated and/or arranged for its disposal at the BKK Class I
   3   Facility. To date, Defendant Replacement Parts Manufacturing has not incurred any
   4   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   5   the Plaintiffs at the BKK Class I Facility.
   6         421. According to historical BKK Corp. records, Defendant Rexam
   7   Beverage Can Company contributed manifested waste to the BKK Class I Facility.
   8   This manifested waste contained Hazardous Substances that Defendant Rexam
   9   Beverage Can Company generated and/or arranged for its disposal at the BKK
  10   Class I Facility. To date, Defendant Rexam Beverage Can Company has not
  11   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  12   incurred by the Plaintiffs at the BKK Class I Facility.
  13         422. According to historical BKK Corp. records, Defendant Richardson &
  14   Holland contributed manifested waste to the BKK Class I Facility. This manifested
  15   waste contained Hazardous Substances that Defendant Richardson & Holland
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Richardson & Holland has not incurred any response costs at the BKK
  18   Class I Facility nor has it paid its fair share of response costs incurred by the
  19   Plaintiffs at the BKK Class I Facility.
  20         423. According to historical BKK Corp. records, Defendant Ricoh
  21   Electronics, Inc. contributed manifested waste to the BKK Class I Facility. This
  22   manifested waste contained Hazardous Substances that Defendant Ricoh
  23   Electronics, Inc. generated and/or arranged for its disposal at the BKK Class I
  24   Facility. To date, Defendant Ricoh Electronics, Inc. has not incurred any costs at
  25   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  26   Plaintiffs at the BKK Class I Facility.
  27         424. Upon information and belief, Defendant Ricoh Printing Systems
  28   America Inc. is the successor to Data Products Corp. and/or otherwise liable for

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   1   manifested waste that was contributed to the BKK Class I Facility by Data Products
   2   Corp. According to historical BKK Corp. records, Data Products Corp. contributed
   3   manifested waste to the BKK Class I Facility. This manifested waste contained
   4   Hazardous Substances that Data Products Corp. generated and/or arranged for its
   5   disposal at the BKK Class I Facility. To date, Defendant Ricoh Printing Systems
   6   America Inc. has not incurred any response costs at the BKK Class I Facility nor
   7   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
   8   Class I Facility.
   9         425. Upon information and belief, Defendant Rio Tinto Alcan Inc. is the
  10   successor to American Can Company, U.S. Borax & Chemical Corp. and/or U.S.
  11   Reduction Co. and/or otherwise liable for manifested waste that was contributed to
  12   the BKK Class I Facility by American Can Company, U.S. Borax & Chemical
  13   Corp. and/or U.S. Reduction Co. According to historical BKK Corp. records,
  14   American Can Company, U.S. Borax & Chemical Corp. and U.S. Reduction Co.
  15   contributed manifested waste to the BKK Class I Facility. This manifested waste
  16   contained Hazardous Substances that American Can Company, U.S. Borax and
  17   Chemical Corp. and U.S. Reduction Co. generated and/or arranged for its disposal
  18   at the BKK Class I Facility. To date, Defendant Rio Tinto Alcan Inc. has not
  19   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  20   incurred by the Plaintiffs at the BKK Class I Facility.
  21         426. According to historical BKK Corp. records, Defendant Riverside
  22   Cement Co. contributed manifested waste to the BKK Class I Facility. This
  23   manifested waste contained Hazardous Substances that Defendant Riverside
  24   Cement Co. generated and/or arranged for its disposal at the BKK Class I Facility.
  25   To date, Defendant Riverside Cement Co. has not incurred any costs at the BKK
  26   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  27   BKK Class I Facility.
  28         427. According to historical BKK Corp. records, Defendant Roberts

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   1   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Roberts
   3   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
   4   Facility. To date, Defendant Roberts Manufacturing Co. has not incurred any costs
   5   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   6   Plaintiffs at the BKK Class I Facility.
   7         428. Upon information and belief, Defendant Roller Bearing Company of
   8   America, Inc. is the successor to Sargent Industries and/or otherwise liable for
   9   manifested waste that was contributed to the BKK Class I Facility by Sargent
  10   Industries. According to historical BKK Corp. records, Sargent Industries
  11   contributed manifested waste to the BKK Class I Facility. This manifested waste
  12   contained Hazardous Substances that Sargent Industries generated and/or arranged
  13   for its disposal at the BKK Class I Facility. To date, Defendant Roller Bearing
  14   Company of America, Inc. has not incurred any costs at the BKK Class I Facility
  15   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  16   Facility.
  17         429. According to historical BKK Corp. records, Defendant Royal
  18   Aluminum Co. contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Defendant Royal Aluminum
  20   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  21   Defendant Royal Aluminum Co. has not incurred any costs at the BKK Class I
  22   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  23   Class I Facility.
  24         430. According to historical BKK Corp. records, Defendant Russell
  25   Burdsall & Ward Inc. contributed manifested waste to the BKK Class I Facility.
  26   This manifested waste contained Hazardous Substances that Defendant Russell
  27   Burdsall & Ward Inc. generated and/or arranged for its disposal at the BKK Class I
  28   Facility. To date, Defendant Russell Burdsall & Ward Inc. has not incurred any

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   1   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   2   the Plaintiffs at the BKK Class I Facility.
   3         431. Upon information and belief, Defendant Ryder System, Inc. is the
   4   successor to Pacific Intermountain Express and/or otherwise liable for manifested
   5   waste that was contributed to the BKK Class I Facility by Pacific Intermountain
   6   Express. According to historical BKK Corp. records, Pacific Intermountain
   7   Express contributed manifested waste to the BKK Class I Facility. This manifested
   8   waste contained Hazardous Substances that Pacific Intermountain Express
   9   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  10   Defendant Ryder System, Inc. has not incurred any costs at the BKK Class I
  11   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  12   Class I Facility.
  13         432. Upon information and belief, Defendant S.C. Johnson & Son, Inc. is
  14   the successor to Drackett Co. and/or otherwise liable for manifested waste that was
  15   contributed to the BKK Class I Facility by Drackett Co. According to historical
  16   BKK Corp. records, Drackett Co. contributed manifested waste to the BKK Class I
  17   Facility. This manifested waste contained Hazardous Substances that Drackett Co.
  18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  19   Defendant S.C. Johnson & Son, Inc. has not incurred any costs at the BKK Class I
  20   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  21   Class I Facility.
  22         433. According to historical BKK Corp. records, Defendant San Diego Pipe
  23   Line Co. contributed manifested waste to the BKK Class I Facility. This manifested
  24   waste contained Hazardous Substances that Defendant San Diego Pipe Line Co.
  25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  26   Defendant San Diego Pipe Line Co. has not incurred any costs at the BKK Class I
  27   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  28   Class I Facility.

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   1         434. According to historical BKK Corp. records, Defendant Safeway Stores
   2   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
   3   waste contained Hazardous Substances that Defendant Safeway Stores Inc.
   4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   5   Defendant Safeway Stores Inc. has not incurred any costs at the BKK Class I
   6   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   7   Class I Facility.
   8         435. Upon information and belief, Defendant Safran Seats USA LLC is the
   9   successor to Weber Aircraft and/or otherwise liable for manifested waste that was
  10   contributed to the BKK Class I Facility by Weber Aircraft. According to historical
  11   BKK Corp. records, Weber Aircraft contributed manifested waste to the BKK Class
  12   I Facility. This manifested waste contained Hazardous Substances that Weber
  13   Aircraft generated and/or arranged for its disposal at the BKK Class I Facility. To
  14   date, Defendant Safran Seats USA LLC has not incurred any costs at the BKK
  15   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  16   BKK Class I Facility.
  17         436. According to historical BKK Corp. records, Defendant San Fernando
  18   Laboratories contributed manifested waste to the BKK Class I Facility. This
  19   manifested waste contained Hazardous Substances that Defendant San Fernando
  20   Laboratories generated and/or arranged for its disposal at the BKK Class I Facility.
  21   To date, Defendant San Fernando Laboratories has not incurred any response costs
  22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
  23   by the Plaintiffs at the BKK Class I Facility.
  24         437. According to historical BKK Corp. records, Defendant Sandia Metal
  25   Process, Inc. contributed manifested waste to the BKK Class I Facility. This
  26   manifested waste contained Hazardous Substances that Defendant Sandia Metal
  27   Process, Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  28   To date, Defendant Sandia Metal Process, Inc. has not incurred any costs at the

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   1   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   2   at the BKK Class I Facility.
   3         438. According to historical BKK Corp. records, Defendant Sargent
   4   Fletcher Inc. contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Defendant Sargent Fletcher
   6   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Sargent Fletcher Inc. has not incurred any costs at the BKK Class I
   8   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   9   Class I Facility.
  10         439. According to historical BKK Corp. records, Defendant Sargent
  11   Industries contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant Sargent
  13   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
  14   date, Defendant Sargent Industries has not incurred any costs at the BKK Class I
  15   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  16   Class I Facility.
  17         440. Upon information and belief, Defendant Schlumberger, Ltd. is the
  18   successor to I.T. Corp., and/or Joy Petroleum Equipment and/or otherwise liable for
  19   manifested waste that was contributed to the BKK Class I Facility by I.T. Corp.
  20   and/or Joy Petroleum Equipment. According to historical BKK Corp. records, I.T.
  21   Corp. and Joy Petroleum Equipment contributed manifested waste to the BKK
  22   Class I Facility. This manifested waste contained Hazardous Substances that I.T.
  23   Corp. and Joy Petroleum Equipment generated and/or arranged for its disposal at
  24   the BKK Class I Facility. To date, Defendant Schlumberger, Ltd. has not incurred
  25   any costs at the BKK Class I Facility nor has it paid its fair share of costs incurred
  26   by the Plaintiffs at the BKK Class I Facility.
  27         441. Upon information and belief, Defendant Schlumberger N.V. is the
  28   successor to Fairchild Semiconductor International, Inc. and Xtra Energy and/or

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   1   otherwise liable for manifested waste that was contributed to the BKK Class I
   2   Facility by Fairchild Semiconductor International, Inc. and Xtra Energy. According
   3   to historical BKK Corp. records, Fairchild Semiconductor International, Inc. and
   4   Xtra Energy contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Fairchild Semiconductor
   6   International, Inc. and Xtra Energy generated and/or arranged for its disposal at the
   7   BKK Class I Facility. To date, Defendant Schlumberger N.V. has not incurred any
   8   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   9   the Plaintiffs at the BKK Class I Facility.
  10         442. According to historical BKK Corp. records, Defendant Sea Land
  11   Service Inc. contributed manifested waste to the BKK Class I Facility. This
  12   manifested waste contained Hazardous Substances that Defendant Sea Land Service
  13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  14   Defendant Sea Land Service Inc. has not incurred any costs at the BKK Class I
  15   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  16   Class I Facility.
  17         443. Upon information and belief, Defendant SemGroup Corporation is the
  18   successor to Koch Asphalt Co. Oil and/or otherwise liable for manifested waste that
  19   was contributed to the BKK Class I Facility by Koch Asphalt Co. Oil. According
  20   to historical BKK Corp. records, Koch Asphalt Co. Oil contributed manifested
  21   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  22   Substances that Koch Asphalt Co. Oil generated and/or arranged for its disposal at
  23   the BKK Class I Facility. To date, Defendant SemGroup Corporation has not
  24   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  25   incurred by the Plaintiffs at the BKK Class I Facility.
  26         444. According to historical BKK Corp. records, Defendant Service
  27   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
  28   manifested waste contained Hazardous Substances that Defendant Service

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   1   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
   2   Facility. To date, Defendant Service Chemical Co. has not incurred any costs at the
   3   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   4   at the BKK Class I Facility.
   5         445. According to historical BKK Corp. records, Defendant Shuwa
   6   Investments Corp. contributed manifested waste to the BKK Class I Facility. This
   7   manifested waste contained Hazardous Substances that Defendant Shuwa
   8   Investments Corp. generated and/or arranged for its disposal at the BKK Class I
   9   Facility. To date, Defendant Shuwa Investments Corp. has not incurred any costs at
  10   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  11   Plaintiffs at the BKK Class I Facility.
  12         446. According to historical BKK Corp. records, Defendant Sierra Pacific
  13   Container Corp. contributed manifested waste to the BKK Class I Facility. This
  14   manifested waste contained Hazardous Substances that Defendant Sierra Pacific
  15   Container Corp. generated and/or arranged for its disposal at the BKK Class I
  16   Facility. To date, Defendant Sierra Pacific Container Corp. has not incurred any
  17   response costs at the BKK Class I Facility nor has it paid its fair share of response
  18   costs incurred by the Plaintiffs at the BKK Class I Facility.
  19         447. According to historical BKK Corp. records, Defendant Smith & Co.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant Smith & Co. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Smith &
  23   Co. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  24   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         448. Upon information and belief, Defendant Somacis Inc. is the successor
  26   to Hallmark Circuits Inc. and/or otherwise liable for manifested waste that was
  27   contributed to the BKK Class I Facility by Hallmark Circuits Inc. According to
  28   historical BKK Corp. records, Hallmark Circuits Inc. contributed manifested waste

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   1   to the BKK Class I Facility. This manifested waste contained Hazardous
   2   Substances that Hallmark Circuits Inc. generated and/or arranged for its disposal at
   3   the BKK Class I Facility. To date, Defendant Somacis Inc. has not incurred any
   4   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   5   the Plaintiffs at the BKK Class I Facility.
   6         449. Upon information and belief, Defendant Sony Pictures Entertainment
   7   Inc. is the successor to Columbia Pictures and/or otherwise liable for manifested
   8   waste that was contributed to the BKK Class I Facility by Columbia Pictures.
   9   According to historical BKK Corp. records, Columbia Pictures contributed
  10   manifested waste to the BKK Class I Facility. This manifested waste contained
  11   Hazardous Substances that Columbia Pictures generated and/or arranged for its
  12   disposal at the BKK Class I Facility. To date, Defendant Sony Pictures
  13   Entertainment Inc. has not incurred any costs at the BKK Class I Facility nor has it
  14   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         450. According to historical BKK Corp. records, Defendant South West
  16   Forest Products contributed manifested waste to the BKK Class I Facility. This
  17   manifested waste contained Hazardous Substances that Defendant South West
  18   Forest Products generated and/or arranged for its disposal at the BKK Class I
  19   Facility. To date, Defendant South West Forest Products has not incurred any costs
  20   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  21   Plaintiffs at the BKK Class I Facility.
  22         451. According to historical BKK Corp. records, Defendant Southern
  23   California Chemical (aka Southern California Chemicals) contributed manifested
  24   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  25   Substances that Defendant Southern California Chemical generated and/or arranged
  26   for its disposal at the BKK Class I Facility. To date, Defendant Southern California
  27   Chemical has not incurred any costs at the BKK Class I Facility nor has it paid its
  28   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         452. According to historical BKK Corp. records, Defendant Southern
   2   Pacific Pipe Lines, Inc. contributed manifested waste to the BKK Class I Facility.
   3   This manifested waste contained Hazardous Substances that Defendant Southern
   4   Pacific Pipe Lines, Inc. generated and/or arranged for its disposal at the BKK Class
   5   I Facility. To date, Defendant Southern Pacific Pipe Lines, Inc. has not incurred any
   6   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
   7   the Plaintiffs at the BKK Class I Facility.
   8         453. According to historical BKK Corp. records, Defendant Southwest
   9   Petro Chemical contributed manifested waste to the BKK Class I Facility. This
  10   manifested waste contained Hazardous Substances that Defendant Southwest Petro
  11   Chemical generated and/or arranged for its disposal at the BKK Class I Facility. To
  12   date, Defendant Southwest Petro Chemical has not incurred any response costs at
  13   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
  14   the Plaintiffs at the BKK Class I Facility.
  15         454. According to historical BKK Corp. records, Defendant Southwest
  16   Steel Rolling Mills contributed manifested waste to the BKK Class I Facility. This
  17   manifested waste contained Hazardous Substances that Defendant Southwest Steel
  18   Rolling Mills generated and/or arranged for its disposal at the BKK Class I Facility.
  19   To date, Defendant Southwest Steel Rolling Mills has not incurred any costs at the
  20   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  21   at the BKK Class I Facility.
  22         455. According to historical BKK Corp. records, Defendant Southwestern
  23   Engineering contributed manifested waste to the BKK Class I Facility. This
  24   manifested waste contained Hazardous Substances that Defendant Southwestern
  25   Engineering generated and/or arranged for its disposal at the BKK Class I Facility.
  26   To date, Defendant Southwestern Engineering has not incurred any costs at the
  27   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  28   at the BKK Class I Facility.

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   1         456. According to historical BKK Corp. records, Defendant Standard
   2   Brands Paint Co. Inc. contributed manifested waste to the BKK Class I Facility.
   3   This manifested waste contained Hazardous Substances that Defendant Standard
   4   Brands Paint Co. Inc. generated and/or arranged for its disposal at the BKK Class I
   5   Facility. To date, Defendant Standard Brands Paint Co. Inc. has not incurred any
   6   response costs at the BKK Class I Facility nor has it paid its fair share of response
   7   costs incurred by the Plaintiffs at the BKK Class I Facility.
   8         457. According to historical BKK Corp. records, Defendant Standard
   9   Industrial Towel & Uniform contributed manifested waste to the BKK Class I
  10   Facility. This manifested waste contained Hazardous Substances that Defendant
  11   Standard Industrial Towel & Uniform generated and/or arranged for its disposal at
  12   the BKK Class I Facility. To date, Defendant Standard Industrial Towel & Uniform
  13   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  14   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         458. Upon information and belief, Defendant Standard Industries Holdings,
  16   Inc. is the successor to Marco Chemical Co. and/or otherwise liable for manifested
  17   waste that was contributed to the BKK Class I Facility by Marco Chemical Co.
  18   According to historical BKK Corp. records, Marco Chemical Co. contributed
  19   manifested waste to the BKK Class I Facility. This manifested waste contained
  20   Hazardous Substances that Marco Chemical Co. generated and/or arranged for its
  21   disposal at the BKK Class I Facility. To date, Defendant Standard Industries
  22   Holdings, Inc. has not incurred any costs at the BKK Class I Facility nor has it paid
  23   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         459. Upon information and belief, Defendant Standard Motor Products, Inc.
  25   is the successor to Cali-Blok and/or otherwise liable for manifested waste that was
  26   contributed to the BKK Class I Facility by Cali-Blok. According to historical BKK
  27   Corp. records, Cali-Blok contributed manifested waste to the BKK Class I Facility.
  28   This manifested waste contained Hazardous Substances that Cali-Blok generated

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   1   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   2   Standard Motor Products, Inc. has not incurred any costs at the BKK Class I
   3   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   4   Class I Facility.
   5         460. Upon information and belief, Defendant Stanley Black & Decker, Inc.
   6   is the successor to Emhart Industries, Inc., American Tool & Engineering Corp.,
   7   Black & Decker, Price Pfister nka Pfister, Proto Tool, Halstead Enterprises,
   8   Lumidor Manufacturing Co. and/or Stanley Home Products and/or is otherwise
   9   liable for manifested waste that was contributed to the BKK Class I Facility by
  10   Emhart Industries, Inc., American Tool & Engineering Corp., Black & Decker,
  11   Price Pfister nka Pfister, Proto Tool, Halstead Enterprises, Lumidor Manufacturing
  12   Co. and/or Stanley Home Products. According to historical BKK Corp. records,
  13   Emhart Industries, Inc., American Tool & Engineering Corp., Black & Decker,
  14   Price Pfister nka Pfister, Proto Tool, Halstead Enterprises, Lumidor Manufacturing
  15   Co. and Stanley Home Products contributed manifested waste to the BKK Class I
  16   Facility. This manifested waste contained Hazardous Substances that Emhart
  17   Industries, Inc., American Tool & Engineering Corp., Black & Decker, Price Pfister
  18   nka Pfister, Proto Tool, Halstead Enterprises, Lumidor Manufacturing and Stanley
  19   Home Products each generated and/or arranged for its disposal at the BKK Class I
  20   Facility. To date, Defendant Stanley Black & Decker, Inc. has not incurred any
  21   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  22   the Plaintiffs at the BKK Class I Facility.
  23         461. According to historical BKK Corp. records, Defendant Structural
  24   Composite Industries contributed manifested waste to the BKK Class I Facility.
  25   This manifested waste contained Hazardous Substances that Defendant Structural
  26   Composite Industries generated and/or arranged for its disposal at the BKK Class I
  27   Facility. To date, Defendant Structural Composite Industries has not incurred any
  28   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by

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   1   the Plaintiffs at the BKK Class I Facility.
   2         462. According to historical BKK Corp. records, Defendant Sun
   3   Exploration contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Sun Exploration
   5   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   6   Defendant Sun Exploration has not incurred any costs at the BKK Class I Facility
   7   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   8   Facility.
   9         463. Upon information and belief, Defendant Sun Capital Partners, Inc. is
  10   the successor to Keuffel & Esser Co. and/or Royal Aluminum Co. and/or otherwise
  11   liable for manifested waste that was contributed to the BKK Class I Facility by
  12   Keuffel & Esser Co. and/or Royal Aluminum Co. According to historical BKK
  13   Corp. records, Keuffel & Esser Co. and Royal Aluminum Co. contributed
  14   manifested waste to the BKK Class I Facility. This manifested waste contained
  15   Hazardous Substances that Keuffel & Esser Co. and Royal Aluminum Co.
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Sun Capital Partners, Inc. has not incurred any costs at the BKK Class I
  18   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         464. According to historical BKK Corp. records, Defendant Sweco, Inc.
  21   contributed manifested waste to the BKK Class I Facility. This manifested waste
  22   contained Hazardous Substances that Defendant Sweco, Inc. generated and/or
  23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Sweco,
  24   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  25   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         465. Upon information and belief, Defendant Sweco, Inc. is the successor to
  27   Southwestern Engineering and/or otherwise liable for manifested waste that was
  28   contributed to the BKK Class I Facility by Southwestern Engineering. According

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   1   to historical BKK Corp. records, Southwestern Engineering contributed manifested
   2   waste to the BKK Class I Facility. This manifested waste contained Hazardous
   3   Substances that Southwestern Engineering generated and/or arranged for its
   4   disposal at the BKK Class I Facility. To date, Defendant Sweco, Inc. has not
   5   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
   6   incurred by the Plaintiffs at the BKK Class I Facility.
   7         466. According to historical BKK Corp. records, Defendant T.P. Industrial
   8   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
   9   waste contained Hazardous Substances that Defendant T.P. Industrial Inc.
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   Defendant T.P. Industrial Inc. has not incurred any costs at the BKK Class I
  12   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  13   Class I Facility.
  14         467. According to historical BKK Corp. records, Defendant TDY
  15   Industries, LLC and/or its predecessor TDY Industries, Inc. contributed manifested
  16   waste to the BKK Class I Facility. This manifested waste contained Hazardous
  17   Substances that Defendant TDY Industries, LLC and/or its predecessor TDY
  18   Industries, Inc. generated and/or arranged for its disposal at the BKK Class I
  19   Facility. To date, Defendant TDY Industries, LLC has not incurred any costs at the
  20   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  21   at the BKK Class I Facility.
  22         468. Upon information and belief, Defendant Tech-Etch, Inc. is the
  23   successor to Merel Co. Inc. and/or otherwise liable for manifested waste that was
  24   contributed to the BKK Class I Facility by Merel Co. Inc. According to historical
  25   BKK Corp. records, Merel Co. Inc. contributed manifested waste to the BKK Class
  26   I Facility. This manifested waste contained Hazardous Substances that Merel Co.
  27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  28   Defendant Tech-Etch, Inc. has not incurred any costs at the BKK Class I Facility

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   1   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   2   Facility.
   3         469. Upon information and belief, Defendant Telair US LLC is the
   4   successor to Brooks & Perkins Brownline Division and/or otherwise liable for
   5   manifested waste that was contributed to the BKK Class I Facility by Brooks &
   6   Perkins Brownline Division. According to historical BKK Corp. records, Brooks &
   7   Perkins Brownline Division contributed manifested waste to the BKK Class I
   8   Facility. This manifested waste contained Hazardous Substances that Brooks &
   9   Perkins Brownline Division generated and/or arranged for its disposal at the BKK
  10   Class I Facility. To date, Defendant Telair US LLC has not incurred any costs at the
  11   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  12   at the BKK Class I Facility.
  13         470. Upon information and belief, Defendant Tenneco Inc. is the successor
  14   to Packaging Corp. of America and/or otherwise liable for manifested waste that
  15   was contributed to the BKK Class I Facility by Packaging Corp. of America.
  16   According to historical BKK Corp. records, Packaging Corp. of America
  17   contributed manifested waste to the BKK Class I Facility. This manifested waste
  18   contained Hazardous Substances that Packaging Corp. of America generated and/or
  19   arranged for its disposal at the BKK Class I Facility. To date, Defendant Tenneco
  20   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  21   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  22         471. According to historical BKK Corp. records, Defendant Tenneco Oil
  23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
  24   waste contained Hazardous Substances that Defendant Tenneco Oil Co. generated
  25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  26   Tenneco Oil Co. has not incurred any costs at the BKK Class I Facility nor has it
  27   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  28         472. Upon information and belief, Defendant TFI International Inc. is the

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   1   successor to Truck Transport and/or otherwise liable for manifested waste that was
   2   contributed to the BKK Class I Facility by Truck Transport. According to
   3   historical BKK Corp. records, Truck Transport contributed manifested waste to the
   4   BKK Class I Facility. This manifested waste contained Hazardous Substances that
   5   Truck Transport generated and/or arranged for its disposal at the BKK Class I
   6   Facility. To date, Defendant TFI International Inc. has not incurred any costs at the
   7   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   8   at the BKK Class I Facility.
   9         473. Upon information and belief, Defendant The Marmon Group LLC is
  10   the successor to JCX and/or otherwise liable for manifested waste that was
  11   contributed to the BKK Class I Facility by JCX. According to historical BKK
  12   Corp. records, JCX contributed manifested waste to the BKK Class I Facility. This
  13   manifested waste contained Hazardous Substances that JCX generated and/or
  14   arranged for its disposal at the BKK Class I Facility. To date, Defendant The
  15   Marmon Group LLC has not incurred any response costs at the BKK Class I
  16   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
  17   the BKK Class I Facility.
  18         474. Upon information and belief, Defendant The Save Mart Companies,
  19   LLC is the successor to Lucky Stores Inc. and/or otherwise liable for manifested
  20   waste that was contributed to the BKK Class I Facility by Lucky Stores Inc.
  21   According to historical BKK Corp. records, Lucky Stores Inc. contributed
  22   manifested waste to the BKK Class I Facility. This manifested waste contained
  23   Hazardous Substances that Lucky Stores Inc. generated and/or arranged for its
  24   disposal at the BKK Class I Facility. To date, Defendant The Save Mart
  25   Companies, LLC has not incurred any costs at the BKK Class I Facility nor has it
  26   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  27         475. Upon information and belief, Defendant The Shaw Group is the
  28   successor to I.T. Corp. and/or otherwise liable for manifested waste that was

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   1   contributed to the BKK Class I Facility by I.T. Corp. According to historical BKK
   2   Corp. records, I.T. Corp. contributed manifested waste to the BKK Class I Facility.
   3   This manifested waste contained Hazardous Substances that I.T. Corp. generated
   4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant The
   5   Shaw Group has not incurred any costs at the BKK Class I Facility nor has it paid
   6   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   7         476. According to historical BKK Corp. records, Defendant The Termo
   8   Company contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant The Termo
  10   Company generated and/or arranged for its disposal at the BKK Class I Facility.
  11   To date, Defendant The Termo Company has not incurred any costs at the BKK
  12   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  13   BKK Class I Facility.
  14         477. According to historical BKK Corp. records, Defendant Thompson
  15   Industries contributed manifested waste to the BKK Class I Facility. This
  16   manifested waste contained Hazardous Substances that Defendant Thompson
  17   Industries generated and/or arranged for its disposal at the BKK Class I Facility.
  18   To date, Defendant Thompson Industries has not incurred any costs at the BKK
  19   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  20   BKK Class I Facility.
  21         478. According to historical BKK Corp. records, Defendant Thompson
  22   Drilling contributed manifested waste to the BKK Class I Facility. This manifested
  23   waste contained Hazardous Substances that Defendant Thompson Drilling
  24   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  25   Defendant Thompson Drilling has not incurred any costs at the BKK Class I
  26   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  27   Class I Facility.
  28         479. According to historical BKK Corp. records, Defendant Thorpe

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   1   Insulation Co. contributed manifested waste to the BKK Class I Facility. This
   2   manifested waste contained Hazardous Substances that Defendant Thorpe
   3   Insulation Co. generated and/or arranged for its disposal at the BKK Class I
   4   Facility. To date, Defendant Thorpe Insulation Co. has not incurred any costs at the
   5   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   6   at the BKK Class I Facility.
   7         480. According to historical BKK Corp. records, Defendant Times Mirror
   8   Press contributed manifested waste to the BKK Class I Facility. This manifested
   9   waste contained Hazardous Substances that Defendant Times Mirror Press
  10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  11   Defendant Times Mirror Press has not incurred any costs at the BKK Class I
  12   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  13   Class I Facility.
  14         481. According to historical BKK Corp. records, Defendant Tooley & Co.
  15   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  16   waste contained Hazardous Substances that Defendant Tooley & Co. Inc. generated
  17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  18   Tooley & Co. Inc. has not incurred any costs at the BKK Class I Facility nor has it
  19   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         482. Upon information and belief, Defendant Toppan Printing Company
  21   (America), Inc. is the successor to Industrial Circuits and/or otherwise liable for
  22   manifested waste that was contributed to the BKK Class I Facility by Industrial
  23   Circuits. According to historical BKK Corp. records, Industrial Circuits
  24   contributed manifested waste to the BKK Class I Facility. This manifested waste
  25   contained Hazardous Substances that Industrial Circuits generated and/or arranged
  26   for its disposal at the BKK Class I Facility. To date, Defendant Toppan Printing
  27   Company (America), Inc. has not incurred any costs at the BKK Class I Facility nor
  28   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I

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   1   Facility.
   2         483. According to historical BKK Corp. records, Defendant Toyota Motor
   3   Manufacturing USA contributed manifested waste to the BKK Class I Facility.
   4   This manifested waste contained Hazardous Substances that Defendant Toyota
   5   Motor Manufacturing USA generated and/or arranged for its disposal at the BKK
   6   Class I Facility. To date, Defendant Toyota Motor Manufacturing USA has not
   7   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
   8   incurred by the Plaintiffs at the BKK Class I Facility.
   9         484. Upon information and belief, Defendant Trabon Realty Corp. is the
  10   successor to Cadet Uniform & Linen Supply Co. and/or otherwise liable for
  11   manifested waste that was contributed to the BKK Class I Facility by Cadet
  12   Uniform & Linen Supply Co. According to historical BKK Corp. records, Cadet
  13   Uniform & Linen Supply Co. contributed manifested waste to the BKK Class I
  14   Facility. This manifested waste contained Hazardous Substances that Cadet
  15   Uniform & Linen Supply Co. generated and/or arranged for its disposal at the BKK
  16   Class I Facility. To date, Defendant Trabon Realty Corp. has not incurred any costs
  17   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  18   Plaintiffs at the BKK Class I Facility.
  19         485. According to historical BKK Corp. records, Defendant Trammel Crow
  20   Company contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Defendant Trammel Crow
  22   Company generated and/or arranged for its disposal at the BKK Class I Facility. To
  23   date, Defendant Trammel Crow Company has not incurred any costs at the BKK
  24   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  25   BKK Class I Facility.
  26          486. Upon information and belief, Defendant Trammel Crow Company is
  27   the successor to Tooley & Co. Inc. and/or otherwise liable for manifested waste that
  28   was contributed to the BKK Class I Facility by Tooley & Co. Inc. According to

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   1   historical BKK Corp. records, Tooley & Co. Inc. contributed manifested waste to
   2   the BKK Class I Facility. This manifested waste contained Hazardous Substances
   3   that Tooley & Co. Inc. generated and/or arranged for its disposal at the BKK Class I
   4   Facility. To date, Defendant Trammel Crow Company has not incurred any costs at
   5   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   6   Plaintiffs at the BKK Class I Facility.
   7         487. According to historical BKK Corp. records, Defendant Transequip
   8   Pacific Inc. contributed manifested waste to the BKK Class I Facility. This
   9   manifested waste contained Hazardous Substances that Defendant Transequip
  10   Pacific Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
  11   To date, Defendant Transequip Pacific Inc. has not incurred any costs at the BKK
  12   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  13   BKK Class I Facility.
  14         488. According to historical BKK Corp. records, Defendant TRE Corp.
  15   contributed manifested waste to the BKK Class I Facility. This manifested waste
  16   contained Hazardous Substances that Defendant TRE Corp. generated and/or
  17   arranged for its disposal at the BKK Class I Facility. To date, Defendant TRE Corp.
  18   has not incurred any costs at the BKK Class I Facility nor has it paid its fair share
  19   of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         489. Upon information and belief, Defendant Tribune Publishing Company
  21   is the successor to Times Mirror Press and/or otherwise liable for manifested waste
  22   that was contributed to the BKK Class I Facility by Times Mirror Press. According
  23   to historical BKK Corp. records, Times Mirror Press contributed manifested waste
  24   to the BKK Class I Facility. This manifested waste contained Hazardous
  25   Substances that Times Mirror Press generated and/or arranged for its disposal at the
  26   BKK Class I Facility. To date, Defendant Tribune Publishing Company has not
  27   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  28   incurred by the Plaintiffs at the BKK Class I Facility.

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   1         490. Upon information and belief, Defendant TriMas Corporation is the
   2   successor to Price Pfister nka Pfister and U.S. Filters and/or is otherwise liable for
   3   manifested waste that was contributed to the BKK Class I Facility by Price Pfister
   4   nka Pfister and U.S. Filters. According to historical BKK Corp. records, Price
   5   Pfister nka Pfister and U.S. Filters contributed manifested waste to the BKK Class I
   6   Facility. This manifested waste contained Hazardous Substances that Price Pfister
   7   nka Pfister and U.S. Filters generated and/or arranged for its disposal at the BKK
   8   Class I Facility. To date, Defendant TriMas Corporation has not incurred any costs
   9   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  10   Plaintiffs at the BKK Class I Facility.
  11         491. Upon information and belief, Defendant Triumph Group Operations is
  12   the successor to Los Angeles Gauge Co. and/or is otherwise liable for manifested
  13   waste that was contributed to the BKK Class I Facility by Los Angeles Gauge Co.
  14   According to historical BKK Corp. records, Los Angeles Gauge Co. contributed
  15   manifested waste to the BKK Class I Facility. This manifested waste contained
  16   Hazardous Substances that Los Angeles Gauge Co. generated and/or arranged for
  17   its disposal at the BKK Class I Facility. To date, Defendant Triumph Group
  18   Operations has not incurred any costs at the BKK Class I Facility nor has it paid its
  19   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         492. Upon information and belief, Defendant Triumph Thermal Systems,
  21   LLC is the successor to Fairchild Industries and/or is otherwise liable for
  22   manifested waste that was contributed to the BKK Class I Facility by Fairchild
  23   Industries. According to historical BKK Corp. records, Fairchild Industries
  24   contributed manifested waste to the BKK Class I Facility. This manifested waste
  25   contained Hazardous Substances that Fairchild Industries generated and/or arranged
  26   for its disposal at the BKK Class I Facility. To date, Defendant Triumph Thermal
  27   Systems, LLC has not incurred any costs at the BKK Class I Facility nor has it paid
  28   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         493. According to historical BKK Corp. records, Defendant Trizec
   2   Properties contributed manifested waste to the BKK Class I Facility. This
   3   manifested waste contained Hazardous Substances that Defendant Trizec Properties
   4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   5   Defendant Trizec Properties has not incurred any costs at the BKK Class I Facility
   6   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
   7   Facility.
   8         494. According to historical BKK Corp. records, Defendant Trojan Battery
   9   Co. contributed manifested waste to the BKK Class I Facility. This manifested
  10   waste contained Hazardous Substances that Defendant Trojan Battery Co.
  11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  12   Defendant Trojan Battery Co. has not incurred any costs at the BKK Class I
  13   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  14   Class I Facility.
  15         495. According to historical BKK Corp. records, Defendant Truck
  16   Transport contributed manifested waste to the BKK Class I Facility. This
  17   manifested waste contained Hazardous Substances that Defendant Truck Transport
  18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  19   Defendant Truck Transport has not incurred any costs at the BKK Class I Facility
  20   nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  21   Facility.
  22         496. Upon information and belief, Defendant TRZ Holdings IV LLC
  23   (previously identified in this action as TRZ Holdings LLC) is the successor to
  24   Trizec Properties and/or otherwise liable for manifested waste that was contributed
  25   to the BKK Class I Facility by Trizec Properties. According to historical BKK
  26   Corp. records, Trizec Properties contributed manifested waste to the BKK Class I
  27   Facility. This manifested waste contained Hazardous Substances that Trizec
  28   Properties generated and/or arranged for its disposal at the BKK Class I Facility. To

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   1   date, Defendant TRZ Holdings IV LLC has not incurred any costs at the BKK
   2   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   3   BKK Class I Facility.
   4         497. According to historical BKK Corp. records, Defendant U.S. Borax &
   5   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant U.S. Borax &
   7   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
   8   Facility. To date, Defendant U.S. Borax & Chemical Corp. has not incurred any
   9   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  10   the Plaintiffs at the BKK Class I Facility.
  11         498. Upon information and belief, Defendant U.S. Borax, Inc. is the
  12   successor to U.S. Borax & Chemical Corp. and/or otherwise liable for manifested
  13   waste that was contributed to the BKK Class I Facility by U.S. Borax & Chemical
  14   Corp. According to historical BKK Corp. records, U.S. Borax & Chemical Corp.
  15   contributed manifested waste to the BKK Class I Facility. This manifested waste
  16   contained Hazardous Substances that U.S. Borax and Chemical Corp. generated
  17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
  18   U.S. Borax, Inc. has not incurred any costs at the BKK Class I Facility nor has it
  19   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  20         499. According to historical BKK Corp. records, Defendant U.S. Brass
  21   Division contributed manifested waste to the BKK Class I Facility. This manifested
  22   waste contained Hazardous Substances that Defendant U.S. Brass Division
  23   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  24   Defendant U.S. Brass Division has not incurred any costs at the BKK Class I
  25   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  26   Class I Facility.
  27         500. According to historical BKK Corp. records, Defendant U.S. Filters
  28   contributed manifested waste to the BKK Class I Facility. This manifested waste

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   1   contained Hazardous Substances that Defendant U.S. Filters. generated and/or
   2   arranged for its disposal at the BKK Class I Facility. To date, Defendant U.S.
   3   Filters has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   4   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   5         501. According to historical BKK Corp. records, Defendant U.S. Reduction
   6   Co. contributed manifested waste to the BKK Class I Facility. This manifested
   7   waste contained Hazardous Substances that Defendant U.S. Reduction Co.
   8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   9   Defendant U.S. Reduction Co. has not incurred any costs at the BKK Class I
  10   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  11   Class I Facility.
  12         502. According to historical BKK Corp. records, Defendant Ultramar Inc.
  13   contributed manifested waste to the BKK Class I Facility. This manifested waste
  14   contained Hazardous Substances that Defendant Ultramar Inc. generated and/or
  15   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ultramar
  16   Inc. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  17   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  18         503. Upon information and belief, Defendant Ultramar Inc. is the successor
  19   to Bingo Truck Stop and/or otherwise liable for manifested waste that was
  20   contributed to the BKK Class I Facility by Bingo Truck Stop. According to
  21   historical BKK Corp. records, Bingo Truck Stop contributed manifested waste to
  22   the BKK Class I Facility. This manifested waste contained Hazardous Substances
  23   that Bingo Truck Stop generated and/or arranged for its disposal at the BKK Class I
  24   Facility. To date, Defendant Ultramar Inc. has not incurred any costs at the BKK
  25   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
  26   BKK Class I Facility.
  27         504. Upon information and belief, Defendant UNFI Grocers Distribution,
  28   Inc. is the successor to Certified Grocers of Cal. and/or otherwise liable for

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   1   manifested waste that was contributed to the BKK Class I Facility by Certified
   2   Grocers of Cal. According to historical BKK Corp. records, Certified Grocers of
   3   Cal. contributed manifested waste to the BKK Class I Facility. This manifested
   4   waste contained Hazardous Substances that Certified Grocers of Cal. generated
   5   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   6   UNFI Grocers Distribution, Inc. has not incurred any costs at the BKK Class I
   7   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   8   Class I Facility.
   9         505. According to historical BKK Corp. records, Defendant United
  10   Coatings Inc. contributed manifested waste to the BKK Class I Facility. This
  11   manifested waste contained Hazardous Substances that Defendant United Coatings
  12   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  13   Defendant United Coatings Inc. has not incurred any costs at the BKK Class I
  14   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  15   Class I Facility.
  16         506. Upon information and belief, Defendant USG Corporation is the
  17   successor to Hollytex Carpet Mills, Inc. and/or otherwise liable for manifested
  18   waste that was contributed to the BKK Class I Facility by Hollytex Carpet Mills,
  19   Inc. According to historical BKK Corp. records, Hollytex Carpet Mills, Inc.
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Hollytex Carpet Mills, Inc. generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant USG
  23   Corporation has not incurred any costs at the BKK Class I Facility nor has it paid
  24   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         507. According to historical BKK Corp. records, Defendant Valco (aka
  26   Valco Automotive Products) contributed manifested waste to the BKK Class I
  27   Facility. This manifested waste contained Hazardous Substances that Defendant
  28   Valco (aka Valco Automotive Products) generated and/or arranged for its disposal

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   1   at the BKK Class I Facility. To date, Defendant Valco (aka Valco Automotive
   2   Products) has not incurred any costs at the BKK Class I Facility nor has it paid its
   3   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         508. According to historical BKK Corp. records, Defendant Valentec
   5   International Corp. contributed manifested waste to the BKK Class I Facility. This
   6   manifested waste contained Hazardous Substances that Defendant Valentec
   7   International Corp. generated and/or arranged for its disposal at the BKK Class I
   8   Facility. To date, Defendant Valentec International Corp. has not incurred any
   9   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  10   the Plaintiffs at the BKK Class I Facility.
  11         509. Upon information and belief, Defendant Valero Energy Corporation is
  12   the successor to Ultramar Inc. and/or otherwise liable for manifested waste that was
  13   contributed to the BKK Class I Facility by Ultramar Inc. According to historical
  14   BKK Corp. records, Ultramar Inc. contributed manifested waste to the BKK Class I
  15   Facility. This manifested waste contained Hazardous Substances that Ultramar Inc.
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Valero Energy Corporation has not incurred any costs at the BKK Class
  18   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         510. According to historical BKK Corp. records, Defendant Van De Kamp
  21   contributed manifested waste to the BKK Class I Facility. This manifested waste
  22   contained Hazardous Substances that Defendant Van De Kamp generated and/or
  23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Van De
  24   Kamp has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  25   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  26         511. According to historical BKK Corp. records, Defendant Varco
  27   International contributed manifested waste to the BKK Class I Facility. This
  28   manifested waste contained Hazardous Substances that Defendant Varco

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   1   International generated and/or arranged for its disposal at the BKK Class I Facility.
   2   To date, Defendant Varco International has not incurred any costs at the BKK Class
   3   I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   4   Class I Facility.
   5         512. Upon information and belief, Defendant Veolia Environmental
   6   Services North America, LLC is the successor to Heist Maintenance Services Inc.
   7   and/or otherwise liable for manifested waste that was contributed to the BKK Class
   8   I Facility by Heist Maintenance Services Inc. According to historical BKK Corp.
   9   records, Heist Maintenance Services Inc. contributed manifested waste to the BKK
  10   Class I Facility. This manifested waste contained Hazardous Substances that Heist
  11   Maintenance Services Inc. generated and/or arranged for its disposal at the BKK
  12   Class I Facility. To date, Defendant Veolia Environmental Services North America,
  13   LLC has not incurred any response costs at the BKK Class I Facility nor has it paid
  14   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         513. Upon information and belief, Defendant Verizon New York Inc. is the
  16   successor to Greer Hydraulics Inc. and/or otherwise liable for manifested waste that
  17   was contributed to the BKK Class I Facility by Greer Hydraulics Inc. According to
  18   historical BKK Corp. records, Greer Hydraulics Inc. contributed manifested waste
  19   to the BKK Class I Facility. This manifested waste contained Hazardous
  20   Substances that Greer Hydraulics Inc. generated and/or arranged for its disposal at
  21   the BKK Class I Facility. To date, Defendant Verizon New York Inc. has not
  22   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
  23   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  24         514. Upon information and belief, Defendant Vest, Inc. is the successor to
  25   Bernard Epps & Co. and/or otherwise liable for manifested waste that was
  26   contributed to the BKK Class I Facility by Bernard Epps & Co. According to
  27   historical BKK Corp. records, Bernard Epps & Co. contributed manifested waste to
  28   the BKK Class I Facility. This manifested waste contained Hazardous Substances

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   1   that Bernard Epps & Co. generated and/or arranged for its disposal at the BKK
   2   Class I Facility. To date, Defendant Vest, Inc. has not incurred any costs at the
   3   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
   4   at the BKK Class I Facility.
   5         515. Upon information and belief, Defendant VF Corporation is the
   6   successor to Standard Industrial Towel & Uniform and/or otherwise liable for
   7   manifested waste that was contributed to the BKK Class I Facility by Standard
   8   Industrial Towel & Uniform. According to historical BKK Corp. records, Standard
   9   Industrial Towel & Uniform contributed manifested waste to the BKK Class I
  10   Facility. This manifested waste contained Hazardous Substances that Standard
  11   Industrial Towel & Uniform generated and/or arranged for its disposal at the BKK
  12   Class I Facility. To date, Defendant VF Corporation has not incurred any costs at
  13   the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  14   Plaintiffs at the BKK Class I Facility.
  15         516. According to historical BKK Corp. records, Defendant Voi Shan
  16   contributed manifested waste to the BKK Class I Facility. This manifested waste
  17   contained Hazardous Substances that Defendant Voi Shan generated and/or
  18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Voi Shan
  19   has not incurred any response costs at the BKK Class I Facility nor has it paid its
  20   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
  21         517. According to historical BKK Corp. records, Defendant Vons
  22   Companies Inc. contributed manifested waste to the BKK Class I Facility. This
  23   manifested waste contained Hazardous Substances that Defendant Vons Companies
  24   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  25   Defendant Vons Companies Inc. has not incurred any costs at the BKK Class I
  26   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  27   Class I Facility.
  28         518. Upon information and belief, Defendant Vons Companies Inc. is the

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   1   successor to Jersey Maid Milk Products Inc. and/or otherwise liable for manifested
   2   waste that was contributed to the BKK Class I Facility by Jersey Maid Milk
   3   Products Inc. According to historical BKK Corp. records, Jersey Maid Milk
   4   Products Inc. contributed manifested waste to the BKK Class I Facility. This
   5   manifested waste contained Hazardous Substances that Jersey Maid Milk Products
   6   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Vons Companies Inc. has not incurred any costs at the BKK Class I
   8   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   9   Class I Facility.
  10         519. According to historical BKK Corp. records, Defendant Vought
  11   Aircraft Industries Inc. contributed manifested waste to the BKK Class I Facility.
  12   This manifested waste contained Hazardous Substances that Defendant Vought
  13   Aircraft Industries Inc. generated and/or arranged for its disposal at the BKK Class
  14   I Facility. To date, Defendant Vought Aircraft Industries Inc. has not incurred any
  15   costs at the BKK Class I Facility nor has it paid its fair share of costs incurred by
  16   the Plaintiffs at the BKK Class I Facility.
  17         520. According to historical BKK Corp. records, Defendant W. Smith Co.
  18   contributed manifested waste to the BKK Class I Facility. This manifested waste
  19   contained Hazardous Substances that Defendant W. Smith Co. generated and/or
  20   arranged for its disposal at the BKK Class I Facility. To date, Defendant W. Smith
  21   Co. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  22   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  23         521. According to historical BKK Corp. records, Defendant W. Smith Co.
  24   Container Reconditioning contributed manifested waste to the BKK Class I
  25   Facility. This manifested waste contained Hazardous Substances that Defendant W.
  26   Smith Co. Container Reconditioning generated and/or arranged for its disposal at
  27   the BKK Class I Facility. To date, Defendant W. Smith Co. Container
  28   Reconditioning has not incurred any costs at the BKK Class I Facility nor has it

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   1   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   2         522. According to historical BKK Corp. records, Defendant W.L. Chapman
   3   Co. contributed manifested waste to the BKK Class I Facility. This manifested
   4   waste contained Hazardous Substances that Defendant W.L. Chapman Co.
   5   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   6   Defendant W.L. Chapman Co. has not incurred any response costs at the BKK
   7   Class I Facility nor has it paid its fair share of response costs incurred by the
   8   Plaintiffs at the BKK Class I Facility.
   9         523. According to historical BKK Corp. records, Defendant Weber Aircraft
  10   contributed manifested waste to the BKK Class I Facility. This manifested waste
  11   contained Hazardous Substances that Defendant Weber Aircraft generated and/or
  12   arranged for its disposal at the BKK Class I Facility. To date, Defendant Weber
  13   Aircraft has not incurred any costs at the BKK Class I Facility nor has it paid its
  14   fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  15         524. Upon information and belief, Defendant Wells Fargo Rail Corporation
  16   is the successor to North American Car Corp. and/or otherwise liable for manifested
  17   waste that was contributed to the BKK Class I Facility by North American Car
  18   Corp. According to historical BKK Corp. records, North American Car Corp.
  19   contributed manifested waste to the BKK Class I Facility. This manifested waste
  20   contained Hazardous Substances that North American Car Corp. generated and/or
  21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Wells
  22   Fargo Rail Corporation has not incurred any costs at the BKK Class I Facility nor
  23   has it paid its fair share of costs incurred by the Plaintiffs at the BKK Class I
  24   Facility.
  25         525. According to historical BKK Corp. records, Defendant Wells Marine
  26   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
  27   waste contained Hazardous Substances that Defendant Wells Marine Inc. generated
  28   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant

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   1   Wells Marine Inc. has not incurred any costs at the BKK Class I Facility nor has it
   2   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         526. According to historical BKK Corp. records, Defendant Weslock Corp.
   4   contributed manifested waste to the BKK Class I Facility. This manifested waste
   5   contained Hazardous Substances that Defendant Weslock Corp. generated and/or
   6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Weslock
   7   Corp. has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   8   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   9         527. According to historical BKK Corp. records, Defendant West Valley
  10   Toyota contributed manifested waste to the BKK Class I Facility. This manifested
  11   waste contained Hazardous Substances that Defendant West Valley Toyota
  12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  13   Defendant West Valley Toyota has not incurred any costs at the BKK Class I
  14   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  15   Class I Facility.
  16         528. According to historical BKK Corp. records, Defendant Western Kraft
  17   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
  18   waste contained Hazardous Substances that Defendant Western Kraft Corp.
  19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  20   Defendant Western Kraft Corp. has not incurred any costs at the BKK Class I
  21   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  22   Class I Facility.
  23         529. According to historical BKK Corp. records, Defendant Western
  24   Lithograph contributed manifested waste to the BKK Class I Facility. This
  25   manifested waste contained Hazardous Substances that Defendant Western
  26   Lithograph generated and/or arranged for its disposal at the BKK Class I Facility.
  27   To date, Defendant Western Lithograph has not incurred any costs at the BKK
  28   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the

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   1   BKK Class I Facility.
   2         530. According to historical BKK Corp. records, Defendant Western
   3   Synthetic Felt Co. contributed manifested waste to the BKK Class I Facility. This
   4   manifested waste contained Hazardous Substances that Defendant Western
   5   Synthetic Felt Co. generated and/or arranged for its disposal at the BKK Class I
   6   Facility. To date, Defendant Western Synthetic Felt Co. has not incurred any costs
   7   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
   8   Plaintiffs at the BKK Class I Facility.
   9         531. According to historical BKK Corp. records, Defendant Westminster
  10   Ceramics Inc. contributed manifested waste to the BKK Class I Facility. This
  11   manifested waste contained Hazardous Substances that Defendant Westminster
  12   Ceramics Inc. generated and/or arranged for its disposal at the BKK Class I
  13   Facility. To date, Defendant Westminster Ceramics Inc. has not incurred any costs
  14   at the BKK Class I Facility nor has it paid its fair share of costs incurred by the
  15   Plaintiffs at the BKK Class I Facility.
  16         532. Upon information and belief, Defendant Whico Machine, Inc. is the
  17   successor to Replacement Parts Manufacturing and/or otherwise liable for
  18   manifested waste that was contributed to the BKK Class I Facility by Replacement
  19   Parts Manufacturing. According to historical BKK Corp. records, Replacement
  20   Parts Manufacturing contributed manifested waste to the BKK Class I Facility. This
  21   manifested waste contained Hazardous Substances that Replacement Parts
  22   Manufacturing generated and/or arranged for its disposal at the BKK Class I
  23   Facility. To date, Defendant Whico Machine, Inc. has not incurred any costs at the
  24   BKK Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs
  25   at the BKK Class I Facility.
  26         533. According to historical BKK Corp. records, Defendant Whittaker
  27   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
  28   waste contained Hazardous Substances that Defendant Whittaker Corp. generated

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   1   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
   2   Whittaker Corp. has not incurred any costs at the BKK Class I Facility nor has it
   3   paid its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   4         534. Upon information and belief, Defendant Wiretech, Inc. is the successor
   5   to MGF Industries and/or otherwise liable for manifested waste that was
   6   contributed to the BKK Class I Facility by MGF Industries. According to historical
   7   BKK Corp. records, MGF Industries contributed manifested waste to the BKK
   8   Class I Facility. This manifested waste contained Hazardous Substances that MGF
   9   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
  10   date, Defendant Wiretech, Inc. has not incurred any costs at the BKK Class I
  11   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  12   Class I Facility.
  13         535. According to historical BKK Corp. records, Defendant Windowmaster
  14   Products contributed manifested waste to the BKK Class I Facility. This manifested
  15   waste contained Hazardous Substances that Defendant Windowmaster Products
  16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
  17   Defendant Windowmaster Products has not incurred any costs at the BKK Class I
  18   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
  19   Class I Facility.
  20         536. Upon information and belief, Defendant Witco Corporation is the
  21   successor to Southwest Petro Chemical and/or otherwise liable for manifested
  22   waste that was contributed to the BKK Class I Facility by Southwest Petro
  23   Chemical. According to historical BKK Corp. records, Southwest Petro Chemical
  24   contributed manifested waste to the BKK Class I Facility. This manifested waste
  25   contained Hazardous Substances that Southwest Petro Chemical generated and/or
  26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Witco
  27   Corporation has not incurred any costs at the BKK Class I Facility nor has it paid
  28   its fair share of costs incurred by the Plaintiffs at the BKK Class I Facility.

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   1         537. Upon information and belief, Defendant Woodward HRT, Inc. is the
   2   successor to HR Textron Inc. and/or otherwise liable for manifested waste that was
   3   contributed to the BKK Class I Facility by HR Textron Inc. According to historical
   4   BKK Corp. records, HR Textron Inc. contributed manifested waste to the BKK
   5   Class I Facility. This manifested waste contained Hazardous Substances that HR
   6   Textron Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
   7   To date, Defendant Woodward HRT, Inc. has not incurred any costs at the BKK
   8   Class I Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the
   9   BKK Class I Facility.
  10         538. Upon information and belief, Defendant Wyman-Gordon Company is
  11   the successor to W.L. Chapman Co. and/or otherwise liable for manifested waste
  12   that was contributed to the BKK Class I Facility by W.L. Chapman Co. According
  13   to historical BKK Corp. records, W.L. Chapman Co. contributed manifested waste
  14   to the BKK Class I Facility. This manifested waste contained Hazardous
  15   Substances that W.L. Chapman Co. generated and/or arranged for its disposal at the
  16   BKK Class I Facility. To date, Defendant Wyman-Gordon Company has not
  17   incurred any costs at the BKK Class I Facility nor has it paid its fair share of costs
  18   incurred by the Plaintiffs at the BKK Class I Facility.
  19         539. According to historical BKK Corp. records, Defendant Xtra Energy
  20   contributed manifested waste to the BKK Class I Facility. This manifested waste
  21   contained Hazardous Substances that Defendant Xtra Energy generated and/or
  22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Xtra
  23   Energy has not incurred any costs at the BKK Class I Facility nor has it paid its fair
  24   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25         540. According to historical BKK Corp. records, Defendant Yoplait USA
  26   contributed manifested waste to the BKK Class I Facility. This manifested waste
  27   contained Hazardous Substances that Defendant Yoplait USA generated and/or
  28   arranged for its disposal at the BKK Class I Facility. To date, Defendant Yoplait

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   1   USA has not incurred any costs at the BKK Class I Facility nor has it paid its fair
   2   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
   3         541. According to historical BKK Corp. records, Defendant Zimmers Truck
   4   Stop contributed manifested waste to the BKK Class I Facility. This manifested
   5   waste contained Hazardous Substances that Defendant Zimmers Truck Stop
   6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
   7   Defendant Zimmers Truck Stop has not incurred any costs at the BKK Class I
   8   Facility nor has it paid its fair share of costs incurred by the Plaintiffs at the BKK
   9   Class I Facility.
  10         542. Paragraphs 543 to 806 are reserved.
  11         807.    Each Defendant has declined or not responded to Plaintiffs’ request(s)
  12   to enter into, or has otherwise not entered into, a tolling agreement to facilitate
  13   settlement discussions. A number of other PRPs at the BKK Class I Facility have
  14   entered into tolling agreements with the Plaintiffs, and Plaintiffs will attempt to
  15   resolve the liabilities of those PRPs without litigation.
  16         808.    On information and belief, each Defendant, including any of its
  17   assignees, predecessors, successors in interest, or alter egos, is a “person” who
  18   either (a) by contract, agreement, or otherwise, arranged for disposal or treatment,
  19   or (b) arranged with a transporter for disposal or treatment, of Hazardous
  20   Substances at the BKK Class I Facility.
  21         809.    On information and belief, between approximately 1969 and 1987,
  22   Does 1-10 disposed or arranged for the disposal of Hazardous Substances at the
  23   BKK Class I Facility but have not incurred any costs, nor have they paid their fair
  24   share of costs incurred by the Plaintiffs at the BKK Class I Facility.
  25             FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
  26         810.    At all times relevant to this action, the BKK Class I Facility was
  27   operated by BKK Corporation (“BKK Corp.”) and/or other third parties, and was
  28   also owned by BKK Corp. from approximately 1973 through the present.

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   1         811. Beginning in at least 1969 and continuing to approximately 1984, the
   2   BKK Class I Facility accepted manifested waste, which included Hazardous
   3   Substances, for disposal. After 1984, the BKK Class I Facility continued accepting
   4   municipal waste, including asbestos.
   5         812. The BKK Class I Facility ceased accepting waste in 1987, at which
   6   time BKK Corp. began to undertake landfill closure and post-closure activities.
   7         813.   By letters dated October 18 and October 20, 2004, “BKK [Corp.]
   8   notified DTSC that for financial reasons, BKK [Corp.] would no longer be able to
   9   perform required post-closure care of the [BKK Class I Facility], including
  10   operation of the LTP, after November 17, 2004. As a result, DTSC . . . hired a
  11   contractor to conduct emergency response activities at the [BKK Class I Facility].”
  12   Imminent and Substantial Endangerment Determination and Order and Remedial
  13   Action Order Docket No. I/SE-D 04/05-004 (“ISE Order”), 14.
  14         814.   On December 2, 2004, DTSC issued the ISE Order to BKK Corp. and
  15   50 other respondents who were alleged to have “arranged by contract, agreement or
  16   otherwise for the disposal of [their] disposed hazardous substances/wastes” at the
  17   BKK Class I Facility, or who were alleged to be an “owner and operator” of the
  18   BKK Class I Facility. A true and correct copy of the ISE Order is attached hereto
  19   as Exhibit B.
  20         815.   In the ISE Order, DTSC asserts that “[t]here has been a ‘release’
  21   and/or there is a ‘threatened release’ of hazardous substances” at the BKK Class I
  22   Facility.
  23         816.   The ISE Order required the recipients of the order to perform certain
  24   specified environmental response actions and to reimburse DTSC for the response
  25   actions it had taken at the BKK Class I Facility.
  26         817.   In 2004, certain recipients of the ISE Order formed the BKK Working
  27   Group for the purpose of cooperating with DTSC to address conditions at the BKK
  28   Class I Facility. Immediately thereafter, the BKK Working Group and DTSC

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   1   commenced negotiations to seek a settlement to address conditions at the BKK
   2   Class I Facility. Prior to finalizing this settlement, the BKK Working Group and
   3   each of its then-members incurred necessary response costs at the BKK Class I
   4   Facility that are consistent with the NCP.
   5         818.   The composition of the BKK Working Group has changed over time
   6   and continues to change. New members pay an interim allocated share of past and
   7   ongoing costs. Each Plaintiff, as a member of the BKK Working Group, has
   8   incurred necessary response costs consistent with the NCP.
   9         819.   On October 31, 2005, the State of California, through its agency
  10   DTSC, filed a Complaint against certain members of the BKK Working Group in
  11   case number CV 05-7746 CAS (JWJx) (C.D. Cal. 2005) (hereinafter “Initial Site
  12   Action”). In the Initial Site Action Complaint, the State of California sought
  13   recovery of past response costs pursuant to Section 107 of CERCLA; declaratory
  14   relief pursuant to Section 113 of CERCLA; and injunctive relief pursuant to CAL.
  15   HEALTH & SAFETY CODE § 25358.3(e) from certain members of the BKK Working
  16   Group relating to the BKK Class I Facility. The Initial Site Action Complaint was
  17   filed concurrently with the lodging of a consent decree between certain members of
  18   the BKK Working Group and DTSC that addressed conditions at the BKK Class I
  19   Facility.
  20         820.   On February 8, 2006, the State of California, through its agency
  21   DTSC, lodged an Amended Consent Decree (“First Consent Decree”) in the Initial
  22   Site Action. The First Consent Decree, attached hereto as Exhibit C, was entered
  23   on March 9, 2006.
  24         821.   Among other things, the First Consent Decree obligated certain
  25   members of the BKK Working Group to perform environmental response actions at
  26   the BKK Class I Facility, to reimburse DTSC for certain of its past response costs,
  27   and to pay DTSC for its continuing oversight of the environmental response work
  28

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   1   at the BKK Class I Facility. The response actions have included investigation
   2   activities.
   3            822.   The First Consent Decree also “resolves the liability of [the members
   4   of the BKK Working Group] for Past Response Costs . . . ” and provides members
   5   of the BKK Working Group with “protection from contribution actions or claims as
   6   provided by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2) for matters
   7   addressed in [the First Consent Decree]. The matters addressed in [the First
   8   Consent Decree] are (a) the Work to be Performed by [the BKK Working Group] . .
   9   . (b) Past Response Costs; (c) Future Interim Response Costs; (d) Future DTSC
  10   Oversight Costs; (e) interest on amounts referred to in (b), (c), and (d) above, and
  11   (f) compliance with the ISE Order from its effective date through the date on which
  12   it is dismissed as provided in [the First Consent Decree].” First Consent Decree at
  13   ¶ 8.1.
  14            823.   Upon entry of the First Consent Decree, the BKK Working Group
  15   began performing environmental response work, including site investigation, at the
  16   BKK Class I Facility under the oversight of DTSC. All work performed under the
  17   First Consent Decree is deemed to be, and was, necessary and performed in
  18   accordance with the NCP.
  19            824.   On May 5, 2010, the State of California, through its agency DTSC,
  20   filed a second complaint against certain members of the BKK Working Group in
  21   case number CV 10-3378 RGK (AJWx) (C.D. Cal. 2010) (hereinafter “Second Site
  22   Action”). Like the Initial Site Action Complaint, the Second Site Action Complaint
  23   sought recovery of past response costs, including investigation costs, pursuant to
  24   Section 107 of CERCLA; declaratory relief pursuant to Section 113 of CERCLA;
  25   and injunctive relief pursuant to Cal. Health & Safety Code § 25358.3(e) from
  26   certain members of the BKK Working Group relating to the BKK Class I Facility.
  27            825.   At that same time, the State of California, through its agency DTSC,
  28   lodged a Second Consent Decree (“Second Consent Decree”) with the Court,

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   1   obligating the BKK Working Group to perform additional response actions,
   2   including investigation activities, at the BKK Class I Facility, to reimburse DTSC
   3   for certain of its past response costs, including investigation costs, and to pay future
   4   oversight costs to DTSC on an ongoing basis. The Second Consent Decree,
   5   attached hereto as Exhibit D, was entered on August 10, 2010.
   6         826.    Among other things, the Second Consent Decree obligates certain
   7   members of the BKK Working Group to perform environmental response actions,
   8   including investigation activities, at the BKK Class I Facility, to reimburse DTSC
   9   for certain of its response costs, including investigation costs, to pay DTSC for its
  10   continuing oversight of the environmental response work at the BKK Class I
  11   Facility, and to conduct an Engineering Evaluation/Cost Analysis (“EE/CA”) of the
  12   BKK Class I Facility. Second Consent Decree at ¶ 4.1.2 and Ex. D (EE/CA
  13   Statement of Work). The EE/CA is to propose a non-time critical removal action
  14   that contributes to the efficient performance of any long-term remedial action for
  15   the BKK Class I Facility. It is anticipated that a remedial investigation/feasibility
  16   study and remedial actions will be conducted at the BKK Class I Facility at the
  17   conclusion of the EE/CA. It is anticipated that DTSC will select further appropriate
  18   response actions to be performed at the BKK Class Facility based on the EE/CA.
  19         827.    Among other things, the Second Consent Decree provides certain
  20   members of the BKK Working Group with “protection from contribution actions or
  21   claims as provided by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2) for
  22   matters addressed in the Second Consent Decree. The matters addressed in the
  23   Second Consent Decree are (a) the Work to be Performed by [the BKK Working
  24   Group] . . . (b) Past Response Costs . . .; and (c) Future DTSC Oversight Costs . . .
  25   .” Second Consent Decree at ¶ 8.1.
  26         828.    From August 10, 2010 until the present, the BKK Working Group
  27   performed and continues to perform environmental response work, including site
  28   investigation, at the BKK Class I Facility under the Second Consent Decree. All

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   1   work performed under the Second Consent Decree is deemed to be, and was,
   2   necessary and performed in accordance with the NCP.
   3         829.   On February 2, 2015, the State of California, through its agency
   4   DTSC, filed a third complaint against certain members of the BKK Working Group
   5   in case number CV 15-729 DDP (AJWx) (C.D. Cal. 2015) (hereinafter “Third Site
   6   Action”). Like the Initial and Second Site Action Complaints, the Third Site
   7   Action Complaint sought recovery of past response costs pursuant to Section 107 of
   8   CERCLA; declaratory relief pursuant to Section 113 of CERCLA; and injunctive
   9   relief pursuant to Cal. Health & Safety Code § 25358.3(e) from certain members of
  10   the BKK Working Group relating to the BKK Class I Facility.
  11         830.   At that same time, the State of California, through its agency DTSC,
  12   lodged a Third Partial Consent Decree (“Third Partial Consent Decree”) with the
  13   Court, obligating certain members of the BKK Working Group to perform
  14   additional response actions, including investigation activities, at the BKK Class I
  15   Facility, to reimburse DTSC for certain of its past response costs, including site
  16   investigation activities, and to pay future oversight costs to DTSC on an ongoing
  17   basis. The Third Partial Consent Decree, attached hereto as Exhibit E, was entered
  18   on July 24, 2015.
  19         831.   Among other things, the Third Partial Consent Decree obligates
  20   certain members of the BKK Working Group to perform environmental response
  21   actions, including investigation activities, at the BKK Class I Facility, to reimburse
  22   DTSC for certain of its response costs, including site investigation costs, to pay
  23   DTSC for its continuing oversight of the environmental response work at the BKK
  24   Class I Facility, and to conduct a Remedial Investigation/Feasibility Study
  25   (“RI/FS”) for the groundwater beneath and around the BKK Class I Facility. Third
  26   Partial Consent Decree at ¶ 4.1.3 and Exhibit D to the Third Partial Consent Decree
  27   (RI/FS Statement of Work). The area of groundwater investigation pursuant to the
  28   RI/FS includes the Class I Landfill and Class I Landfill operation areas, including

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   1   but not limited to, “Trash Island” located on the north side of the landfill; the
   2   leachate treatment plant (LTP); Barrier 1; the upper detention basin below the LTP;
   3   liquid piping and other liquid collection and conveyance systems associated with
   4   the Class I Landfill; the fueling station and truck wash; and wherever hazardous
   5   substances from such areas have or may come to be located. It is anticipated that
   6   DTSC will select further appropriate response actions to be performed at and
   7   around the BKK Class I Facility based on the RI/FS.
   8         832.    Among other things, the Third Partial Consent Decree provides
   9   certain members of the BKK Working Group with “protection from contribution
  10   actions or claims as provided by CERCLA Section 113(f)(2), 42 U.S.C. §
  11   9613(f)(2) for matters addressed in the Third Partial Consent Decree. The matters
  12   addressed in the Third Partial Consent Decree are (a) the Work to be Performed by
  13   [members of the BKK Working Group] . . . (b) Past Response Costs . . .; and (c)
  14   Future DTSC Oversight Costs . . .” Third Partial Consent Decree at ¶ 8.1.
  15         833.    As reflected in the BKK document archive maintained by DTSC,
  16   members of the BKK Working Group also entered into additional interim
  17   settlement agreements with DTSC to reimburse the State for its past response costs
  18   incurred consistent with the NCP at the BKK Class I Landfill.
  19         834.    On July 29, 2016, the State of California, through its agency DTSC,
  20   filed an amended third complaint, which joined as defendants five additional
  21   members of the BKK Working Group.
  22         835.    At that same time, the State of California, through its agency DTSC,
  23   lodged a First Amended Third Partial Consent Decree (“Amended Third Partial
  24   Consent Decree”), which added the five new defendants as additional Settling
  25   Defendants. The Amended Third Partial Consent Decree, attached hereto as
  26   Exhibit F, was approved by the Court on October 18, 2016.
  27         836.    Among other things, the Amended Third Partial Consent Decree, like
  28   the Third Partial Consent Decree, obligates certain members of the BKK Working

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   1   Group to perform environmental response actions at the BKK Class I Facility, to
   2   reimburse DTSC for certain of its response costs, to pay DTSC for its continuing
   3   oversight of the environmental response work at the BKK Class I Facility, and to
   4   conduct a Remedial Investigation/Feasibility Study (“RI/FS”) for the groundwater
   5   beneath and around the BKK Class I Facility. Amended Third Partial Consent
   6   Decree at ¶ 4.1.3.
   7         837.    From July 24, 2015 until the present, the BKK Working Group
   8   performed and continues to perform environmental response work, including site
   9   investigation, at the BKK Class I Facility under the Amended Third Partial Consent
  10   Decree. All work performed under the Amended Third Partial Consent Decree is
  11   deemed to be, and was, necessary and performed in accordance with the NCP.
  12         838.    The response costs, including site investigation costs, incurred by the
  13   Plaintiffs are necessary to address the release and/or threatened release at the BKK
  14   Class I Facility and are required by DTSC in the First, Second, Third Partial, and
  15   Amended Third Partial Consent Decrees. Plaintiffs will continue to incur response
  16   costs, including site investigation expenses, to conduct response actions at the BKK
  17   Class I Facility as required by DTSC.
  18         839.    Plaintiffs have incurred, and continue to incur, necessary response
  19   costs, including consulting and attorney fees, consistent with the NCP at the BKK
  20   Class I Facility associated with efforts to identify potentially responsible parties
  21   (“PRPs”), including Defendants, that arranged for the disposal, or arranged with
  22   third-party transporters for the disposal, of Hazardous Substances at the BKK Class
  23   I Facility. Such efforts include working with DTSC to recover handwritten
  24   manifests and other waste records from the BKK Corp. warehouse and other
  25   locations, information contained on the computer system utilized by BKK Corp. at
  26   the BKK Class I Facility and reviewing information available through the State of
  27   California regarding manifested and other waste disposed at the BKK Class I
  28

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   1   Facility. This investigation for the purpose of identification of additional PRPs is
   2   ongoing.
   3         840.    The environmental conditions at the BKK Class I Facility, and the
   4   attendant costs that have been and are continuing to be incurred by Plaintiffs are the
   5   direct result of Defendants having arranged to dispose Hazardous Substances at the
   6   BKK Class I Facility.
   7         841.    In 2020, DTSC estimated that necessary response actions to fully
   8   remediate the BKK Class I Facility would cost $869,286.436.
   9         842.    Plaintiffs have incurred or are committed to incur not less than
  10   approximately $250 million in costs associated with the BKK Class I Facility.
  11         843.    To date, Defendants have failed to participate in or contribute to any
  12   work or costs at the BKK Class I Facility.
  13                             FIRST CLAIM FOR RELIEF
  14                 Contribution, CERCLA § 113(f) (42 U.S.C. § 9613(f))
  15         844. Paragraphs 1-843 are incorporated by reference.
  16         845.    Section 113(f)(1) of CERCLA, 42 U.S.C. § 9613(f)(1), provides in
  17   pertinent part:
  18                Any person may seek contribution from any other person
                    who is liable or potentially liable under section 9607(a) of
  19                this title, during or following any civil action under section
                    9606 of this title or under section 9607 of this title. Such
  20                claims shall be brought in accordance with this section and
                    the Federal Rules of Civil Procedure, and shall be governed
  21                by Federal law. In resolving contribution claims, the court
                    may allocate response costs among liable parties using
  22                such equitable factors as the court determines are
                    appropriate.
  23
  24         846.    Section 113(f)(3)(B) of CERCLA, 42 U.S.C. § 9613(f)(3)(B),
  25   provides in pertinent part:
  26                A person who has resolved its liability to the United States
                    or a State for some or all of a response action or for some
  27                or all of the costs of such action in an administrative or
                    judicially approved settlement may seek contribution from
  28                any person who is not party to a settlement referred to in

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   1                paragraph (2) [i.e., “[a] person who has resolved its liability
                    to the United States or a State in an administrative or
   2                judicially approved settlement”].
   3
             847.    Plaintiffs that are individual members of the BKK Working Group,
   4
       have been subject to three separate civil actions under CERCLA § 9607: the Initial
   5
       Site Action, the Second Site Action, and the Third Site Action.
   6
             848.    The First, Second and Third Partial and Amended Third Partial
   7
       Consent Decrees are judicially-approved settlements that resolve liability of the
   8
       member Plaintiffs to the State of California for response actions taken at the BKK
   9
       Class I Facility, and for costs of such response actions.
  10
             849.    The interim settlement agreements entered into between DTSC and
  11
       certain members of the BKK Working Group were administratively approved and
  12
       resolved liability of those Plaintiffs to the State of California for response actions
  13
       taken at the BKK Class I Facility, and for costs of such response actions.
  14
             850.    Defendants are “person[s] who [are] liable or potentially liable under
  15
       section 9607(a).”
  16
             851.    Defendants have not resolved their liability to the United States or to
  17
       the State of California in an administrative or judicially approved settlement for
  18
       response costs arising from the BKK Class I Facility.
  19
             852.    Plaintiffs are entitled to contribution from Defendants under CERCLA
  20
       § 113(f)(1), 42 U.S.C. § 9613(f)(1), and CERCLA § 113(f)(3)(B), 42 U.S.C.
  21
       § 9613(f)(3)(B), of an equitable share of all response costs incurred to date as the
  22
       result of a release or threatened release (within the meaning of CERCLA § 101(22),
  23
       42 U.S.C. § 9601(22)) of Hazardous Substances at and from the BKK Class I
  24
       Facility.
  25
             853.    While Defendants are liable for necessary response costs, including
  26
       site investigation expenses, incurred by Plaintiffs in compliance with the NCP,
  27
       Defendants have not contributed an equitable share of those costs.
  28

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   1           854.   Defendants are liable for contribution to reimburse Plaintiffs for their
   2   respective equitable shares of all costs and liability incurred by Plaintiffs as a result
   3   of the release or any threatened release of Hazardous Substances at and from the
   4   BKK Class I Facility.
   5           855.   Plaintiffs previously notified the Attorney General of the United
   6   States and the Administrator of the United States Environmental Protection Agency
   7   pursuant to Section 113(l) of CERCLA, 42 U.S.C. § 9613(l).
   8                                 SECOND CLAIM FOR RELIEF
   9                        Cost Recovery, CERCLA § 107(a) (42 U.S.C. § 9607(a))
  10           856.   Paragraphs 1-855 are incorporated by reference.
  11           857. Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), provides in pertinent
  12   part:
  13                  (a)      Notwithstanding any other provision or rule of law, and subject
  14                           only to the defenses set forth in subsection (b) of this section –
  15                                                        ****
  16                           (3)    any person who by contract, agreement, or otherwise
  17                                  arranged for disposal or treatment, or arranged with a
  18                                  transporter for transport for disposal or treatment of
  19                                  hazardous substances owned or possessed by such person
  20                                  . . . shall be liable for –
  21                                                        ****
  22                                  (B)    any other necessary costs of response incurred by
  23                                         any other person consistent with the national
  24                                         contingency plan . . . .
  25           858. Plaintiffs are each a “person” within the meaning of CERCLA
  26   § 101(21), 42 U.S.C. § 9601(21).
  27           859. Defendants are “persons” within the meaning of CERCLA § 101(21),
  28   42 U.S.C. § 9601(21).

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   1         860. The BKK Class I Facility is a “facility” within the meaning of
   2   CERCLA § 101(9), 42 U.S.C. § 9601(9).
   3         861. Defendants arranged for disposal or treatment, or arranged with third-
   4   party transporters for the disposal or treatment, of hazardous substances owned or
   5   possessed by Defendants at the BKK Class I Facility.
   6         862. Hazardous Substances at the BKK Class I Facility have been released
   7   and/or pose a threat of release within the meaning of CERCLA § 101(22), 42
   8   U.S.C. § 9601(22).
   9         863. Separate from costs incurred by Plaintiffs pursuant to the First, Second
  10   and Third Partial and Amended Third Partial Consent Decrees in resolution of
  11   Plaintiffs’ CERCLA liability to the State of California, Plaintiffs also voluntarily
  12   have incurred certain additional response costs as result of a release or threatened
  13   release of Hazardous Substances at and from the BKK Class I Facility.
  14         864. Such costs include, but are not limited to, the costs of response for
  15   installation of certain new equipment at the site, costs of response for the
  16   replacement of certain aging equipment at the site necessary to facilitate further
  17   cleanup actions, and costs of further site investigations, all of which have been
  18   incurred and will continue to be incurred pursuant to CERCLA § 107(a), 42 U.S.C.
  19   § 9607(a) and are consistent with the NCP.
  20         865. Defendants are liable jointly and severally to Plaintiffs pursuant to
  21   CERCLA § 107(a), 42 U.S.C. § 9607(a), for all such necessary response costs,
  22   including but not limited to, reasonable attorneys’ fees and prejudgment interest,
  23   incurred as a result of the release or threatened release of Hazardous Substances at
  24   and from the BKK Class I Facility. Such response costs have been incurred and
  25   will continue to be incurred consistent with the NCP.
  26                             THIRD CLAIM FOR RELIEF
  27          CERCLA Subrogation, CERCLA § 112(c)(2) (42 U.S.C. § 9612(c))
  28         866.    Paragraphs 1-865 are incorporated herein by reference.

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   1           867.   CERCLA § 112(c)(2), 42 U.S.C. § 9612(c)(2), provides in pertinent
   2   part:
   3                  Any person…who pays compensation pursuant to this
                      chapter to any claimant for damages or costs resulting from
   4                  a release of a hazardous substance shall be subrogated to
                      all rights, claims, and causes of action for such damages
   5                  and costs of removal that the claimant has under this
                      chapter or any other law.
   6
   7           868.   Plaintiff Stauffer Management Company LLC has paid the response
   8   costs incurred by Bayer CropScience, Inc. relating to the BKK Class I Facility.
   9   Plaintiffs Bayer CropScience, Inc. and Stauffer Management Company LLC
  10   presented a written claim to Defendants prior to the initiation of this litigation for
  11   reimbursement of their fair share of Bayer CropScience Inc.’s past and future
  12   response costs incurred at the BKK Class I facility, which Defendants failed to
  13   satisfy. Accordingly, pursuant to CERCLA § 112(c)(2), 42 U.S.C. § 9612(c)(2),
  14   Stauffer Management Company LLC has paid compensation pursuant to CERCLA
  15   to a claimant, Bayer CropScience, Inc., resulting from a release of a hazardous
  16   substance, and is therefore subrogated to all rights, claims, and causes of action for
  17   such damages and costs of removal that BKK Working Group member Bayer
  18   CropScience, Inc. has under this chapter or any other law and seeks Defendants’
  19   fair share of costs incurred by Stauffer Management Company LLC through its
  20   payments made to satisfy Bayer CropScience’s obligations.
  21           869.   Plaintiff Stauffer Management Company LLC, which has received
  22   some reimbursement payments from Syngenta Crop Protection, LLC for costs
  23   Stauffer Management Company LLC incurred paying Bayer CropScience Inc.’s
  24   obligations for response costs relating to the BKK Class I Facility, has been
  25   assigned Syngenta Crop Protection, LLC’s rights to subrogation for such payments.
  26   Syngenta Crop Protection, LLC’s payments were made to Stauffer Management
  27   Company LLC, which is a claimant within the meaning of CERCLA § 112(c)(2),
  28   42 U.S.C. § 9612(c)(2), for costs resulting from a release of hazardous substances.

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   1   Therefore, Stauffer Management Company LLC, through assignment of Syngenta
   2   Crop Protection, LLC’s rights, is entitled to recover from Defendants their fair
   3   share of those costs incurred by Syngenta Crop Protection, LLC in partially
   4   reimbursing Stauffer Management Company LLC for the response costs Stauffer
   5   Management Company LLC paid to satisfy the response cost obligations incurred
   6   by Bayer CropScience Inc. relating to the BKK Class I Facility.
   7           870.   Response costs incurred by Plaintiffs that are individual members of
   8   the BKK Working Group may have been paid by or reimbursed by a separate
   9   entity. Therefore, Plaintiffs presented a written claim to Defendants prior to the
  10   initiation of this litigation for reimbursement of their fair share of Plaintiffs’ past
  11   and future response costs incurred at the BKK Class I facility, which Defendants
  12   failed to satisfy. Thus, making them a claimant within the meaning of Section
  13   112(c).
  14                             FOURTH CLAIM FOR RELIEF
  15             Declaratory Relief, CERCLA § 113(g)(2) (42 U.S.C. § 9613(g)(2))
  16           871.   Paragraphs 1-870 are incorporated herein by reference.
  17           872.   CERCLA § 113(g)(2), 42 U.S.C. § 9613(g)(2), provides in pertinent
  18   part:
  19                  In any action described in this subsection the court shall
                      enter a declaratory judgment on liability for response costs
  20                  or damages that will be binding on any subsequent action
                      or actions to recover further response costs or damages.
  21
  22           873.   Defendants are jointly and severally liable to Plaintiffs for the
  23   reimbursement of necessary response costs, including site investigation expenses,
  24   incurred by Plaintiffs consistent with the NCP under CERCLA § 107(a), 42 U.S.C.
  25   § 9607(a). Defendants are also severally liable to Plaintiffs under CERCLA §
  26   113(f)(1), 42 U.S.C. § 9613(f)(1), and CERCLA § 113(f)(3)(B), 42 U.S.C. §
  27   9613(f)(3)(B) for an equitable share of Plaintiffs’ response costs incurred pursuant
  28   to the First, Second, Third Partial and Amended Third Partial Consent Decrees, and

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   1   any future consent decrees, as a result of the release or threatened release of
   2   Hazardous Substances at and from the BKK Class I Facility. Plaintiffs are
   3   therefore entitled to a declaratory judgment pursuant to CERCLA § 113(g)(2), 42
   4   U.S.C. § 9613(g)(2) and Boeing Co. v. Cascade Corp., 207 F.3d 1177, 1191 (9th
   5   Cir. 2000), binding as to any subsequent action or actions by Plaintiffs, declaring
   6   that Defendants are jointly and severally liable to Plaintiffs for reimbursement of
   7   their necessary response costs incurred consistent with the NCP under CERCLA
   8   § 107(a), 42 U.S.C. § 9607(a), and are also severally liable for an equitable share of
   9   Plaintiffs’ future responses costs incurred pursuant to the First, Second, Third
  10   Partial and Amended Third Partial Consent Decrees, and any future consent
  11   decrees, to address the release or threatened release of Hazardous Substances at and
  12   from the BKK Class I Facility.
  13                             FIFTH CLAIM FOR RELIEF
  14      Contribution, Hazardous Substance Account Act, California Health and
  15                           Safety Code Sections 78000 et seq.
  16         874.    Paragraphs 1-873 are incorporated herein by reference.
  17         875.    The Plaintiffs bring their claim for contribution against all Defendants
  18   except the following: Orange County Sanitation District.
  19         876.    The Carpenter-Presley-Tanner Hazardous Substance Account Act
  20   (“HSAA”), California Health and Safety Code sections 78000 et seq., provides a
  21   statutory right of contribution for those parties who clean up contaminated sites
  22   from those parties who are responsible for the contamination.
  23         877.    Section 79670(a) of the HSAA provides that “A person who has
  24   incurred response or corrective action costs in accordance with this chapter,
  25   Chapter 6.5 (commencing with Section 25100 [sic]) or [CERCLA] may seek
  26   contribution or indemnity from any person who is liable pursuant to this chapter.”
  27
  28

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   1         878.    A “liable person” is defined in section 78145(a)(1) of the HSAA as
   2   “those persons described in section 107(a) of [CERCLA] (42 U.S.C. Section
   3   9607(a)).”
   4         879.    Section 107(a) of CERCLA describes, among others, “any person
   5   who… arranged for disposal or treatment” of Hazardous Substances “owned or
   6   possessed by such person,” or “any person who accepts or accepted any” Hazardous
   7   Substances “for transport to disposal or treatment facilities.”
   8         880.    Defendants are each a “person” within the meaning of sections 78085
   9   and 78145(a)(1) of the Health and Safety Code.
  10         881.    There have been releases or threatened releases from the BKK Class I
  11   Facility.
  12         882.    As a direct and proximate result of Defendants’ actions that
  13   contributed to releases of Hazardous Substances at the BKK Class I Facility,
  14   Plaintiffs have incurred response costs, including site investigation costs, in
  15   accordance with the HSAA and CERCLA.
  16         883.    Plaintiffs have given the Director of the Department of Toxic
  17   Substances Control notice of the commencement of this action as required by
  18   Health and Safety Code section 79670(c).
  19         884.    Plaintiffs are entitled to contribution or indemnity from Defendants,
  20   and each of them, under section 79670 of the Health and Safety Code, for all past,
  21   present and future necessary responses costs.
  22                               SIXTH CLAIM FOR RELIEF
  23                                Equitable Indemnification
  24         885.    Paragraphs 1-884 are incorporated herein by reference.
  25         886.    Plaintiffs have been required to pay environmental response costs at
  26   the BKK Class I Facility.
  27
  28

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   1         887.   The disposal of wastes containing Hazardous Substances at the BKK
   2   Class I Facility by Defendants is a substantial factor in causing the environmental
   3   conditions present at the BKK Class I Facility.
   4         888.   A substantial portion of the expenses the Plaintiffs have incurred in
   5   response to the actual or threatened release of Hazardous Substances at and from
   6   the BKK Class I Facility, including but not limited to investigatory expenses, are
   7   the result of the conduct of Defendants.
   8         889.   As a result, Plaintiffs are entitled to complete or partial indemnity
   9   from Defendants for such expenses pursuant to the doctrine of equitable
  10   indemnification.
  11                           SEVENTH CLAIM FOR RELIEF
  12                                 Equitable Contribution
  13         890. Paragraphs 1-889 are incorporated herein by reference.
  14         891. Plaintiffs have been required to pay environmental cleanup and other
  15   costs at the BKK Class I Facility, and a money judgment has been or will be
  16   rendered jointly against Plaintiffs and Defendants.
  17         892. Plaintiffs have discharged or will discharge the joint judgment and/or
  18   have paid or will pay more than Plaintiffs’ equitable pro rata share of the joint
  19   judgment.
  20         893. As a result, Plaintiffs are entitled to contribution from Defendants for
  21   the excess paid over the Plaintiffs’ equitable pro rata shares of the joint judgment.
  22                            EIGHTH CLAIM FOR RELIEF
  23                               Common Law Subrogation
  24         894.   Paragraphs 1-893 are incorporated herein by reference.
  25         895.   As a direct and proximate result of the actions of Defendants, Plaintiff
  26   Stauffer Management Company LLC has incurred and paid amounts, damages,
  27   costs, expenses and fees, and may in the future incur additional liabilities through
  28   its payments of Bayer CropScience, Inc.’s obligations for response costs relating to

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   1   the BKK Class I Facility. It is therefore subrogated to all state and federal causes of
   2   action Bayer CropScience, Inc. otherwise would have against Defendants.
   3         896.   Through assignment, Plaintiff Stauffer Management Company LLC
   4   has the right to recoup costs incurred by Syngenta Crop Protection, LLC in
   5   reimbursing Stauffer Management Company LLC for response costs Stauffer
   6   Management Company LLC incurred paying Bayer Crop Science, Inc.’s
   7   obligations for response costs relating to the BKK Class I Facility. Based on those
   8   reimbursement payments, and to the extent of those payments, Syngenta Crop
   9   Protection, LLC is subrogated to all state and federal causes of action Bayer
  10   CropScience, Inc. and/or Stauffer Management Company LLC otherwise would
  11   have against Defendants.
  12                              NINTH CLAIM FOR RELIEF
  13             Declaratory Relief, CAL. CODE OF CIVIL PROCEDURE § 1060
  14         897.   Paragraphs 1-896 are incorporated herein by reference.
  15         898.   Cal. Code of Civil Procedure § 1060 provides in pertinent part:
  16                Any person . . . who desires a declaration of his or her rights
                    or duties with respect to another, or in respect to property .
  17                . . may, in a case of actual controversy relating to the legal
                    rights and duties of the respective parties, bring an original
  18                action or cross-complaint in the superior court . . . for a
                    declaration of his or her rights and duties in the premises. .
  19                . . He or she may ask for a declaration of rights or duties
                    either alone or with other relief; and the court may make a
  20                binding declaration of these rights or duties, whether or not
                    further relief is claimed at the time.
  21
  22         899.   An actual controversy now exists between Plaintiffs and Defendants
  23   regarding Defendants’ liability for any and all costs and damages incurred and to be
  24   incurred in the future by Plaintiffs arising from the BKK Class I Facility. Plaintiffs
  25   contend that Defendants’ liability in this regard is based on CERCLA § § 112, and
  26   113, the Hazardous Substances Account Act, California Health and Safety Code §
  27   78000 et seq., the common law theory of equitable indemnification, and the
  28   common law theory of equitable subrogation (for the indemnitor plaintiffs).

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   1         900.    A declaratory judgment under California Code of Civil Procedure §
   2   1060 for recovery of such costs and damages is appropriate and in the public
   3   interest because: it will prevent the need for multiple lawsuits as the Plaintiffs
   4   continue to incur future costs; it will provide a final resolution of the issues of
   5   liability for those costs; and it will insure a prompt and effective response to
   6   environmental conditions at the BKK Class I Facility.
   7                               JURY TRIAL DEMANDED
   8         901. Plaintiffs demand trial by jury pursuant to Federal Rule of Civil
   9   Procedure 38 on all causes and issues so triable under Section 16 of Article I of the
  10   California Constitution, the Seventh Amendment to the Constitution, or as may be
  11   guaranteed by statute.
  12                                 PRAYER FOR RELIEF
  13         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
  14         1.     Recovery of all costs, cost of abatement, and damages incurred by
  15   Plaintiffs, including response costs consistent with the NCP, as a result of any
  16   release or threatened release of Hazardous Substances at and from the BKK Class I
  17   Facility;
  18         2.     Contribution of an equitable share of all costs, including response costs
  19   incurred by Plaintiffs consistent with the NCP, as a result of any release or
  20   threatened release of Hazardous Substances at and from the BKK Class I Facility;
  21         3.     A declaration binding in any subsequent action or actions brought by
  22   Plaintiffs, that Defendants are jointly and severally liable for all future costs
  23   Plaintiffs incur as a result of the release or threatened release of Hazardous
  24   Substances at and from the BKK Class I Facility, and are severally liable for an
  25   equitable share of all future response costs Plaintiffs incur pursuant to the First,
  26   Second, Third Partial and Amended Third Partial Consent Decrees, and any future
  27   consent decrees, to address the release or threatened release of Hazardous
  28   Substances at and from the BKK Class I Facility;

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   1         4.     Indemnification for and/or contribution to all costs, damages and
   2   liability, in an amount to be proved at trial, that Plaintiffs have incurred as a result
   3   of the release or threatened release of Hazardous Substances at and from the BKK
   4   Class I Facility;
   5         5.     Retention of jurisdiction over this action by this Court after entry of
   6   the requested declaratory judgment to grant further relief as may be necessary or
   7   proper;
   8         6.     Attorney’s fees and pre-judgment interest (as response costs); and
   9         7.     Such other relief as the Court may deem just and appropriate.
  10
  11    Dated: August 28, 2024                       HINSON GRAVELLE & ADAIR LLP
  12
  13                                                 By s/Douglas A. Gravelle
                                                        Douglas A. Gravelle,
  14                                                    Attorneys for Plaintiffs
                                                        BKK WORKING GROUP, an
  15                                                    unincorporated association, and
                                                        individual members identified
  16                                                    herein
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